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                          EXHIBIT 9




                  DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF     EXHIBIT 9
                  PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                       NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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·1· · · · · · · ·IN THE UNITED STATES DISTRICT COURT

·2· · · · · · · FOR THE CENTRAL DISTRICT OF CALIFORNIA

·3

·4
· ·   · · · · · · · · · · · · · · · · ·)
·5·   ·NATURAL-IMMUNOGENICS CORP.,· · ·)
· ·   · · · · · · · · · · · · · · · · ·)
·6·   · · · · ·Plaintiff,· · · · · · · )
· ·   · · · · · · · · · · · · · · · · ·) Case No.
·7·   · · · · ·vs.· · · · · · · · · · ·) 8:15-cv-02034-JVS (JCG)
· ·   · · · · · · · · · · · · · · · · ·)
·8·   ·NEWPORT TRIAL GROUP, et al.,· · ) (JW Ref. No.:· A270221)
· ·   · · · · · · · · · · · · · · · · ·)
·9·   · · · · ·Defendants.· · · · · · ·)
· ·   · · · · · · · · · · · · · · · · ·)
10·   · · · · · · · · · · · · · · · · ·)

11

12· · · · · · · · · · ·C O N F I D E N T I A L

13

14· · · · · · ·DEPOSITION OF 30(b)(6) SCOTT J. FERRELL

15· · · · · · · · · · · ·Santa Ana, California

16· · · · · · · · · · · Thursday, April 1, 2021

17

18

19

20

21· ·Reported by:
· · ·RAQUEL L. BROWN
22· ·CSR No. 10026, RPR

23· ·Job No. CA 4524737

24

25· ·PAGES 1 - 240


                                 30(b)(6) Scott J.· Ferrell
                                      April 01, 2021                             1
                  DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF     EXHIBIT 9
                  PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                       NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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 ·2·   · · · · · · FOR THE CENTRAL DISTRICT OF CALIFORNIA            ·2
 ·3
                                                                     ·3· ·For Plaintiff Natural-Immunogenics Corp.:
 ·4
 · ·   · · · · · · · · · · · · · · · · ·)                            ·4· · · · · ·EMORD & ASSOCIATES
 ·5·   ·NATURAL-IMMUNOGENICS CORP.,· · ·)                            ·5· · · · · ·BY:· PETER A. ARHANGELSKY, Attorney at Law
 · ·   · · · · · · · · · · · · · · · · ·)                            ·6· · · · · ·BY:· JOSHUA S. FURMAN, Attorney at Law
 ·6·   · · · · ·Plaintiff,· · · · · · · )
                                                                     ·7· · · · · ·2730 South Val Vista Drive, Building 6, Suite 133
 · ·   · · · · · · · · · · · · · · · · ·) Case No.
 ·7·   · · · · ·vs.· · · · · · · · · · ·) 8:15-cv-02034-JVS (JCG)    ·8· · · · · ·Gilbert, Arizona 85295
 · ·   · · · · · · · · · · · · · · · · ·)                            ·9· · · · · ·(602) 388-8899
 ·8·   ·NEWPORT TRIAL GROUP, et al.,· · ) (JW Ref. No.:· A270221)    10· · · · · ·parhangelsky@emord.com
 · ·   · · · · · · · · · · · · · · · · ·)
                                                                     11· · · · · ·jfurman@emord.com
 ·9·   · · · · ·Defendants.· · · · · · ·)
                                                                     12· · · · · ·(APPEARING REMOTELY)
 · ·   · · · · · · · · · · · · · · · · ·)
 10·   · · · · · · · · · · · · · · · · ·)                            13
 11                                                                  14
 12                                                                  15· ·For Defendants Ryan Ferrell, Andrew Baslow, David Reid,
 13
                                                                     16· ·and Victoria Knowles:
 14·   · · · · · · · ·Deposition of SCOTT J. FERRELL,
 15·   ·taken on behalf of Plaintiff at 2700 North Main Street,      17· · · · · ·BREMER WHYTE BROWN & O'MEARA, LLP
 16·   ·Suite 420, Santa Ana, California 92705, beginning at         18· · · · · ·BY:· KYLE A. RIDDLES, Attorney at Law
 17·   ·9:02 a.m. and ending at 5:56 p.m. on Thursday, April 1,      19· · · · · ·20320 S.W. Birch Street, Second Floor
 18·   ·2021, before RAQUEL L. BROWN, Certified Shorthand Reporter
                                                                     20· · · · · ·Newport Beach, California 92660
 19·   ·No. 10026, Registered Professional Reporter.
 20                                                                  21· · · · · ·(949) 211-1000
 21                                                                  22· · · · · ·kriddles@bremerwhyte.com
 22                                                                  23· · · · · ·(APPEARING REMOTELY)
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                                DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                                    EXHIBIT 9
                                PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                     NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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 25·   ·///                                                                  25·   ·///

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 ·1· ·(INDEX CONTINUED)                                                      ·1·   · · · · Santa Ana, California, Thursday, April 1, 2021
 ·2                                                                          ·2·   · · · · · · · · · · · · · 9:02 a.m.
 ·3· ·QUESTIONS INSTRUCTED BY COUNSEL NOT TO ANSWER                          ·3
 ·4· ·(None)                                                                 ·4·   · · ·THE VIDEOGRAPHER:· Good morning.· I'm Michael Kelley,
 ·5                                                                          ·5·   ·your videographer, and I represent Atkinson-Baker, Inc.,
 ·6                                                                          ·6·   ·in Glendale, California.
 ·7                                                                          ·7·   · · · · · ·The date is April 1st, 2021, and the time is
 ·8                                                                          ·8·   ·9:02 a.m.· This deposition is taking place at
 ·9                                                                          ·9·   ·2700 North Main Street, Suite 420, Santa Ana, California
 10                                                                          10·   ·92705.· This is Case No. 8:15-cv-02034-JVS (JCG) entitled
 11                                                                          11·   ·Natural Immunogenics versus Newport Trial.· The deponent
 12                                                                          12·   ·is 30(b)(6) Witness Scott Ferrell.· The court reporter is
 13                                                                          13·   ·Raquel Brown from Atkinson-Baker.
 14                                                                          14·   · · · · · ·Counsel, would you please introduce yourselves,
 15                                                                          15·   ·after which the court reporter will swear or affirm the
 16                                                                          16·   ·deponent.
 17                                                                          17·   · · ·MR. DARNELL:· Good morning.· This is David Darnell on
 18                                                                          18·   ·behalf of Scott Ferrell and Newport Trial Group.· And just
 19                                                                          19·   ·to clarify, while Scott Ferrell is here, the deposition
 20                                                                          20·   ·today is in connection with a Rule 30(b)(6) notice.
 21                                                                          21·   · · ·MR. RIDDLES:· Good morning.· This is Kyle Riddles on
 22                                                                          22·   ·behalf of Defendants David Reid, Victoria Knowles,
 23                                                                          23·   ·Andrew Baslow, and Ryan Ferrell.
 24                                                                          24·   · · ·MR. FORD:· Good morning.· My name is Brendan Ford.
 25                                                                          25·   ·I'm appearing on behalf of the non-NTG defendants.


                                                         30(b)(6) Scott J.· Ferrell
                                                              April 01, 2021                                                                    6..9  YVer1f




                                      DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                                      EXHIBIT 9
                                      PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                           NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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 ·1·   · · ·MR. FURMAN:· Good morning.· This is Joshua Furman.         ·1·   ·copy next to me.· It's identical and that will be the
 ·2·   ·I'm here on behalf of Plaintiff Natural Immunogenics           ·2·   ·document that I refer to and look at when you're referring
 ·3·   ·Corporation.                                                   ·3·   ·to Exhibit 623.
 ·4·   · · ·MR. ARHANGELSKY:· Good morning.· This is                   ·4·   · · ·Q· · ·Okay.· I appreciate that.· Thank you.
 ·5·   ·Peter Arhangelsky appearing on behalf of the                   ·5·   · · · · · ·And you were deposed on Tuesday; is that correct?
 ·6·   ·Plaintiff Natural Immunogenics.                                ·6·   · · ·A· · ·That is correct.· On Tuesday I was deposed in my
 ·7                                                                    ·7·   ·personal capacity.
 ·8·   · · · · · · · · · · · SCOTT J. FERRELL,                         ·8·   · · ·Q· · ·And today you're appearing as the 30(b)(6)
 ·9·   ·having been administered an oath, was examined and             ·9·   ·witness for the Defendant Newport Trial Group; is that
 10·   ·testified as follows:                                          10·   ·correct?
 11                                                                    11·   · · ·A· · ·That is correct.
 12·   · · ·MR. ARHANGELSKY:· Mr. Ferrell, I've placed an exhibit      12·   · · ·Q· · ·And you have reviewed the Second Amended Notice
 13·   ·in front of you on the screen which is marked as               13·   ·of Rule 30(b)(6) Deposition that we've displayed as
 14·   ·Exhibit 623 entitled Second Amended Notice of Rule             14·   ·Exhibit 623?
 15·   ·30(b)(6) Deposition for Newport Trial Group, PC.               15·   · · ·A· · ·I have.
 16·   · ·(Plaintiff's Exhibit 623 was marked for identification.)     16·   · · ·Q· · ·Have you had an opportunity to evaluate those
 17                                                                    17·   ·topics with your counsel?
 18·   ··········EXAMINATION                                           18·   · · ·A· · ·I have.
 19·   ·BY MR. ARHANGELSKY:                                            19·   · · ·Q· · ·Are you the person most knowledgeable for
 20·   · · ·Q· · ·Do you see that document?                            20·   ·purposes of this deposition on each of the 10 topics
 21·   · · ·A· · ·I do.                                                21·   ·listed for examination?
 22·   · · · · · ·And just to also clarify, my counsel brought a       22·   · · ·A· · ·After a reasonable and diligent determination, I
 23·   ·hard copy of that document this morning that he's placed       23·   ·believe that I am, although it may be helpful to go
 24·   ·next to me so that I can review it without spending too        24·   ·through each topic to discuss them specifically if you
 25·   ·much time squinting at the screen.· So I have the hard         25·   ·would like more detail as to why I've reached that

                                                             Page 12                                                             Page 13
 ·1·   ·conclusion.                                                    ·1·   ·that I would likely be the testimonial designee on one or
 ·2·   · · ·Q· · ·Thank you.                                           ·2·   ·more of the topics, I began my preparation almost
 ·3·   · · · · · ·You've taken an oath this morning; is that           ·3·   ·contemporaneous with commencement of litigation in
 ·4·   ·correct?                                                       ·4·   ·December 2015.· In that regard I've tried to remain
 ·5·   · · ·A· · ·I have.                                              ·5·   ·abreast of all of the pleadings that have been filed, the
 ·6·   · · ·Q· · ·And you understand that the oath requires you to     ·6·   ·orders that have been issued, the dockets in related cases
 ·7·   ·tell the truth under penalty of perjury; is that right?        ·7·   ·that have been referenced in this case, the discovery
 ·8·   · · ·A· · ·I think your statement is incomplete.· The oath      ·8·   ·responses of all parties, the depositions of all
 ·9·   ·that I took requires me to tell the truth, the whole           ·9·   ·witnesses, some of whom have been deposed more than once.
 10·   ·truth, and nothing but the truth.· Those are three             10·   · · · · · ·In addition to that I reviewed several best
 11·   ·distinct and tripartite qualifications.                        11·   ·practices guides regarding the appropriate manner to
 12·   · · ·Q· · ·And that's on penalty of perjury should you          12·   ·prepare for a 30(b)(6) deposition that are published on
 13·   ·testify falsely.· Is that correct, Mr. Ferrell?                13·   ·the internet.· I then reviewed the original 30(b)(6)
 14·   · · ·A· · ·You can rest assured that I will be testifying       14·   ·deposition notice, the briefing regarding it, the order
 15·   ·truthfully, Counsel.                                           15·   ·limiting it, the first amended 30(b)(6) deposition notice,
 16·   · · ·Q· · ·And you are prepared today to testify truthfully     16·   ·the correspondence and briefing regarding it, the
 17·   ·as to the matters for examination listed in the amended        17·   ·operative second amended deposition notice.· And then with
 18·   ·notice of deposition?                                          18·   ·respect to the second amended deposition notice, I drilled
 19·   · · ·A· · ·I am prepared today to testify truthfully as to      19·   ·down at a granular level as to each of the 10 topics.
 20·   ·any matters that are properly the subject of examination.      20·   ·Specifically I reviewed the definitions and then did
 21·   · · ·Q· · ·Can you describe for me everything you did to        21·   ·specific preparation as it relates to each of the 10
 22·   ·prepare for this 30(b)(6) deposition?                          22·   ·topics.
 23·   · · ·A· · ·Absolutely.· My preparation started well in          23·   · · · · · ·Would you like me to relate the preparation that
 24·   ·advance of receiving the seconded amended deposition           24·   ·is unique to each of the 10 topics that I did?
 25·   ·notice that is displayed on the screen.· In anticipation       25·   · · ·Q· · ·I think we'll go through the topics in a moment.


                                                   30(b)(6) Scott J.· Ferrell
                                                        April 01, 2021                                                           10..13     YVer1f




                                DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                                EXHIBIT 9
                                PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                     NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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 ·1·   · · · · · ·Let me ask you this question:· You mentioned that   ·1·   ·prepared, executed, or submitted by NTG in the SAC cases.
 ·2·   ·you reviewed best practices guides.· Can you provide the      ·2·   ·And because I found an ambiguity in the conjunctive nature
 ·3·   ·names of the best practices guides that you reviewed?         ·3·   ·of the description -- properly read it relates only to
 ·4·   · · ·A· · ·Yes.· One is from the Practicing Law Institute      ·4·   ·declarations that were prepared, executed, and submitted
 ·5·   ·entitled The Appropriate Preparation of the 30(B)(6)          ·5·   ·by NTG.· But I read it broadly construed to be disjunctive
 ·6·   ·Witness.· The other is published by the Weil, Gotshal law     ·6·   ·so that I reviewed any declarations that were prepared,
 ·7·   ·firm available at weil.com that describes the appropriate     ·7·   ·executed, or submitted and filed by NTG as well as the
 ·8·   ·practices for a witness to undertake in becoming a            ·8·   ·correspondence related to such declarations.
 ·9·   ·30(b)(6) witness.· And the third one is a bench guide or a    ·9·   · · ·Q· · ·Okay.· In preparing to testify in this Topic 1,
 10·   ·judge's guide that relates to the manual for 30(b)(6)         10·   ·did you review any documents that have not been produced
 11·   ·depositions, objections, rulings and things of that           11·   ·to NIC in discovery?
 12·   ·nature.                                                       12·   · · ·A· · ·Yes.
 13·   · · ·Q· · ·Let's turn to Exhibit 623, which you have in        13·   · · ·Q· · ·And what documents were those?
 14·   ·front of you, and I'm going to ask you to turn to what I      14·   · · ·A· · ·The practice guides I previously referenced that
 15·   ·believe is page 4 of that exhibit under the heading           15·   ·are available on the internet.
 16·   ·Matters For Examination.                                      16·   · · ·Q· · ·Any others?
 17·   · · · · · ·Let me know when you're there.                      17·   · · ·A· · ·If you're asking if I reviewed any documents that
 18·   · · ·A· · ·I'm there.                                          18·   ·are within my possession but that have not been produced
 19·   · · ·Q· · ·The first topic for examination reads Facts and     19·   ·or made available to NIC, the answer is no.· If you are
 20·   ·evidence related to the preparation, execution, and           20·   ·asking if I consulted public authority that is equally
 21·   ·submission of declarations filed by NTG in each of the SAC    21·   ·available to both sides but not in my possession, then the
 22·   ·cases.· What documents have you reviewed in preparation to    22·   ·answer is yes.
 23·   ·testify on that topic?                                        23·   · · ·Q· · ·With respect to the latter of category that you
 24·   · · ·A· · ·In addition to the litany of activities that I      24·   ·just described, other than the practice guides you've
 25·   ·just described, I reviewed each of the declarations           25·   ·identified, what other publicly available sources have you

                                                           Page 16                                                              Page 17
 ·1·   ·consulted in preparation for Topic 1?                         ·1·   · · ·A· · ·So it seems like in this question you've asked me
 ·2·   · · ·A· · ·They are prolix and plenary, specifically the       ·2·   ·to incorporate by reference all of the answers I gave you
 ·3·   ·National Institutes for Health database of substantiation,    ·3·   ·in response to Topic 1, which I am happy to do. I
 ·4·   ·the number of journals regarding the technical issues         ·4·   ·incorporate by reference in response to your question all
 ·5·   ·referenced in the underlying cases, and really a              ·5·   ·of the preparation that I undertook and which I previously
 ·6·   ·cornucopia of any evidence and supporting documentation       ·6·   ·related to you in response to question 1.· In addition to
 ·7·   ·that I could find from publicly available sources that        ·7·   ·that I reviewed all of the deposition testimony given by
 ·8·   ·would enable me to give my best testimony today.              ·8·   ·NTG attorneys, employees, and clients in the referenced
 ·9·   · · ·Q· · ·Other than reviewing documents and those public     ·9·   ·cases as well as all of the deposition testimony given in
 10·   ·sources, did you do anything else to educate yourself on      10·   ·this underlying case.· In addition to that I met with my
 11·   ·Topic 1?                                                      11·   ·counsel to prepare.
 12·   · · ·A· · ·Yes.                                                12·   · · ·Q· · ·Did you interview any person to gain information
 13·   · · ·Q· · ·And what was that?                                  13·   ·on Topic 2 in preparation to testify today?
 14·   · · ·A· · ·I met with my counsel.· I listened to the           14·   · · ·A· · ·I don't believe so.· But again given that my
 15·   ·deposition of Mr. Reid yesterday.· And I reviewed all of      15·   ·preparation for the deposition today began back in
 16·   ·the deposition transcripts that have been given in this       16·   ·December of 2015, a broadly construed answer to that
 17·   ·case as well as depositions that were given in the            17·   ·question would include the interviews that I conducted at
 18·   ·underlying cases.                                             18·   ·the outset of the case in connection with issuing the
 19·   · · ·Q· · ·Let's talk about Topic 2, Facts and evidence        19·   ·plenary document preservation letter and efforts to gather
 20·   ·related to deposition preparation and deposition testimony    20·   ·and preserve all potentially responsive documents and
 21·   ·given by NTG attorneys, employees, clients in SAC cases.      21·   ·sources of responsive documents.
 22·   ·Other than what you've described for me in your               22·   · · ·Q· · ·And who can you recall interviewing at the time?
 23·   ·preparation for Topic 1, did you review any documents         23·   · · ·A· · ·Certainly all of the NTG defendants, all of the
 24·   ·specifically related to Topic 2 in preparation to testify     24·   ·NTG employees, everyone who I believed might have
 25·   ·today?                                                        25·   ·documents or potentially relevant sources of documents.


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                                DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                               EXHIBIT 9
                                PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                     NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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                                                           Page 18                                                             Page 19
 ·1·   ·But again this was six years ago and so there are likely     ·1·   ·underlying case because her retainer agreement has not
 ·2·   ·others.                                                      ·2·   ·been available.· In addition to that I reviewed the
 ·3·   · · ·Q· · ·Can you recall interviewing any person who --      ·3·   ·testimony from each of the plaintiffs whose depositions
 ·4·   ·outside of the NTG firm who's not named a party in this      ·4·   ·have been taken to gain a perspective on their
 ·5·   ·action?                                                      ·5·   ·understanding of the retainer agreements and what the
 ·6·   · · ·MR. DARNELL:· Objection, vague.· Are you just asking     ·6·   ·client intake process was with respect to them contacting
 ·7·   ·ever or specifically with respect to Topic 2?                ·7·   ·Newport Trial Group.
 ·8·   · · ·MR. ARHANGELSKY:· In context with preparing for          ·8·   · · ·Q· · ·Okay.· Other than the individuals you referenced
 ·9·   ·Topic 3 -- Topic 2.                                          ·9·   ·in preparing for Topics 1 through 2, have you performed
 10·   · · ·MR. DARNELL:· Thank you, Counsel.                        10·   ·any interviews of any witnesses in preparation to testify
 11·   · · ·THE WITNESS:· I don't recall having done so.· But        11·   ·on Topic 3?
 12·   ·given that my preparation has been ongoing over the course   12·   · · ·A· · ·Yes.
 13·   ·of six years, it is certainly possible that I did.           13·   · · ·Q· · ·Who have you interviewed?
 14·   ·BY MR. ARHANGELSKY:                                          14·   · · ·A· · ·At a minimum my wife, my daughter,
 15·   · · ·Q· · ·Topic 3 is listed as Facts and evidence related    15·   ·Derrick Ridenba (phonetic), Isabella Janovick, two retired
 16·   ·to NTG's retainer agreements or retention by plaintiffs in   16·   ·FBI agents who spoke to Trycia Carlberg's mother and other
 17·   ·SAC cases.· Again other than what you've already described   17·   ·former clients who had been contacted and threatened by
 18·   ·for me of your preparation of Topics 1 through 2, did you    18·   ·NIC's agent Clark Baker.
 19·   ·review any specific documents in preparation for Topic 3?    19·   · · ·Q· · ·And did you perform those interviews within the
 20·   · · ·A· · ·Yes, I did.                                        20·   ·last month?
 21·   · · ·Q· · ·And what were those documents?                     21·   · · ·A· · ·With the exception of the interviews of my wife
 22·   · · ·A· · ·I reviewed all of the retainer agreements in the   22·   ·and daughter, none of the other referenced interviews took
 23·   ·underlying cases as well as all documents related to our     23·   ·place in the past month.
 24·   ·retention in those cases.· I also reviewed the facts         24·   · · ·Q· · ·Topic 4, Facts and evidence related to NTG's
 25·   ·relating to the intake of Trycia Carlberg in the             25·   ·acquisition of clients in the SAC cases; i.e., how NTG

                                                           Page 20                                                             Page 21
 ·1·   ·obtained its clients, again other than what you've           ·1·   · · ·A· · ·Yes.
 ·2·   ·described in preparation to testify on Topics 1 through 3,   ·2·   · · ·Q· · ·And what were those?
 ·3·   ·did you review any specific documents in preparation to      ·3·   · · ·A· · ·The collection of publicly available documents
 ·4·   ·testify on Topic 4?                                          ·4·   ·that I referenced earlier that reference my
 ·5·   · · ·A· · ·I did.                                             ·5·   ·accomplishments, media concerning my trial victories,
 ·6·   · · ·Q· · ·And what were those documents?                     ·6·   ·profiles of me, videos of my lectures and speeches and
 ·7·   · · ·A· · ·I started by wrestling with the language in        ·7·   ·other sources of information that are equally available to
 ·8·   ·Topic 4 because it suggests the existence of a narrative     ·8·   ·anyone who searches for them.
 ·9·   ·that is counterfactual to reality and suggests that NTG      ·9·   · · ·Q· · ·In preparation to testify on Topic 5 which reads
 10·   ·acquired or had some sort of property interest in client     10·   ·Facts and evidence related to NTG's communications with
 11·   ·relationships when in reality NTG did not acquire clients    11·   ·defendants, potential defendants, and/or their counsel in
 12·   ·nor can any law firm be properly described as having         12·   ·threatened or filed litigation involving Strataluz, LLC,
 13·   ·acquired of clients.· Broadly construing it and              13·   ·other than what you've described in preparation for
 14·   ·referencing the parenthetical, i.e., how NTG obtained its    14·   ·Topics 1 through 4, did you review any specific documents
 15·   ·clients, I spent a great deal of time trying to mentally     15·   ·in preparation to testify to Topic 5?
 16·   ·diagram the standard client intake process for NTG as well   16·   · · ·A· · ·I did.
 17·   ·as how clients have come to NTG broadly construed, not       17·   · · ·Q· · ·What documents did you review?
 18·   ·simply the clients in the underlying SAC cases but other     18·   · · ·A· · ·I reviewed the briefing on various motions to
 19·   ·corporate clients, as well.· And I also reviewed several     19·   ·compel involving Strataluz as well as all of the
 20·   ·sources of information available about me on the internet    20·   ·communication between NTG and either defendants, potential
 21·   ·that clients have referenced, seen when they have            21·   ·defendants, or their counsel as it related to Strataluz.
 22·   ·approached our firm.                                         22·   · · ·Q· · ·Did you review any documents that have not been
 23·   · · ·Q· · ·As part of your preparation to testify on          23·   ·provided to NIC in preparation to testify on Topic 5?
 24·   ·Topic 4, did you review any documents that have not been     24·   · · ·A· · ·No.
 25·   ·produced to NIC in discovery?                                25·   · · ·Q· · ·With respect to Topic 6, Facts and evidence


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                                DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                              EXHIBIT 9
                                PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                     NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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 ·1·   ·concerning NTG's case management systems, slash,              ·1·   ·discovery in this case, and again other than anything you
 ·2·   ·procedures and document retention policies, other than        ·2·   ·have listed in preparation for Topics 1 through 6, did you
 ·3·   ·what you've described in relation to Topics 1 through 5,      ·3·   ·review any documents specific to your preparation on
 ·4·   ·did you review any documents specific in your preparation     ·4·   ·Topic 7?
 ·5·   ·for Topic 6?                                                  ·5·   · · ·A· · ·Yes.
 ·6·   · · ·A· · ·I did.                                              ·6·   · · ·Q· · ·And what were those documents?
 ·7·   · · ·Q· · ·And what were those documents?                      ·7·   · · ·A· · ·I started by reviewing all of NTG's written
 ·8·   · · ·A· · ·At a minimum the best practices case management     ·8·   ·discovery responses in this case.· I then reviewed all of
 ·9·   ·guides that I consult on the internet when establishing       ·9·   ·the discovery responses of all parties in the case and
 10·   ·protocol for any particular situation that arises.· In        10·   ·broadly construed the phrase discovery responses to
 11·   ·addition the plenary document hold and preservation letter    11·   ·include deposition testimony and reviewed that.· I then
 12·   ·that I issued at the outset of the case and the California    12·   ·reviewed all of the orders regarding discovery and
 13·   ·Rules of Professional Conduct related to document             13·   ·satisfied myself that NTG has complied with all of its
 14·   ·retention as well as the State bar opinions that have been    14·   ·discovery obligations express and implied, broadly
 15·   ·issued relating to document retention, particularly the       15·   ·construed in this case.
 16·   ·2001 opinion.                                                 16·   · · ·Q· · ·And again with respect to Topic 7, did you review
 17·   · · ·Q· · ·In preparation to testify on Topic 6, did you       17·   ·any documents in NTG's possession that have not been
 18·   ·review any documents in NTG's possession that have not        18·   ·produced to NIC in discovery?
 19·   ·been produced to NIC in discovery?                            19·   · · ·A· · ·No.
 20·   · · ·A· · ·Other than referencing the publicly available       20·   · · ·Q· · ·Concerning Topic 8, Facts and evidence concerning
 21·   ·documents that I spoke about and the plenary document         21·   ·NTG's, slash, PTA's revenues, assets, profits, and losses
 22·   ·preservation letter that I discussed, I did not review any    22·   ·from 2010 through present, other than the documents you've
 23·   ·documents in our possession that have not been produced.      23·   ·already described in association with Topics 1 through 7,
 24·   · · ·Q· · ·With respect to Topic 7, Facts and evidence         24·   ·did you review any documents specific to Topic 8?
 25·   ·related to NTG's discovery responses and compliance with      25·   · · ·A· · ·I did not review any documents specific to

                                                           Page 24                                                              Page 25
 ·1·   ·Topic 8, but I did interview Sariah Para regarding Topic 8    ·1·   ·by NIC's counsel to the insurance carrier to try to
 ·2·   ·to obtain a summary of NTG's revenues, assets, profits,       ·2·   ·prevent us from securing insurance coverage to assist with
 ·3·   ·and losses from 2010 through 2021.                            ·3·   ·the defense of this action.· I also reviewed the document
 ·4·   · · ·Q· · ·Did you communicate with Bryce Gharring in          ·4·   ·prepared by NIC that estimated their damages at
 ·5·   ·preparation for your testimony on this topic?                 ·5·   ·$50 million and then reviewed the subsequent stipulation
 ·6·   · · ·A· · ·I did not.                                          ·6·   ·by NIC that admitted that their claimed damages were
 ·7·   · · ·Q· · ·And for the record who is Bryce Gharring?           ·7·   ·actually less than one-tenth of one percent of what they
 ·8·   · · ·A· · ·Bryce, whose last name is pronounced Gharring, is   ·8·   ·had originally asserted.
 ·9·   ·my accountant and tax preparer.                               ·9·   · · ·Q· · ·In preparation to testify on Topic 9, did you
 10·   · · ·Q· · ·You didn't ask Mr. Gharring to provide any          10·   ·interview any individual?
 11·   ·documentation to assist in your preparation to testify on     11·   · · ·A· · ·I spoke to Sariah Para because the efforts to
 12·   ·Topic 8?                                                      12·   ·gather information regarding nos. 8, 9, and 10 were
 13·   · · ·A· · ·I did not ask him to.· It is certainly possible     13·   ·overlapping.
 14·   ·that Sariah spoke with him in gathering the information       14·   · · ·Q· · ·Okay.· And, therefore, with respect to Topic 10,
 15·   ·that I asked her to relate to me.                             15·   ·Facts and evidence of compensation paid to NTG employees,
 16·   · · ·Q· · ·With respect to Topic 9, Facts and evidence         16·   ·agents, and partners from 2010 to present, including but
 17·   ·related to NTG, slash, PTA debts, liabilities, and            17·   ·not limited to salary, hourly wages, bonuses, incentives,
 18·   ·financial obligations from 2016 to the present, other than    18·   ·or contract terms, and the bases for determining such
 19·   ·information you disclosed in relation to Topics 1 through     19·   ·compensation, other than the information you've already
 20·   ·8, did you review any documents specific to this Topic 9?     20·   ·disclosed in response to Topics 1 through 9, did you
 21·   · · ·A· · ·Yes.                                                21·   ·review any documentation specific to Topic 10?
 22·   · · ·Q· · ·And what documents were those?                      22·   · · ·A· · ·Yes.
 23·   · · ·A· · ·I reviewed the complaint filed by our insurance     23·   · · ·Q· · ·And what documents did you review for Topic 10?
 24·   ·carrier relating to their claim for reimbursement in this     24·   · · ·A· · ·I reviewed the compensation guides that I
 25·   ·action as well as the conspiratorial declaration submitted    25·   ·typically consult when determining compensation, bonus,


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                                DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                               EXHIBIT 9
                                PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                     NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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 ·1·   ·salaries, and incentives.· I reviewed the contracts of any    ·1·   ·they all in writing?· Because my prior question only asked
 ·2·   ·individuals to the extent that they exist.· And I spoke to    ·2·   ·about whether Mr. Hardin's was the only written contract.
 ·3·   ·Sariah Para regarding all of those topics and had an          ·3·   · · ·A· · ·I didn't understand your previous question to be
 ·4·   ·in-depth conversation with Sariah about whether she or I      ·4·   ·asking that.· Would you like me to ask the court reporter
 ·5·   ·would be best designated as the testimonial designee as to    ·5·   ·to read it back or would you like to ask me that question
 ·6·   ·Topics 8, 9, and 10.                                          ·6·   ·that I may have misunderstood so that I can provide a
 ·7·   · · ·Q· · ·What were the contracts that you reviewed in        ·7·   ·answer to that question?
 ·8·   ·relation to Topic 10?                                         ·8·   · · ·MR. ARHANGELSKY:· Can the reporter please read back
 ·9·   · · ·A· · ·The only one that I found was a contract between    ·9·   ·the question I had asked two questions ago.
 10·   ·NTG and James Hardin that set forth the terms of his          10·   · · · · · ·(WHEREUPON, THE RECORD WAS READ BY THE COURT
 11·   ·employment when he started work for us.                       11·   · · · REPORTER AS FOLLOWS:
 12·   · · ·Q· · ·And when did Mr. Hardin start work for the NTG      12·   · · · · · ·"Question:· Was Mr. Hardin the only attorney
 13·   ·firm?                                                         13·   · · · working for NTG that had an employment contract in
 14·   · · ·A· · ·I believe it was 2010 or 2011.                      14·   · · · writing?
 15·   · · ·Q· · ·Was Mr. Hardin the only attorney working for NTG    15·   · · · · · ·"Answer:· I think it depends on how you
 16·   ·that had an employment contract in writing?                   16·   · · · define the term employment contract.· All of the
 17·   · · ·A· · ·I think it depends on how you define the term       17·   · · · individuals working for NTG and PTA have an
 18·   ·employment contract.· All of the individuals working for      18·   · · · employment contract.· It's the standard agreement
 19·   ·NTG and PTA have an employment contract.· It's the            19·   · · · that provides that they will do work and they will
 20·   ·standard agreement that provides that they will do work       20·   · · · be compensated at an agreed rate.· But
 21·   ·and they will be compensated at an agreed rate.· But          21·   · · · Mr. Hardin's is the only one I found that was
 22·   ·Mr. Hardin's is the only one I found that was actually        22·   · · · actually memorialized into a written document that
 23·   ·memorialized into a written document that was entitled        23·   · · · was entitled Employment Agreement.")
 24·   ·Employment Agreement.                                         24·   ·BY MR. ARHANGELSKY:
 25·   · · ·Q· · ·So, the other contracts you just referenced, are    25·   · · ·Q· · ·So the answer to my question there was, yes,

                                                           Page 28                                                              Page 29
 ·1·   ·Mr. Hardin was the only one in writing, right,                ·1·   · · ·Q· · ·Well, I'm asking a separate question.· Can you
 ·2·   ·Mr. Ferrell?                                                  ·2·   ·answer the question I asked, please?
 ·3·   · · ·A· · ·No.· I think that my answer is the -- is the        ·3·   · · ·A· · ·Counsel, I told you this once on Tuesday.· I'm
 ·4·   ·complete answer.                                              ·4·   ·going to tell you this again.· I intend to treat you with
 ·5·   · · ·MR. ARHANGELSKY:· Just for the record we'll be moving     ·5·   ·the respect and decorum that this deposition requires
 ·6·   ·to strike the narrative response as a nonresponsive           ·6·   ·which will mean that I will not interrupt you and I again
 ·7·   ·answer.                                                       ·7·   ·ask that you not interrupt me.
 ·8·   · · ·THE WITNESS:· Understood.                                 ·8·   · · ·Q· · ·And I -- I am going to put on record right now
 ·9·   ·BY MR. ARHANGELSKY:                                           ·9·   ·that I think your answers are narrative and nonresponsive
 10·   · · ·Q· · ·Mr. Ferrell, you're familiar with the term          10·   ·and you're intentionally obfuscating this record.· If this
 11·   ·testers in context with plaintiff litigation, are you not?    11·   ·continues, if you can't answer my questions as asked, I'm
 12·   · · ·A· · ·I am.                                               12·   ·going to ask the court for more time.
 13·   · · ·Q· · ·And isn't it true that NTG has argued in this       13·   · · · · · ·So I'll ask my question again directly.· Did you
 14·   ·case that it used testers in wiretap litigation under the     14·   ·see any discovery responses that NTG served in this case
 15·   ·CIPA?                                                         15·   ·identifying the use of tester plaintiffs in the CIPA
 16·   · · ·A· · ·I would have to look at the briefing that you're    16·   ·litigation?
 17·   ·referring to because I am not aware of any brief in which     17·   · · ·A· · ·Yes, I did.
 18·   ·NTG presented the argument we used tester plaintiffs under    18·   · · ·Q· · ·Okay.· And, now, have you seen any briefs
 19·   ·the CIPA.                                                     19·   ·submitted to this board filed by your attorneys where you
 20·   · · ·Q· · ·You didn't see that in any of the discovery         20·   ·have -- NTG has argued that they used tester plaintiffs in
 21·   ·responses that you reviewed in preparation for any of the     21·   ·CIPA litigation?
 22·   ·topics that we just discussed?                                22·   · · ·A· · ·I don't believe it is fair to characterize any
 23·   · · ·A· · ·Well, you're clearly asking a different question.   23·   ·briefs as presenting that argument.· I have reviewed the
 24·   ·Discovery responses are not argument.· Your previous          24·   ·briefs that reference tester plaintiffs and the briefing
 25·   ·question was isn't it true that NTG has argued X.· And --     25·   ·regarding it.· I don't think your summary of those briefs


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                                PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
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  ·1·   ·is accurate.                                                  ·1·   ·exceeds the scope of any of the topics that I'm reading in
  ·2·   · · ·MR. ARHANGELSKY:· I'm putting a document before the       ·2·   ·connection with the Rule 30(b)(6) deposition and I'll
  ·3·   ·witness which is marked as Exhibit 624.· It has the title     ·3·   ·continue to assert that objection.· If you want me to
  ·4·   ·Defendants' Reply Brief In Support Of Motion To Strike        ·4·   ·restate it every time, I will; but I don't intend to
  ·5·   ·First And Fourth Causes Of Action In The First Amended        ·5·   ·interrupt your questioning, but I am preserving all
  ·6·   ·Complaint Under Cal. Civil Procedure Code Section 425.16.     ·6·   ·objections to this line of questioning unless you can make
  ·7·   · (Plaintiff's Exhibit 624 was marked for identification.)     ·7·   ·a offer of proof or show me which topic this relates to.
  ·8·   ·BY MR. ARHANGELSKY:                                           ·8·   · · ·MR. ARHANGELSKY:· Yeah.· Thank you, Mr. Darnell.· We
  ·9·   · · ·Q· · ·Mr. Ferrell, have you reviewed this document?       ·9·   ·would contend it relates to multiple topics, not the least
  10·   · · ·A· · ·I have but not --                                   10·   ·of which Topic 4, but I don't need you to restate your
  11·   · · ·Q· · ·Are you familiar with --                            11·   ·objection for purposes of the record.
  12·   · · ·A· · ·But not since you just put it on the screen. I      12·   · · ·MR. DARNELL:· Okay.· And I may have to restate it,
  13·   ·reviewed this document at the time it was filed, I            13·   ·just exceeds the scope.· I'll try to make it a narrow
  14·   ·believe, back in early 2016 and again in preparation for      14·   ·objection so that you can continue to proceed with your
  15·   ·the deposition.· I haven't reviewed it since you put it on    15·   ·examination.
  16·   ·the screen.                                                   16·   · · ·MR. ARHANGELSKY:· I understand.· Thank you.
  17·   · · ·Q· · ·I'm going to direct you to what is marked as        17·   · · · · · ·Will the reporter please read back the pending
  18·   ·page 12 in this document using the CNECF (phonetic)           18·   ·question.
  19·   ·pagination at the top header and specifically directing       19·   · · · · · ·(WHEREUPON, THE RECORD WAS READ BY THE COURT
  20·   ·you to the argument section in the second paragraph under     20·   · · · REPORTER AS FOLLOWS:
  21·   ·Section D in which the brief reads Newport Trial Group        21·   · · · · · ·"Question:· I'm going to direct you to what
  22·   ·used testers to ferret out and enforce violations of          22·   · · · is marked as page 12 in this document using the
  23·   ·California wiretapping laws.· Is this something that your     23·   · · · CNECF pagination at the top header and
  24·   ·counsel in this case has submitted to the court?              24·   · · · specifically directing you to the argument section
  25·   · · ·MR. DARNELL:· Objection.· This line of questioning        25·   · · · in the second paragraph under Section D in which

                                                            Page 32                                                              Page 33
  ·1·   · · · the brief reads Newport Trial Group used testers         ·1·   · · ·THE WITNESS:· I must confess that this is not one of
  ·2·   · · · to ferret out and enforce violations of California       ·2·   ·the topics that I expected would be asked about and so I
  ·3·   · · · wiretapping laws.· Is this something that your           ·3·   ·have not done as much preparation on this topic as I have
  ·4·   · · · counsel in this case has submitted to the court?")       ·4·   ·the other topics.· But with that said I am happy to
  ·5·   · · ·THE WITNESS:· I believe so.· But just to confirm can      ·5·   ·provide you with whatever information I can recall. I
  ·6·   ·you skip to the final page that shows the signature line      ·6·   ·just want to make sure you understand that I did not
  ·7·   ·and I can confirm that?                                       ·7·   ·understand this would be one of the topics of inquiry in
  ·8·   · · · · · ·Yes.                                                ·8·   ·preparing.
  ·9·   · · ·MR. ARHANGELSKY:· I'm displaying on screen page 19 of     ·9·   ·BY MR. ARHANGELSKY:
  10·   ·the document which is in the CNEGF (phonetic).                10·   · · ·Q· · ·Can you answer the question?
  11·   · · ·THE WITNESS:· Yes.· Page 19 of that document reflects     11·   · · ·A· · ·I can.· It would start with the Supreme Court
  12·   ·a signature line and, now that I look at it, the top of       12·   ·opinion in Havens, which authorizes and embraces the use
  13·   ·the document reflects a PACER entry showing that this         13·   ·of what we've described as tester plaintiffs, individuals
  14·   ·document was filed with the court in 2016.                    14·   ·who are acting in the spirit of public good to attempt to
  15·   ·BY MR. ARHANGELSKY:                                           15·   ·determine whether companies are violating statutory
  16·   · · ·Q· · ·Other than in CIPA cases in which types of cases    16·   ·obligations or independent felonies, and then the progeny
  17·   ·did NTG use testers?                                          17·   ·from Havens that embrace the use of testers in any case
  18·   · · ·MR. DARNELL:· Objection, exceeds the scope.               18·   ·involving the invasion of statutory rights.· I believe
  19·   · · ·THE WITNESS:· I'm sorry.· Are you asking about cases      19·   ·that the Singleton case, the U.S. Supreme Court, is one of
  20·   ·outside of the cases referenced in the SAC?                   20·   ·the seminal cases regarding tester standing as the use of
  21·   ·BY MR. ARHANGELSKY:                                           21·   ·testing.
  22·   · · ·Q· · ·I'm just talking in general with respect to NTG's   22·   · · ·MR. ARHANGELSKY:· We're going to move to strike this
  23·   ·practices.· Did it use testers with respect to any -- in      23·   ·as a nonresponsive answer, Mr. Ferrell.· This is not at
  24·   ·any cases other than CIPA lawsuits?                           24·   ·all responsive to the question that I asked specifically
  25·   · · ·MR. DARNELL:· Same objection.                             25·   ·which was what types of cases does NTG pursue use testers


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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                                                            Page 34                                                             Page 35
  ·1·   ·in.                                                          ·1·   · · ·THE WITNESS:· No, Counsel.· I did my best to provide
  ·2·   · · ·MR. DARNELL:· Objection, exceeds the scope.              ·2·   ·you with a very nuanced answer to a very vague question.
  ·3·   · · ·THE WITNESS:· Certainly in addition to the cases that    ·3·   ·The determination of whether someone is a tester is not at
  ·4·   ·we've already identified, cases involving the Unruh Act      ·4·   ·all binary.· It's a spectrum designation.· And so what I
  ·5·   ·have involved testers.· Cases involving the TCPA and         ·5·   ·consider to be a tester you might not consider to be a
  ·6·   ·really any other invasion of a statutory right or a public   ·6·   ·tester.
  ·7·   ·right where the use of the tester has been implicitly or     ·7·   · · · · · ·What the Supreme Court identified in Havens as
  ·8·   ·explicitly authorized is something we would consider.        ·8·   ·being appropriate for testing --
  ·9·   ·BY MR. ARHANGELSKY:                                          ·9·   ·BY MR. ARHANGELSKY:
  10·   · · ·Q· · ·Has the NTG used testers in CLRA cases?            10·   · · ·Q· · ·Mr. Ferrell, I'm asking a very specific question
  11·   · · ·MR. DARNELL:· Objection, exceeds the scope.              11·   ·and your answers run on and are nonresponsive.· If we
  12·   · · ·THE WITNESS:· In my opinion the definition of tester     12·   ·continue going this way, we're going to seek the court's
  13·   ·embraces any individual who is willing to put themselves     13·   ·intervention and we're going to ask for more time.· Can
  14·   ·at risk to serve the public interest as a class              14·   ·you answer my questions clearly, please?
  15·   ·representative.· And using that broad definition of          15·   · · · · · ·I asked you a question.· Did the NTG firm use
  16·   ·tester, I think anyone who signs the document entitled       16·   ·testers in CLRA cases, yes or no?
  17·   ·Duties of a Class Representative that provides that they     17·   · · ·MR. DARNELL:· Objection, vague and ambiguous as to the
  18·   ·will be acting on behalf of the public good and doing        18·   ·term tester.
  19·   ·their best to enforce public rights could be considered a    19·   · · ·THE WITNESS:· I stand by my previous answer.· But if
  20·   ·tester broadly construed.                                    20·   ·you would like to work with me to ferret out the details
  21·   ·BY MR. ARHANGELSKY:                                          21·   ·of where our understandings may differ, I would be happy
  22·   · · ·Q· · ·So your answer is, yes, you've used tester         22·   ·to do that because I think that you have a
  23·   ·plaintiffs in CLRA cases?                                    23·   ·misunderstanding of the phrase tester.
  24·   · · ·MR. DARNELL:· Objection, misstates his testimony,        24·   · · ·MR. ARHANGELSKY:· I've placed a document in front of
  25·   ·exceeds the scope.                                           25·   ·the witness which is marked as Exhibit 625 entitled the

                                                            Page 36                                                             Page 37
  ·1·   ·Defendant Newport Trial Group's Supplemental Response to     ·1·   ·BY MR. ARHANGELSKY:
  ·2·   ·Plaintiff Natural Immunogenic Corps.'s Interrogatory         ·2·   · · ·Q· · ·NTG has informed the court that it uses tester
  ·3·   ·Nos. 1 and 2 (Set One).                                      ·3·   ·plaintiffs in CIPA cases.· Isn't that fair, Mr. Ferrell?
  ·4·   · (Plaintiff's Exhibit 625 was marked for identification.)    ·4·   · · ·A· · ·I believe that the document that we just looked
  ·5·   ·BY MR. ARHANGELSKY:                                          ·5·   ·at, the March 2016 document, identified the use of testers
  ·6·   · · ·Q· · ·Mr. Ferrell, is this a document you reviewed in    ·6·   ·and I believe that this interrogatory response further
  ·7·   ·preparation for your testimony today?                        ·7·   ·identifies that.· So I think the fair answer is yes.
  ·8·   · · ·A· · ·It is.                                             ·8·   · · ·Q· · ·Using your definition of tester has NTG used
  ·9·   · · ·Q· · ·And I'll direct you to -- your attention to what   ·9·   ·tester plaintiffs in CLRA cases?
  10·   ·is marked pages 2 through 3 which begins with NTG            10·   · · ·A· · ·So using the definition of --
  11·   ·supplemental response to interrogatory no. 1.· And is this   11·   · · ·Q· · ·It's a yes or no, Mr. Ferrell.· It's a yes or no,
  12·   ·a response that you reviewed as part of your preparation     12·   ·Mr. Ferrell.· Can you answer the question?
  13·   ·for testifying today?                                        13·   · · ·A· · ·My answer was going to ask you, are you using the
  14·   · · ·A· · ·Yes, it is.                                        14·   ·definition of tester that is set forth in supplemental
  15·   · · ·Q· · ·Does the NTG firm -- excuse me.· Strike that.      15·   ·response to interrogatory no. 1?
  16·   · · · · · ·Has the NTG firm used tester plaintiffs in CLRA    16·   · · ·Q· · ·That's -- let's start with that, yes.
  17·   ·cases, Mr.· Ferrell?                                         17·   · · ·A· · ·Okay.
  18·   · · ·MR. DARNELL:· Objection, vague and ambiguous as to the   18·   · · ·Q· · ·You signed that document, right, Mr. Ferrell?
  19·   ·term tester, also exceeds the scope of this deposition       19·   · · ·A· · ·I did.
  20·   ·notice.                                                      20·   · · ·Q· · ·Okay.· So under that definition does the NTG firm
  21·   · · ·THE WITNESS:· So are you asking me that question         21·   ·use tester plaintiffs in CLRA litigation?
  22·   ·generally or are you asking me what is reflected in the      22·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  23·   ·answer to supplemental response interrogatory no. 1?         23·   · · ·THE WITNESS:· Doing my best to provide a specific
  24·   ·Because those are two entirely different questions.          24·   ·answer to a vague question, I think the answer is probably
  25·   ·///                                                          25·   ·no.


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                              EXHIBIT 9
                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·BY MR. ARHANGELSKY:                                           ·1·   ·questions you have about these 10 topics and your last
  ·2·   · · ·Q· · ·Probably no.                                        ·2·   ·question seemed specifically designed to ask for things
  ·3·   · · · · · ·Did you ever tell an NTG client that they were a    ·3·   ·outside of that.· I'm -- I'm genuinely confused.
  ·4·   ·tester using that specific word?                              ·4·   · · ·Q· · ·Are you refusing to answer the questions because
  ·5·   · · ·A· · ·I don't believe that we have used the descriptive   ·5·   ·they're not listed within the topic, Mr. Ferrell?
  ·6·   ·adjective in interacting with our clients but have used       ·6·   · · ·A· · ·Absolutely not.· I will answer to the best of my
  ·7·   ·rather the definition of the adjective as it tends to mean    ·7·   ·ability any questions that you ask me.· I'm just kind of
  ·8·   ·more to clients.                                              ·8·   ·shocked that you didn't ask me these questions when you
  ·9·   · · ·Q· · ·Prior to this case, the NIC v. NTG case which was   ·9·   ·were taking my personal deposition and that you are only
  10·   ·filed in December of 2015, isn't it true that there's no      10·   ·asking them when you're taking a deposition that is
  11·   ·competing that NTG filed with the court in which it           11·   ·limited to 10 subjects.
  12·   ·describes its plaintiff using the term tester?                12·   · · ·Q· · ·Mr. Ferrell, it's true, is it not, that in none
  13·   · · ·MR. DARNELL:· Objection, exceeds the scope.               13·   ·of the underlying cases at issue in this lawsuit, the NIC,
  14·   · · ·THE WITNESS:· I don't think that we filed any             14·   ·the NTG case, did NTG ever refer in meetings, briefs, or
  15·   ·pleadings in this case prior to the complaint being filed     15·   ·in correspondence with opposing counsel that its
  16·   ·in 2015, so I -- I'm misunderstanding something.              16·   ·plaintiffs were testers?
  17·   ·BY MR. ARHANGELSKY:                                           17·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  18·   · · ·Q· · ·Prior to 2015, had the NTG firm ever identified     18·   · · ·THE WITNESS:· Okay.· If I understand your question
  19·   ·its plaintiff clients as a tester in prior litigation?        19·   ·correctly, are you asking me whether we stated in a
  20·   · · ·MR. DARNELL:· Objection, exceeds the scope.               20·   ·pleading that a client was a tester or stated that in
  21·   · · ·THE WITNESS:· I'm sorry.· Can you remind me which         21·   ·communications to opposing counsel?
  22·   ·topic this refers to?                                         22·   · · ·MR. ARHANGELSKY:· Yes.· In any of the underlying SAC
  23·   ·BY MR. ARHANGELSKY:                                           23·   ·cases.
  24·   · · ·Q· · ·Can you answer my question?                         24·   · · ·THE WITNESS:· I have no idea.· If you show me the
  25·   · · ·A· · ·I -- I can't.· I came prepared to answer any        25·   ·documents, I'd be happy to take a look.

                                                            Page 40                                                              Page 41
  ·1·   ·BY MR. ARHANGELSKY:                                           ·1·   ·be missing something.
  ·2·   · · ·Q· · ·Sitting here today you're not aware whether NTG     ·2·   · · · · · ·Okay.· So in Nilon versus ChromaDex, yes.
  ·3·   ·ever disclosed that its clients were testers in any of the    ·3·   ·Counsel for ChromaDex knew that Mr. Nilon was a tester as
  ·4·   ·underlying SAC cases?                                         ·4·   ·we describe it above.· In Demulder versus Carter-Reed I
  ·5·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·5·   ·was not counsel in that matter, but I know that
  ·6·   · · ·THE WITNESS:· So now you're limiting this question to     ·6·   ·Carter-Reed's counsel knows that Demulder was acting as a
  ·7·   ·the eight underlying cases.                                   ·7·   ·tester there.· And in Schoonover versus Himalaya Drugs I
  ·8·   ·BY MR. ARHANGELSKY:                                           ·8·   ·know specifically that Himalaya's counsel Angel Garganta
  ·9·   · · ·Q· · ·Can you answer the question?                        ·9·   ·knew that Mr. Schoonover was acting as a tester.
  10·   · · ·A· · ·Yes.· If you're limiting it to the eight            10·   ·BY MR. ARHANGELSKY:
  11·   ·underlying cases, we have identified which of the             11·   · · ·Q· · ·Let's start there.· Nilon v. ChromaDex, when did
  12·   ·plaintiffs in those cases were testers.                       12·   ·you -- excuse me.
  13·   · · ·Q· · ·During the underlying cases themselves did you      13·   · · · · · ·In Nilon v. ChromaDex when did the NTG firm
  14·   ·ever disclose to the court or opposing parties that those     14·   ·specifically inform opposing counsel that Mr. Nilon was
  15·   ·plaintiff clients were testers?                               15·   ·acting as a tester plaintiff?
  16·   · · ·A· · ·I have no idea whether we would or how we would     16·   · · ·A· · ·It was when I spoke to Lee Jackson and one of his
  17·   ·or if we could.· But if you show me the documents, I'm        17·   ·relatives, I believe his brother-in-law who is an attorney
  18·   ·happy to go through them with you and we can try and reach    18·   ·at Gillian Wade's firm, and we discussed the underlying
  19·   ·that determination together.                                  19·   ·themes of these cases, the fact that they were referred to
  20·   · · ·Q· · ·So you don't know whether you did disclose that     20·   ·us by a individual at one of the D.A.'s offices and that
  21·   ·they were testers to courts or other opposing parties in      21·   ·it was a docket of cases that were appropriate for the use
  22·   ·those cases?                                                  22·   ·of consumer advocates to determine the underlying
  23·   · · ·MR. DARNELL:· Objection.· The question is compound and    23·   ·violations.
  24·   ·it exceeds the scope.                                         24·   · · ·Q· · ·I'm sorry.· Who is that you specifically had that
  25·   · · ·THE WITNESS:· Let me go to the next page here.· I may     25·   ·conversation with?


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   · · ·A· · ·I think it was Lee Jackson.                         ·1·   · · ·A· · ·This was a decade ago.· I -- I don't know if I
  ·2·   · · ·Q· · ·And when -- what date was that conversation,        ·2·   ·specifically referred to him by name, but, um, it's hard
  ·3·   ·Mr. Ferrell?                                                  ·3·   ·to imagine that any other conclusion would be drawn since
  ·4·   · · ·A· · ·This was, gosh, close to a decade ago.              ·4·   ·we were discussing that specific case.
  ·5·   · · ·Q· · ·You don't recall a specific date?                   ·5·   · · ·Q· · ·And was Gillian Wade representing ChromaDex at
  ·6·   · · ·A· · ·No.· I wish you had given me the indication that    ·6·   ·the time?
  ·7·   ·we would be talking about this because I could have done a    ·7·   · · ·A· · ·No.· I don't believe so.
  ·8·   ·specific inquiry into that topic.                             ·8·   · · ·Q· · ·And was her firm representing ChromaDex at the
  ·9·   · · ·Q· · ·You didn't provide any notice to ChromaDex's        ·9·   ·time?
  10·   ·counsel by -- in writing that Mr. Nilon was a tester; is      10·   · · ·A· · ·I don't believe so.
  11·   ·that right?                                                   11·   · · ·Q· · ·And you don't have any written correspondence in
  12·   · · ·A· · ·As I recall, the conversation was with              12·   ·which you convey directly to ChromeDex's counsel that
  13·   ·Lee Jackson on the phone.                                     13·   ·Mr. Nilon was a tester.· Is that fair to say?
  14·   · · ·Q· · ·And Lee Jackson was representing ChromaDex at the   14·   · · ·A· · ·I don't know whether we do or not.
  15·   ·time?                                                         15·   · · ·Q· · ·You said, testified moments ago that you were
  16·   · · ·A· · ·This was almost a decade ago and so my memory of    16·   ·referring to referrals from the D.A.'s office in relation
  17·   ·the topic is admittedly imprecise.· But, as I recall,         17·   ·to Mr. Nilon.· Is that what I understood your testimony to
  18·   ·Lee Jackson was counsel for ChromaDex.· He had a brother      18·   ·be?
  19·   ·or a brother-in-law who was an attorney at Gillian Wade's     19·   · · ·A· · ·Close.· Um, the idea for the genesis of the CIPA
  20·   ·firm.· They reached out.· He and I discussed the nature of    20·   ·cases came to us when an attorney at one of the consumer
  21·   ·the statute and the underlying circumstances which            21·   ·enforcement sections of one of the active D.A.s approached
  22·   ·included our client being a consumer advocate tester.         22·   ·me at a lecture and told me about the details of a rather
  23·   ·That was that.                                                23·   ·massive ongoing criminal violation.
  24·   · · ·Q· · ·And you were specifically referring to              24·   · · ·Q· · ·Okay.· And what was the office from which that
  25·   ·Andrew Nilon by name?                                         25·   ·attorney came to you from?

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  ·1·   · · ·A· · ·I don't remember.                                   ·1·   ·answer to that question is I don't know.
  ·2·   · · ·Q· · ·And do you remember the attorney's name that        ·2·   · · ·Q· · ·So you don't recall whether these people were
  ·3·   ·approached you regarding this?                                ·3·   ·actually there?
  ·4·   · · ·A· · ·I don't.· I remember that it was a woman.           ·4·   · · ·A· · ·Can you ask me again with some more specificity?
  ·5·   · · ·Q· · ·Do you remember the lecture that this happened      ·5·   · · ·Q· · ·So those individuals you just identified,
  ·6·   ·at?                                                           ·6·   ·Mr. Silverman and the others, you can't recall whether
  ·7·   · · ·A· · ·I don't.                                            ·7·   ·they were actually there for that conversation you might
  ·8·   · · ·Q· · ·Was anyone else present for this conversation       ·8·   ·have had?
  ·9·   ·between you and this attorney?                                ·9·   · · ·A· · ·Well, I know that all three of them were not
  10·   · · ·A· · ·Probably.                                           10·   ·there because they were separate lecturing partners.· You
  11·   · · ·Q· · ·Can you recall a single person who was present      11·   ·asked me if anyone else might have witnessed that
  12·   ·for this conversation that you had?                           12·   ·conversation and I did my best to tell you that there were
  13·   · · ·A· · ·Dan Silverman might have been there because he      13·   ·three people who were my lecturing partners who could have
  14·   ·and I were lecturing partners a lot.· Bo Phillips might       14·   ·witnessed it.· And you're now asking me if it's true that
  15·   ·have been there because he and I were lecture partners.       15·   ·I can't guarantee that they witnessed this conversation
  16·   ·Ryan McNamara might have been there.                          16·   ·and of course that's right; I can't guarantee that they
  17·   · · ·Q· · ·And did any of these people witness the             17·   ·witnessed that conversation.
  18·   ·conversation that you just had with the attorney from the     18·   · · ·Q· · ·I'm specifically asking if any of those witnesses
  19·   ·D.A.'s office?                                                19·   ·did witness the conversation, Mr. Ferrell.
  20·   · · ·A· · ·To be clear you're asking me whether three people   20·   · · ·A· · ·I don't know.· I -- I don't know.
  21·   ·who might have been with me at different lectures would       21·   · · ·MR. DARNELL:· Counsel, we've been going about an
  22·   ·have witnessed a conversation that took place 10 years        22·   ·hour and 10 minutes.· You want to take a break?
  23·   ·ago?                                                          23·   · · ·MR. ARHANGELSKY:· Yeah.· It's a good time.· Let's just
  24·   · · ·Q· · ·I'm asking you if you can answer that question.     24·   ·do five minutes.
  25·   · · ·A· · ·I can't answer that question.· Or I guess the       25·   · · ·THE VIDEOGRAPHER:· This is the end of Media File


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  ·1·   ·No. 1.· We're now going off the record.· The time is          ·1·   ·that CLE and invited me to lecture.
  ·2·   ·10:13 a.m.                                                    ·2·   · · ·Q· · ·And where was the location of that CLE?
  ·3·   · · · · · · · · · · · ·(BRIEF RECESS.)                         ·3·   · · ·A· · ·I don't remember.
  ·4·   · · ·THE VIDEOGRAPHER:· This is the beginning of Media File    ·4·   · · ·Q· · ·You don't recall the date of the CLE, right?
  ·5·   ·No. 2.· We're now going on the record.· The time is           ·5·   · · ·A· · ·Correct.
  ·6·   ·10:23 a.m.                                                    ·6·   · · ·Q· · ·You don't recall the location of the CLE, right?
  ·7·   ·BY MR. ARHANGELSKY:                                           ·7·   · · ·A· · ·Correct.
  ·8·   · · ·Q· · ·Mr. Ferrell, did you specifically inform Himalaya   ·8·   · · ·Q· · ·You don't recall the topic for presentation of
  ·9·   ·Drug's counsel that Sam Schoonover was a tester in CIPA       ·9·   ·the CLE; is that right?
  10·   ·litigation?                                                   10·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  11·   · · ·A· · ·Yes.                                                11·   · · ·THE WITNESS:· I know that my topic related to class
  12·   · · ·MR. DARNELL:· Objection, exceeds the scope.               12·   ·actions and trials in some context.
  13·   ·BY MR. ARHANGELSKY:                                           13·   ·BY MR. ARHANGELSKY:
  14·   · · ·Q· · ·And when exactly did you form Himalaya Drug's       14·   · · ·Q· · ·And what -- what year was the CLE?· Do you
  15·   ·counsel that Sam Schoonover was a tester?                     15·   ·remember that?
  16·   · · ·MR. DARNELL:· Same objection.                             16·   · · ·A· · ·I don't.
  17·   · · ·THE WITNESS:· It was when Angel and I were lecture        17·   · · ·Q· · ·Okay.· And you specifically during that CLE
  18·   ·partners at a CLE that he had invited me to lecture at.       18·   ·informed Mr. Garganta that Sam Schoonover was a tester in
  19·   ·BY MR. ARHANGELSKY:                                           19·   ·the Himalaya Drug CIPA case?
  20·   · · ·Q· · ·What's the specific date of that CLE?               20·   · · ·A· · ·I don't think that's an accurate description. I
  21·   · · ·A· · ·I don't remember.· It was quite some time ago.      21·   ·know that during the breaks Angel and I spoke about
  22·   · · ·Q· · ·What was the topic for presentation at that CLE?    22·   ·emerging issues in class actions and he was trying to
  23·   · · ·A· · ·The CLE itself was a Bridgeport seminar.· I don't   23·   ·develop a practice in -- in the defense of CIPA actions
  24·   ·know what specific topic, excuse me, that I was assigned      24·   ·and he asked me about it.· Um, we talked about the
  25·   ·to, but I know that Angel had a role in the leadership of     25·   ·plaintiff construct and the details underlying the issues

                                                            Page 48                                                              Page 49
  ·1·   ·and conveyed to him that a significant percentage of our      ·1·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·2·   ·clients in the underlying matters were public interest        ·2·   · · ·THE WITNESS:· I think you asked me that already and I
  ·3·   ·advocates which we're now talking about as testers.           ·3·   ·think that my answer was I don't know, but I'd be happy to
  ·4·   · · ·Q· · ·So you don't believe that you specifically          ·4·   ·look through the written communication with you.
  ·5·   ·referenced Sam Schoonover by name during that                 ·5·   ·BY MR. ARHANGELSKY:
  ·6·   ·conversation?                                                 ·6·   · · ·Q· · ·And it's true, is it not, that NTG never informed
  ·7·   · · ·A· · ·I don't recall.                                     ·7·   ·Himalaya Drug's counsel in writing that Sam Schoonover was
  ·8·   · · ·Q· · ·With respect to Mr. Demulder when did you           ·8·   ·a tester?
  ·9·   ·specifically inform Carter-Reed's counsel that                ·9·   · · ·MR. DARNELL:· Same objection.
  10·   ·Mr. Demulder was a tester in CIPA litigation?                 10·   · · ·THE WITNESS:· I don't know whether in addition to
  11·   · · ·A· · ·I don't recall specifically, but Carter-Reed's      11·   ·disclosing it to him in our conversation it was further
  12·   ·counsel is a good friend of mine and we have spoken many      12·   ·referenced in writing, but I'd be happy to look through
  13·   ·times, talked about being co-counsel together, um, had        13·   ·the communications and -- and review them.· Because I -- I
  14·   ·case referrals, um, and we discussed the profiles of the      14·   ·do know that there is communication where I tell
  15·   ·CIPA plaintiffs in similar context to the discussions that    15·   ·David Reid that Angel Garganta already knows a bunch of
  16·   ·I had with Mr. Garganta.                                      16·   ·stuff.
  17·   · · ·Q· · ·All right.· So did you ever specifically refer to   17·   ·BY MR. ARHANGELSKY:
  18·   ·Mr. Demulder as being a tester plaintiff in the               18·   · · ·Q· · ·You told Mr. Reid in writing that Angel Garganta
  19·   ·Carter-Reed case that Mr. Demulder had filed in your          19·   ·already knew that Sam Schoonover was a tester?
  20·   ·communications with Carter-Reed's counsel?                    20·   · · ·A· · ·No.· I told Dave Reid in writing an email that
  21·   · · ·A· · ·I don't know whether I used those exact words       21·   ·was reviewed yesterday that Angel already knew the answers
  22·   ·that you just described.                                      22·   ·to a bunch of the questions that Angel was asking him.
  23·   · · ·Q· · ·It's true, though, that the NTG firm never          23·   · · ·Q· · ·That was in reference to what phone number
  24·   ·informed ChromaDex's counsel that Andrew Nilon was a          24·   ·Mr. Schoonover had called from; is that right?
  25·   ·tester in any written correspondence.· Is that fair?          25·   · · ·A· · ·No.· I don't think that's an accurate description


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·of it.· But if you have that document handy, we can           ·1·   ·phone or by email or in person or through a referral, that
  ·2·   ·perhaps look at it and it might both refresh my memory and    ·2·   ·I would have that communication routed to the appropriate
  ·3·   ·give you a more accurate perspective of what was going on.    ·3·   ·field representative, whether it be Wynn Ferrell or
  ·4·   · · ·Q· · ·Did you ever ask Andrew Baslow to help the NTG      ·4·   ·Andrew, to do the initial intake and screening.
  ·5·   ·firm locate tester plaintiffs for litigation?                 ·5·   ·BY MR. ARHANGELSKY:
  ·6·   · · ·A· · ·You mean in -- in the eight SAC cases?              ·6·   · · ·Q· · ·So in tester cases the clients always contacted
  ·7·   · · ·Q· · ·In general.                                         ·7·   ·the NTG firm first?
  ·8·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·8·   · · ·A· · ·I do not --
  ·9·   · · ·THE WITNESS:· I don't think it's accurate to say that     ·9·   · · ·MR. DARNELL:· Objection, vague, exceeds the scope.
  10·   ·Andrew had a role in helping us find plaintiffs.· It's        10·   · · ·THE WITNESS:· I do not understand what you're asking
  11·   ·more accurate to say that Andrew had a role in screening      11·   ·me.
  12·   ·individuals who wanted to work with us and then at the end    12·   ·BY MR. ARHANGELSKY:
  13·   ·of the case convey to our clients that if they were           13·   · · ·Q· · ·I'm talking about the SAC cases.· In the SAC
  14·   ·pleased with our work to please refer us to their friends     14·   ·cases the clients were always the first party to contact
  15·   ·and family.                                                   15·   ·NTG and not vice versa?
  16·   ·BY MR. ARHANGELSKY:                                           16·   · · ·MR. DARNELL:· Objection, compound, vague.
  17·   · · ·Q· · ·So tester plaintiffs would come to Mr. Baslow?      17·   · · ·THE WITNESS:· I'm sorry.· I do not know what you're
  18·   ·Is that what would happen?                                    18·   ·asking me.
  19·   · · ·MR. DARNELL:· Objection, vague, exceeds the scope.        19·   ·BY MR. ARHANGELSKY:
  20·   · · ·THE WITNESS:· So if I understand Topic No. 4 of the       20·   · · ·Q· · ·Did the NTG firm ever solicit tester plaintiffs
  21·   ·deposition, one of the topics is how NTG obtains its          21·   ·for litigation?
  22·   ·clients.· And I think I referenced for you earlier that I     22·   · · ·MR. DARNELL:· Objection, exceeds the scope.· On which
  23·   ·tried to create a mental diagram of the process flow of       23·   ·cases, Counsel?· Which of the eight SAC cases are you
  24·   ·how clients typically came in and I think I told you that     24·   ·referring to here, which topic?
  25·   ·when a client would contact the firm, whether it was by       25·   ·///

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  ·1·   ·BY MR. ARHANGELSKY:                                           ·1·   ·BY MR. ARHANGELSKY:
  ·2·   · · ·Q· · ·In general did the NTG firm ever solicit clients    ·2·   · · ·Q· · ·Can you answer the question, Mr. Ferrell?
  ·3·   ·for tester litigation?                                        ·3·   · · ·A· · ·I think so.· I'm so confused.· Are we now talking
  ·4·   · · ·MR. DARNELL:· Objection, exceeds the scope.· Counsel,     ·4·   ·about a plenary question independent of and unrelated to
  ·5·   ·if you could direct your question to a particular topic       ·5·   ·the topics in today's deposition notice?
  ·6·   ·that's listed in your deposition notice, I think that         ·6·   · · ·Q· · ·Can you recall a single time where the NTG firm
  ·7·   ·would help streamline this deposition as well as allow you    ·7·   ·has solicited a plaintiff to serve as a tester in
  ·8·   ·to complete the deposition within the seven-hour limit        ·8·   ·litigation?
  ·9·   ·that you've been allotted.                                    ·9·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  10·   ·BY MR. ARHANGELSKY:                                           10·   · · ·THE WITNESS:· As I sit here, I cannot.
  11·   · · ·Q· · ·Can you answer the question, Mr. Ferrell?           11·   ·BY MR. ARHANGELSKY:
  12·   · · ·A· · ·I believe so.· So just to make sure I understand    12·   · · ·Q· · ·And has -- did the NTG firm solicit any of the
  13·   ·the question, you're asking whether NTG ever solicited        13·   ·plaintiffs in the SAC cases to serve as testers in
  14·   ·tester clients outside of the eight cases that you're         14·   ·litigation?
  15·   ·supposed to be asking me about at today's deposition.         15·   · · ·A· · ·I have reviewed the testimony of each of the
  16·   · · ·Q· · ·Not my question.                                    16·   ·plaintiffs in the SAC cases and I believe I have an
  17·   · · · · · ·My question is, has the NTG firm ever solicited a   17·   ·understanding as to how each of them came in through
  18·   ·client to serve as a tester in litigation?                    18·   ·client intake.
  19·   · · ·MR. DARNELL:· In any case ever, right, Counsel?           19·   · · ·Q· · ·Mr. Ferrell, this is a yes-or-no question.· In
  20·   · · ·MR. ARHANGELSKY:· That this witness can remember.         20·   ·any of the SAC cases did NTG's firm solicit the plaintiffs
  21·   · · ·MR. DARNELL:· Objection, exceeds the scope so far         21·   ·to serve as testers in litigation, yes or no?
  22·   ·beyond the scope of the topics listed in the deposition       22·   · · ·A· · ·I don't believe so.
  23·   ·notice.· Counsel, can we make constructive use of our time    23·   · · ·Q· · ·Did the Newport Trial Group have any written
  24·   ·and ask questions about the topics?                           24·   ·policies in place concerning the use of tester plaintiffs
  25·   ·///                                                           25·   ·in litigation?


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   · · ·A· · ·Yes.                                               ·1·   · · ·MR. DARNELL:· I'm just asking you to identify what
  ·2·   · · ·Q· · ·And what were those written policies?              ·2·   ·topic you're on.· That's all I'm asking you.
  ·3·   · · ·MR. DARNELL:· Objection, exceeds the scope.              ·3·   · · ·MR. ARHANGELSKY:· So you can make your objection.· Let
  ·4·   · · ·THE WITNESS:· They are set forth in the duties of a      ·4·   ·me continue my examination.
  ·5·   ·class representative document.                               ·5·   · · ·MR. DARNELL:· Counsel, are you going to identify a
  ·6·   ·BY MR. ARHANGELSKY:                                          ·6·   ·topic?· I'm just asking you, can you tell me what topic
  ·7·   · · ·Q· · ·Other than the class duties document that you      ·7·   ·you're generally proceeding under?
  ·8·   ·just referenced, did the NTG firm have any other written     ·8·   · · ·MR. ARHANGELSKY:· This is -- this is relevant to
  ·9·   ·policies concerning its use of testers in litigation?        ·9·   ·several topics, but it's relevant to the acquisition of
  10·   · · ·MR. DARNELL:· Objection, exceeds the scope.              10·   ·clients, Mr. Darnell.
  11·   · · ·THE WITNESS:· The -- the document itself is fairly       11·   · · ·MR. DARNELL:· So we're focused on SAC, the cases in
  12·   ·broad and supplemented by our engagement letters.· Other     12·   ·the SAC that were testers, right?· Because your
  13·   ·than those documents and the associated best practices       13·   ·question --
  14·   ·that we follow, I'm not aware of any.                        14·   · · ·MR. ARHANGELSKY:· I don't need to focus my questioning
  15·   ·BY MR. ARHANGELSKY:                                          15·   ·to the topics that are listed there as you argued to the
  16·   · · ·Q· · ·What best practices do you follow that             16·   ·court and the court has ruled.· So if you're going to
  17·   ·specifically pertain to use of testers in litigation?        17·   ·interrupt my deposition based on these demands, then we're
  18·   · · ·MR. DARNELL:· Objection, exceeds the scope.              18·   ·going to go to the court and we're going to seek more time
  19·   · · ·THE WITNESS:· Well, I --                                 19·   ·on this deposition --
  20·   · · ·MR. DARNELL:· Counsel, I'm sorry.· Counsel, what topic   20·   · · ·MR. DARNELL:· It's your position --
  21·   ·are we on?· Can you identify the topic, please?              21·   · · ·MR. ARHANGELSKY:· -- if you won't allow me to continue
  22·   · · ·MR. ARHANGELSKY:· You know because you argued this to    22·   ·my examination.
  23·   ·the court that I'm not limited to asking my questions        23·   · · ·MR. DARNELL:· Counsel, I'm asking you to ask questions
  24·   ·solely based on issues -- on topics and I can debate which   24·   ·that are reasonably related to the topics of examination.
  25·   ·topic it's relevant to.· So I don't have to --               25·   · · ·THE WITNESS:· In --

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  ·1·   · · ·MR. ARHANGELSKY:· You've made your objection.            ·1·   ·litigation, and then to properly season any intake case so
  ·2·   · · ·THE WITNESS:· Independent of the soliloquy that the      ·2·   ·that we ensure as the case proceeds that the client is
  ·3·   ·two of you have had, independent of whatever limits have     ·3·   ·aware of their obligations and their roles and are
  ·4·   ·been placed on this deposition as a witness and as a         ·4·   ·responsive.
  ·5·   ·30(b)(6) testimony designee, I intend to testify to the      ·5·   ·BY MR. ARHANGELSKY:
  ·6·   ·best of my recollection as to any questions you properly     ·6·   · · ·Q· · ·Okay.· Mr. Ferrell, I had asked you before what
  ·7·   ·ask me whether they are inside or outside of the proper      ·7·   ·documents NTG possesses with respect to -- concerning
  ·8·   ·scope of the deposition.· With that said, it will help       ·8·   ·policies on testers and you've identified best practices.
  ·9·   ·provide a context if you identify which topic we're          ·9·   ·And I'm asking you specifically the name, the documents
  10·   ·related to.                                                  10·   ·that you follow that you would characterize as the best
  11·   · · · · · ·I understand that you have declined to do that,    11·   ·practices documents related to use of testers in
  12·   ·so the question pending is what best practices does PTA      12·   ·litigation.
  13·   ·follow?                                                      13·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  14·   ·BY MR. ARHANGELSKY:                                          14·   · · ·THE WITNESS:· Counsel, with respect that is not the
  15·   · · ·Q· · ·With respect to the use of testers specifically    15·   ·question you asked.· If that's the question you're asking
  16·   ·in litigation.                                               16·   ·now, I'm happy to answer.
  17·   · · ·MR. DARNELL:· Objection, exceeds the scope.              17·   ·BY MR. ARHANGELSKY:
  18·   · · ·THE WITNESS:· It can generally be described as, one,     18·   · · ·Q· · ·Please answer that question.
  19·   ·doing proper client intake, two, ensuring that any           19·   · · ·A· · ·In addition to the duties of a class
  20·   ·individual who contacts us has proper motives and will be    20·   ·representative document and the engagement letters that
  21·   ·a reliable champion of the public good to ensure that the    21·   ·set forth those duties as well as the various best
  22·   ·client executes the duties of a class representative         22·   ·practice guides that are available on the internet that I
  23·   ·document which is a document that I pioneered that goes      23·   ·referenced, I'm not aware of any other written documents.
  24·   ·well above and beyond the minimum statutory duties that      24·   · · ·Q· · ·Can you name one of the best practices documents
  25·   ·might exist with respect to the pursuit of that              25·   ·that you referenced on the internet which specifically


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·relate to NTG's use of tester plaintiffs?                    ·1·   ·BY MR. ARHANGELSKY:
  ·2·   · · ·MR. DARNELL:· Objection, exceeds --                      ·2·   · · ·Q· · ·And are those documents available on-line?
  ·3·   · · ·MR. ARHANGELSKY:· I'm interested in the name of the      ·3·   · · ·A· · ·Yes.
  ·4·   ·document itself.                                             ·4·   · · ·Q· · ·Prior to 2016, did NTG keep any internal records
  ·5·   · · ·MR. DARNELL:· Objection, exceeds the scope.              ·5·   ·that identify which of its clients were testers?
  ·6·   · · ·THE WITNESS:· I don't think there are any documents on   ·6·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·7·   ·the internet that describe NTG's use of tester plaintiffs    ·7·   · · ·THE WITNESS:· Not that I know of.
  ·8·   ·as it relates to best practices.· Are you asking me which    ·8·   ·BY MR. ARHANGELSKY:
  ·9·   ·of the practice guides I consult?                            ·9·   · · ·Q· · ·Who at the NTG firm decides whether to use tester
  10·   ·BY MR. ARHANGELSKY:                                          10·   ·plaintiffs in litigation?
  11·   · · ·Q· · ·Which of the practice guides by name do you        11·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  12·   ·consult with respect to NTG's use of testers?                12·   · · ·THE WITNESS:· So just to be clear, you keep using the
  13·   · · ·MR. DARNELL:· Objection, exceeds the scope.              13·   ·phrase tester plaintiffs and I want to make sure that
  14·   · · ·THE WITNESS:· I can certainly tell you all of the ones   14·   ·every time you use that we agree that the definition of a
  15·   ·that I recall.· It would start with the publications by      15·   ·tester plaintiff is the one set forth in our discovery
  16·   ·CAALA and Public Justice as well as the notes published      16·   ·responses and not a different definition that you may
  17·   ·about consumer litigation on Law360 and various updates as   17·   ·have.· Are we agreed there?
  18·   ·it relates to the scope of approved testers, the instances   18·   ·BY MR. ARHANGELSKY:
  19·   ·in which they can be properly disclosed or should be         19·   · · ·Q· · ·Your firm's the firm that has since rejected
  20·   ·disclosed as well as publications regarding our own work     20·   ·tester and we'll use your definition of tester.· Based on
  21·   ·advancing the law in those areas.· There is also a           21·   ·your understanding of what the definition of tester is,
  22·   ·handbook entitled Best Practices In Consumer Litigation or   22·   ·I'm asking who at NTG decides to use tester plaintiffs in
  23·   ·something thereabout that I reference frequently. I          23·   ·litigation?
  24·   ·believe it was published by CAALA or a similar               24·   · · ·MR. DARNELL:· And respectfully I just object to the
  25·   ·organization.                                                25·   ·preamble and the statement made by counsel, but you can

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  ·1·   ·answer the question.                                         ·1·   ·BY MR. ARHANGELSKY:
  ·2·   · · ·THE WITNESS:· So ultimately it's my decision and my      ·2·   · · ·Q· · ·So is your response all of them?
  ·3·   ·obligation to ensure that the clients that we work with      ·3·   · · ·A· · ·My answer speaks for itself.· Do you want me to
  ·4·   ·are individuals who intend to act lawfully and ethically     ·4·   ·restate the answer?
  ·5·   ·to help eradicate unlawful practices that harm consumers     ·5·   · · ·Q· · ·I'm asking specifically which attorneys were
  ·6·   ·and the general public.                                      ·6·   ·aware that the NTG firm used testers in litigation.
  ·7·   ·BY MR. ARHANGELSKY:                                          ·7·   · · ·MR. DARNELL:· Same objections as previously noted.
  ·8·   · · ·Q· · ·And prior to 2016, which attorneys at the NTG      ·8·   · · ·THE WITNESS:· So you're asking me to guess as to the
  ·9·   ·firm were aware that the firm used tester plaintiffs in      ·9·   ·knowledge of what attorneys knew what in 2016 as it
  10·   ·litigation?                                                  10·   ·related to our obligations to act lawfully and ethically?
  11·   · · ·MR. DARNELL:· Objection, exceeds the scope.              11·   ·BY MR. ARHANGELSKY:
  12·   · · ·MR. RIDDLES:· Objection, calls for speculation.          12·   · · ·Q· · ·Can you answer the question?
  13·   · · ·THE WITNESS:· So again incorporating by reference the    13·   · · ·A· · ·Other than the answer I gave which I -- I think
  14·   ·definition of tester, I can tell you that every attorney     14·   ·was thorough, I would just be guessing.
  15·   ·and every employee of NTG knows that I expect that we and    15·   · · ·Q· · ·Okay.· And to the best of your knowledge which
  16·   ·our clients will act lawfully and ethically when we are      16·   ·attorneys by name knew prior to 2016 that the NTG firm
  17·   ·trying to eradicate unlawful practices that harm the         17·   ·used tester plaintiffs in CIPA litigation?
  18·   ·consumers and the general public.                            18·   · · ·MR. DARNELL:· Objection, exceeds the scope, calls for
  19·   · · ·MR. ARHANGELSKY:· Can the court reporter please read     19·   ·speculation.
  20·   ·back my last question to the witness.                        20·   · · ·THE WITNESS:· Certainly the ones I've already
  21·   · · · · · ·(WHEREUPON, THE RECORD WAS READ BY THE COURT       21·   ·identified, um, Lee Jackson, Jason Kerr, Angel Garganta --
  22·   · · · REPORTER AS FOLLOWS:                                    22·   ·BY MR. ARHANGELSKY:
  23·   · · · · · ·"Question:· And prior to 2016, which               23·   · · ·Q· · ·I was asking attorneys within NTG, Mr. Ferrell.
  24·   · · · attorneys at the NTG firm were aware that the firm      24·   ·I don't mean to interrupt you, but I think you might have
  25·   · · · used tester plaintiffs in litigation?")                 25·   ·misunderstood the question and I'll ask it again if it


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·would be helpful.                                             ·1·   · · ·A· · ·No.· You did just agree to it.
  ·2·   · · · · · ·Prior to 2016, which attorneys within NTG were      ·2·   · · ·MR. DARNELL:· You did, Counsel.
  ·3·   ·aware that the NTG firm used testers in CIPA litigation?      ·3·   ·BY MR. ARHANGELSKY:
  ·4·   · · ·MR. RIDDLES:· Objection, calls for speculation.           ·4·   · · ·Q· · ·Prior to 2016 -- prior to 2016, did
  ·5·   · · ·MR. DARNELL:· Objections, exceeds the scope.              ·5·   ·Victoria Knowles know that the NTG firm used tester
  ·6·   · · ·THE WITNESS:· I think I answered that.· But to the        ·6·   ·plaintiffs in CIPA litigation?
  ·7·   ·extent that my previous answer was not clear, I'm happy to    ·7·   · · ·MR. DARNELL:· Objection.· Now it's completely --
  ·8·   ·try to answer it again.                                       ·8·   · · ·MR. RIDDLES:· Objection, calls for speculation.
  ·9·   · · · · · ·So you have used the phrase tester plaintiff.       ·9·   · · ·MR. DARNELL:· That question's vague and ambiguous.
  10·   ·You and I have since agreed that we share the same            10·   ·What definition of tester are you using in that question,
  11·   ·definition of tester plaintiff and that that definition       11·   ·Counsel?
  12·   ·embraces an obligation to act lawfully and ethically when     12·   · · ·MR. ARHANGELSKY:· It's his -- he can use his
  13·   ·working to eradicate illegal and harmful practices.· And      13·   ·definition.· I'm not agreeing to his definition.· I want
  14·   ·you've asked me who knows that and I'm telling you every      14·   ·his understanding of tester.· And using his definition of
  15·   ·single person, whether an employee of the firm or not an      15·   ·tester -- let's say it that way.· Using his definition of
  16·   ·employee of the firm and whether or not an attorney,          16·   ·tester, prior to 2016, did Victoria Knowles know that the
  17·   ·should know that we take our duties and took our duties       17·   ·NTG firm used testers in CIPA litigation?
  18·   ·quite seriously prior to 2016 to make sure that we were       18·   · · ·MR. DARNELL:· Objection, exceeds the scope, calls for
  19·   ·acting lawfully and ethically in our efforts to eradicate     19·   ·speculation.
  20·   ·practices that harm consumers.                                20·   · · ·THE WITNESS:· Okay.· I'm super confused, but let's try
  21·   · · · · · ·Did that answer your question?                      21·   ·and break this down into its component parts.
  22·   ·BY MR. ARHANGELSKY:                                           22·   · · · · · ·At least for purposes of the deposition today I
  23·   · · ·Q· · ·For the record we don't -- we haven't agreed to a   23·   ·think we've agreed on the definition of tester to be an
  24·   ·definition of tester.· We're using your definition for        24·   ·individual who lawfully and ethically takes an action or
  25·   ·tester.                                                       25·   ·actions that are motivated in whole or in part by a desire

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  ·1·   ·to help identify, prove, and eradicate unlawful practices     ·1·   · · ·Q· · ·Did you ever specifically use the word tester
  ·2·   ·that harm consumers and the general public and that we've     ·2·   ·when referring to the firm's CIPA plaintiffs when
  ·3·   ·answered all discovery subject to that being the              ·3·   ·communicating with Victoria Knowles prior to 2016?
  ·4·   ·definition of the phrase tester.                              ·4·   · · ·A· · ·I don't know.
  ·5·   · · · · · ·So if you're now asking me whether                  ·5·   · · ·Q· · ·Did the NTG firm or any of its agents ever ask
  ·6·   ·Victoria Knowles knew of that in 2016, I don't know. I        ·6·   ·clients to make phone calls to corporations for wiretap
  ·7·   ·would have to look at Victoria's deposition testimony and     ·7·   ·cases?
  ·8·   ·see if that question was asked.· As I sit here, I don't       ·8·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·9·   ·know.                                                         ·9·   · · ·THE WITNESS:· So the wiretap cases are Demulder versus
  10·   · · ·MR. ARHANGELSKY:· I'll ask a different question.          10·   ·Carter-Reed, Nilon versus ChromaDex, and Schoonover versus
  11·   · · ·Q· · ·Prior to 2016, did you ever specifically inform     11·   ·Himalaya.· I have reviewed --
  12·   ·Victoria Knowles that the NTG firm used tester plaintiffs     12·   · · ·MR. ARHANGELSKY:· And Torres.
  13·   ·in CIPA litigation?                                           13·   · · ·THE WITNESS:· And Torres.
  14·   · · ·A· · ·So you keep using the phrase tester and I keep      14·   · · · · · ·I have reviewed the testimony of those witnesses
  15·   ·using the definition of tester.· And it's very important      15·   ·as well as the discovery responses and I believe that
  16·   ·to give a precise answer here because I don't want you to     16·   ·Demulder, Nilon and ChromaDex and Schoonover and Himalaya
  17·   ·at another time try to shoehorn a different definition of     17·   ·were acting as testers as we've defined it and so it would
  18·   ·tester onto my answer.                                        18·   ·be my expectation that Andrew gave them instructions prior
  19·   · · · · · ·But if we have that agreement that all of my        19·   ·to the telephone calls.· I have --
  20·   ·answers today reflect the definition of tester that I have    20·   ·BY MR. ARHANGELSKY:
  21·   ·recited, then I believe that prior to 2016 I told             21·   · · ·Q· · ·So the answer was yes to my last question?
  22·   ·Victoria Knowles and every attorney at NTG who worked on      22·   · · ·MR. DARNELL:· No.
  23·   ·the consumer docket that we had an obligation to act          23·   · · ·THE WITNESS:· No.· The answer was what I gave it and
  24·   ·lawfully and ethically in working with plaintiffs when        24·   ·you interrupted me again.· I was also going to add that
  25·   ·eradicating unlawful practices that harm consumers.           25·   ·from review of Torres' testimony, she did not identify as


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·such.                                                         ·1·   · · ·Q· · ·What does it mean to season a case at NTG?
  ·2·   · · ·MR. ARHANGELSKY:· I have placed a document in front of    ·2·   · · ·A· · ·To me it means to make sure that between the
  ·3·   ·the witness that I've marked as Exhibit 626.· This is a       ·3·   ·initial contact from a client and the filing of a case
  ·4·   ·document that has a Bates number of NTG 41928.· This is a     ·4·   ·that all of the appropriate due diligence has been done,
  ·5·   ·set of emails exchanged in May 2013.                          ·5·   ·for example, making sure that our client has signed the
  ·6·   · (Plaintiff's Exhibit 626 was marked for identification.)     ·6·   ·duties of class representative documents and understands
  ·7·   ·BY MR. ARHANGELSKY:                                           ·7·   ·them, making sure that our client has signed an engagement
  ·8·   · · ·Q· · ·Mr. Ferrell, did you review this document in        ·8·   ·letter, making sure that the individual who did the client
  ·9·   ·preparation of your deposition today?                         ·9·   ·intake is comfortable that the client intends to abide by
  10·   · · ·A· · ·I did.                                              10·   ·the obligations in the duties of a class representative
  11·   · · ·Q· · ·And in the second email on this page, you had       11·   ·document and will be a good partner in the case.· There
  12·   ·wrote an email saying, Andrew, Can you let me know at what    12·   ·are likely --
  13·   ·rate we are, quote, processing, end quote, those cases?       13·   · · ·Q· · ·And --
  14·   ·And the first sentence that I neglected to read was Per       14·   · · ·A· · ·I'm sorry.· There are likely --
  15·   ·Carla's chart today we have 32 cases in the, quote,           15·   · · ·Q· · ·Finish your answer, please.
  16·   ·seasoning stage, end quote.· Do you see that part of the      16·   · · ·A· · ·I'm sorry.· There are likely other things that
  17·   ·email?                                                        17·   ·seasoning involves, but those are the ones that are
  18·   · · ·A· · ·I do.                                               18·   ·important to me.
  19·   · · ·Q· · ·And you put the terms seasoning stage and           19·   · · ·Q· · ·And at what point does this seasoning stage end
  20·   ·processing in quotes, did you not?                            20·   ·within NTG?
  21·   · · ·A· · ·I did.                                              21·   · · ·A· · ·I think it depends on any particular case.
  22·   · · ·Q· · ·And do those terms have specific meaning within     22·   · · ·Q· · ·What does it mean to process a case as used in
  23·   ·NTG?                                                          23·   ·this email here to Mr. Baslow?
  24·   · · ·A· · ·Seasoning stage is a term of art but I believe      24·   · · ·A· · ·I don't think processing is a term of art like
  25·   ·has a specific meaning.                                       25·   ·seasoning is, but I believe that it's a question about the

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  ·1·   ·rate at which we are advancing all of the individual          ·1·   ·versus an unseasoned client?
  ·2·   ·components of the seasoning stage that I just described.      ·2·   · · ·A· · ·So it's not a seasoned client versus an
  ·3·   · · ·Q· · ·And how would somebody working for NTG season a     ·3·   ·unseasoned client.· It's a seasoned matter versus an
  ·4·   ·case for litigation as you understand that term?              ·4·   ·unseasoned matter.
  ·5·   · · ·A· · ·For example, it's a funneling process.· If 100      ·5·   · · ·Q· · ·Okay.· Would clients also need to be seasoned as
  ·6·   ·potential clients approach us, some will be rejected          ·6·   ·part of the process to bring a case through the seasoning
  ·7·   ·because they are outside of our area of expertise.· Others    ·7·   ·stage?
  ·8·   ·will be rejected because we don't believe that the case       ·8·   · · ·A· · ·Certainly part of the seasoning process as I have
  ·9·   ·has merit.· Others might be rejected because we have a        ·9·   ·coined the term of art involves making sure that we have a
  10·   ·potential conflict.· Others could be rejected because of      10·   ·reliable client and that they are returning phone calls,
  11·   ·issues unique to the case like the statute of limitations     11·   ·that the facts that they're giving us make sense, that
  12·   ·being gone.· Others could be rejected because of changes      12·   ·they understand their obligations, those sort of things.
  13·   ·in the law that are unfavorable to the person's position.     13·   ·And so I think it can fairly be said that as a case
  14·   ·Others could be rejected simply because of workload.· And     14·   ·seasons so does a representative client.
  15·   ·throughout that process we all play a role in seasoning       15·   · · ·Q· · ·And were you the individual at NTG who coined the
  16·   ·from the initial contact with our firm up until the time      16·   ·term seasoning to describe the firm's seasoning stage?
  17·   ·that a subsection of those cases are filed as complaints.     17·   · · ·A· · ·Yes.
  18·   · · ·Q· · ·(Inaudible.)                                        18·   · · ·Q· · ·And who at the NTG firm would have primary
  19·   · · ·A· · ·We lost you.                                        19·   ·responsibility for seasoning clients?
  20·   · · ·Q· · ·It should be back.· Is it back?                     20·   · · ·A· · ·I think you misunderstand what the seasoning
  21·   · · ·A· · ·Yes.                                                21·   ·process is.· We don't season clients.· Matters themselves
  22·   · · ·Q· · ·Has the NTG firm ever referred to certain clients   22·   ·season in the way that it's an intransitive verb; they
  23·   ·as being seasoned versus an unseasoned client?                23·   ·become ripe and they become ready.
  24·   · · ·A· · ·Yes.                                                24·   · · ·Q· · ·Who at the NTG firm was -- had primary
  25·   · · ·Q· · ·What is the difference between a seasoned client    25·   ·responsibility for communicating with the clients during


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·the seasoning stage?                                          ·1·   · · ·Q· · ·In the chart that's displayed in the middle of
  ·2·   · · ·A· · ·Depends on the particular client.· For example,     ·2·   ·this page, there are parentheses in the top right in the
  ·3·   ·in the NIC matter I had primary responsibility with           ·3·   ·top box and it says AB.· Would those be the initials for
  ·4·   ·Trycia Carlberg and in the other matters that we pursued      ·4·   ·Andrew Baslow?
  ·5·   ·for her.· It depends on the client intake.                    ·5·   · · ·A· · ·It's possible.
  ·6·   · · ·Q· · ·Did the NTG firm maintain spreadsheets or charts    ·6·   · · ·Q· · ·Did NTG maintain any charts here that would have
  ·7·   ·for which clients -- excuse me -- for which cases were        ·7·   ·indicated who the field rep. was for a specific case?
  ·8·   ·seasoned?                                                     ·8·   · · ·A· · ·It is possible that the initials AB are of that
  ·9·   · · ·A· · ·I believe that we maintained charts that were       ·9·   ·designation.· Beyond that I don't know.
  10·   ·plenary in nature, that were -- could fairly be described     10·   · · ·Q· · ·Did you ask Wynn Ferrell to contact Mr. Demulder
  11·   ·as a database.· One of the entries on some of those           11·   ·regarding his Carter-Reed case?
  12·   ·clients likely reflected the seasoning process.               12·   · · ·A· · ·I don't recall.
  13·   · · ·MR. ARHANGELSKY:· I've placed an exhibit in front of      13·   · · ·Q· · ·Do you know whether Wynn Ferrell ever did speak
  14·   ·the witness on screen which is Plaintiff's Exhibit 627.       14·   ·with Mr. Demulder about the Carter-Reed case?
  15·   ·And this is an email from Carla Wise to Wynn Ferrell and      15·   · · ·A· · ·I don't know.
  16·   ·Scott Ferrell in September of 2012.· The document is          16·   · · ·Q· · ·How many lawsuits did NTG plan to file against
  17·   ·Bates No. NTG 6708.                                           17·   ·Carter-Reed in 2012?
  18·   · (Plaintiff's Exhibit 627 was marked for identification.)     18·   · · ·A· · ·I didn't realize there was a second page here,
  19·   ·BY MR. ARHANGELSKY:                                           19·   ·Counsel.· Let me review that.· It may provide context.
  20·   · · ·Q· · ·Mr. Ferrell, have you ever seen this document       20·   · · · · · ·Okay.· Having reviewed the second page I don't
  21·   ·before?                                                       21·   ·know that we intended to file any lawsuits against
  22·   · · ·A· · ·I have.                                             22·   ·Carter-Reed in 2012.
  23·   · · ·Q· · ·And did NTG maintain similar charts for all of      23·   · · ·Q· · ·You're familiar with the company Basic Research
  24·   ·its plaintiffs' cases?                                        24·   ·in Utah, right?
  25·   · · ·A· · ·I don't know.                                       25·   · · ·A· · ·I am.

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  ·1·   · · ·Q· · ·And how are you familiar with Basic Research?       ·1·   · · ·THE WITNESS:· I don't know.
  ·2·   · · ·A· · ·Um, most recently we have explored collaborating    ·2·   ·BY MR. ARHANGELSKY:
  ·3·   ·together regarding a couple of products.                      ·3·   · · ·Q· · ·Who is Tyler Woods?
  ·4·   · · ·Q· · ·Are you aware that Basic Research owned             ·4·   · · ·A· · ·Tyler is a former partner of Pacific Trial
  ·5·   ·Carter-Reed in 2012?                                          ·5·   ·Attorneys.
  ·6·   · · ·A· · ·Was I aware that Basic Research owned Carter-Reed   ·6·   · · ·Q· · ·And was he working as an attorney with Newport
  ·7·   ·in 2012 or am I aware?                                        ·7·   ·Trial Group in 2013?
  ·8·   · · ·Q· · ·Are you now?                                        ·8·   · · ·A· · ·I believe so.
  ·9·   · · ·A· · ·I know that there is some affiliation between       ·9·   · · ·MR. ARHANGELSKY:· All right.· Now I've placed an
  10·   ·Basic Research and Carter-Reed.· I don't know whether it's    10·   ·exhibit in front of the witness on screen which is marked
  11·   ·a direct ownership interest or not.                           11·   ·as Exhibit 628 and it's a document Bates No. NTG 66637.
  12·   · · ·Q· · ·Has NTG sued any other companies owned or           12·   · (Plaintiff's Exhibit 628 was marked for identification.)
  13·   ·affiliated with Basic Research on behalf of any other         13·   ·BY MR. ARHANGELSKY:
  14·   ·client?                                                       14·   · · ·Q· · ·Mr. Ferrell, have you ever seen this email
  15·   · · ·MR. DARNELL:· Objection, exceeds the scope.               15·   ·before?
  16·   · · ·THE WITNESS:· I don't know as I sit here.                 16·   · · ·A· · ·I have.
  17·   ·BY MR. ARHANGELSKY:                                           17·   · · ·Q· · ·And was this an email that NTG produced to NIC in
  18·   · · ·Q· · ·Did NTG sue Novex Biotech, LLC, in 2013 on behalf   18·   ·discovery?
  19·   ·of ThermoLife International?                                  19·   · · ·A· · ·Yes.
  20·   · · ·MR. DARNELL:· Objection, exceeds the scope.               20·   · · ·Q· · ·What are the weekly charts that Mandy Jung has
  21·   · · ·THE WITNESS:· I don't know.                               21·   ·sent around in this email?
  22·   ·BY MR. ARHANGELSKY:                                           22·   · · ·A· · ·I don't know because it doesn't look like I
  23·   · · ·Q· · ·Do you know whether NTG had any role in             23·   ·received them.
  24·   ·litigation against Novex Biotech in 2013?                     24·   · · ·Q· · ·Did the NTG firm keep weekly charts of cases that
  25·   · · ·MR. DARNELL:· Same objection.                             25·   ·it was pursuing?


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   · · ·A· · ·I believe so.· Although --                          ·1·   · · ·Q· · ·Okay.· And this appears to be a chart of NTG's
  ·2·   · · ·Q· · ·Did NTG prepare --                                  ·2·   ·male enhancement cases; is that correct?
  ·3·   · · ·A· · ·I apologize.· I believe so, although I don't        ·3·   · · ·A· · ·It's labelled Male Enhancement Cases.
  ·4·   ·think they would accurately be characterized as weekly        ·4·   · · ·MR. DARNELL:· And I'll just object.· This exceeds the
  ·5·   ·charts.· I think they would accurately be characterized as    ·5·   ·scope of any topic on your notice.· But go ahead, Counsel.
  ·6·   ·charts that would be updated sometimes weekly.                ·6·   ·BY MR. ARHANGELSKY:
  ·7·   · · ·Q· · ·And did NTG maintain those charts for all of its    ·7·   · · ·Q· · ·Did NTG maintain charts like this for wiretap
  ·8·   ·cases in litigation?                                          ·8·   ·cases?
  ·9·   · · ·A· · ·I don't know.                                       ·9·   · · ·A· · ·I don't know.
  10·   · · ·Q· · ·Did NTG maintain those charts for CLRA cases?       10·   · · ·Q· · ·Were you provided with charts like this on a
  11·   · · ·A· · ·I don't know.                                       11·   ·weekly basis by Mandy Jung or Katherine Kirshner?
  12·   · · ·MR. ARHANGELSKY:· All right.· I've now placed another     12·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  13·   ·exhibit in front of the witness which is marked               13·   · · ·THE WITNESS:· I know that for some time I received
  14·   ·Exhibit 629 and it has the Bates No. NTG 66654.               14·   ·weekly charts, but I don't recall it being a chart of this
  15·   · (Plaintiff's Exhibit 629 was marked for identification.)     15·   ·nature.
  16·   ·BY MR. ARHANGELSKY:                                           16·   ·BY MR. ARHANGELSKY:
  17·   · · ·Q· · ·Mr. Ferrell, have you ever seen this document       17·   · · ·Q· · ·Did NTG maintain any types of charts with respect
  18·   ·before?                                                       18·   ·to CIPA cases?
  19·   · · ·A· · ·Not that I recall.                                  19·   · · ·MR. DARNELL:· Objection, vague.
  20·   · · ·Q· · ·Is this a document that NTG produced to NIC in      20·   · · ·THE WITNESS:· I don't know.
  21·   ·discovery?                                                    21·   ·BY MR. ARHANGELSKY:
  22·   · · ·A· · ·It appears to be, although I don't see a Bates      22·   · · ·Q· · ·Did it maintain any type of chart with similar
  23·   ·label on it.                                                  23·   ·content to Exhibit 629 for CLRA cases?
  24·   · · ·Q· · ·You know, I -- I might be able to do that.          24·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  25·   · · ·A· · ·I do see it now.· Thank you.                        25·   · · ·THE WITNESS:· I don't know.

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  ·1·   ·BY MR. ARHANGELSKY:                                           ·1·   ·someone may have done a data dump into a template that was
  ·2·   · · ·Q· · ·And did NTG have any charts like this for its ADA   ·2·   ·not well-suited for the data that was dumped into it.
  ·3·   ·cases?                                                        ·3·   ·BY MR. ARHANGELSKY:
  ·4·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·4·   · · ·Q· · ·Okay.· There's a column on this spreadsheet that
  ·5·   · · ·THE WITNESS:· I don't know.                               ·5·   ·is for the plaintiff.· Do you see that?
  ·6·   ·BY MR. ARHANGELSKY:                                           ·6·   · · ·A· · ·I do.
  ·7·   · · ·Q· · ·So you don't know whether NTG had a chart like      ·7·   · · ·Q· · ·And, in fact, underneath the NTG In-House Filed
  ·8·   ·this for any of the cases in which Andrew Nilon was           ·8·   ·Cases section towards the bottom on truDERMA, the
  ·9·   ·involved?                                                     ·9·   ·plaintiff is listed as Strataluz.· Do you see that?
  10·   · · ·MR. DARNELL:· Objection, exceeds the scope.               10·   · · ·A· · ·I do.
  11·   · · ·THE WITNESS:· I don't know.                               11·   · · ·Q· · ·At what point would NTG input the plaintiff
  12·   ·BY MR. ARHANGELSKY:                                           12·   ·information into a chart like this?
  13·   · · ·Q· · ·And you don't know whether or not there was a       13·   · · ·MR. DARNELL:· Objection, vague, assumes facts, exceeds
  14·   ·chart like this that would have contained information         14·   ·the scope.
  15·   ·about Sam Schoonover's cases?                                 15·   · · ·THE WITNESS:· It seems to me that you misunderstand
  16·   · · ·MR. DARNELL:· Objection, exceeds the scope.               16·   ·the client intake process.· We don't input a client into a
  17·   · · ·THE WITNESS:· I don't know.                               17·   ·matter, if that's what you're talking about.
  18·   ·BY MR. ARHANGELSKY:                                           18·   ·BY MR. ARHANGELSKY:
  19·   · · ·Q· · ·Looking at the chart there's a column that says     19·   · · ·Q· · ·No.· Mr. Ferrell, I'm talking about the
  20·   ·Product on the left.· Do you see that?                        20·   ·spreadsheet specifically.· At what point would the NTG
  21·   · · ·A· · ·Yes.                                                21·   ·firm update this spreadsheet to include the plaintiff's
  22·   · · ·Q· · ·Is that the product that NTG was evaluating for     22·   ·information?
  23·   ·litigation?                                                   23·   · · ·A· · ·Okay.· That's a very different question.
  24·   · · ·MR. DARNELL:· Objection, exceeds the scope.               24·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  25·   · · ·THE WITNESS:· I don't know.· It appears to me that        25·   · · ·THE WITNESS:· And the answer is I don't know.


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                               EXHIBIT 9
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  ·1·   ·BY MR. ARHANGELSKY:                                           ·1·   · · ·THE WITNESS:· My understanding is largely limited to
  ·2·   · · ·Q· · ·What was the seasoning stage in context with        ·2·   ·what this document says, but it appears that the bulk of
  ·3·   ·these male enhancement cases, Mr. Ferrell?                    ·3·   ·the cases were funneled out using the phrase I earlier
  ·4·   · · ·A· · ·Can you help me?· Is there a reference to           ·4·   ·described during the investigative process.
  ·5·   ·seasoning on this document that I should be looking at?       ·5·   · · ·MR. ARHANGELSKY:· I need to take just a quick
  ·6·   · · ·Q· · ·On the top part of the first section it says        ·6·   ·five-minute break if that's all right with everyone else.
  ·7·   ·Investigation, slash, Seasoning Stage and I'm asking, what    ·7·   ·I think we've been going for about another hour.· So is
  ·8·   ·was the seasoning stage for these cases?                      ·8·   ·that all right?
  ·9·   · · ·A· · ·I don't know.                                       ·9·   · · ·MR. DARNELL:· Sure.
  10·   · · ·Q· · ·And at what point would these male enhancement      10·   · · ·THE VIDEOGRAPHER:· This is the end of Media File
  11·   ·cases proceed from the seasoning stage to the demand          11·   ·No. 2.· We're now going off the record.· The time is
  12·   ·letter phase?                                                 12·   ·11:24 a.m.
  13·   · · ·MR. DARNELL:· Objection, exceeds the scope.               13·   · · · · · · · · · · · ·(BRIEF RECESS.)
  14·   · · ·THE WITNESS:· It looks like most of them did not.         14·   · · ·THE VIDEOGRAPHER:· This is the beginning of Media File
  15·   ·BY MR. ARHANGELSKY:                                           15·   ·No. 3.· We're now going on the record.· The time is
  16·   · · ·Q· · ·Well, my question is -- well, there are that        16·   ·11:33 a.m.
  17·   ·entered the demand letter phase.· You agree?                  17·   ·BY MR. ARHANGELSKY:
  18·   · · ·A· · ·Again I'm only looking at which this chart shows,   18·   · · ·Q· · ·Mr. Ferrell, how many lawsuits did NTG file under
  19·   ·but this chart shows four cases in the demand letter          19·   ·the California CIPA act?
  20·   ·stage.· Yes.                                                  20·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  21·   · · ·Q· · ·Okay.· And so at what point would NTG move from     21·   · · ·THE WITNESS:· I don't know.
  22·   ·the seasoning stage to the demand letter phase in context     22·   ·BY MR. ARHANGELSKY:
  23·   ·with the male enhancement cases?                              23·   · · ·Q· · ·Do you know what percentage of NTG's wiretap
  24·   · · ·MR. DARNELL:· Objection, assumes facts, exceeds the       24·   ·cases were settled by NTG with a monetary payment paid by
  25·   ·scope.                                                        25·   ·the defendant?

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  ·1·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·1·   · · ·THE WITNESS:· I don't remember.
  ·2·   · · ·THE WITNESS:· I know that every case that was settled     ·2·   ·BY MR. ARHANGELSKY:
  ·3·   ·involved the defendant changing its practices to stop         ·3·   · · ·Q· · ·Do you know what year those cases were certified?
  ·4·   ·violating the law.· I don't know what percentage also         ·4·   · · ·MR. DARNELL:· Same objection.
  ·5·   ·contained a monetary settlement.                              ·5·   · · ·THE WITNESS:· I know it was quite some time ago and I
  ·6·   ·BY MR. ARHANGELSKY:                                           ·6·   ·don't know if these were cases where we were the counsel
  ·7·   · · ·Q· · ·Did the NTG firm ever certify a wiretap case as a   ·7·   ·or where we had referred them to other counsel.
  ·8·   ·class action?                                                 ·8·   ·BY MR. ARHANGELSKY:
  ·9·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·9·   · · ·Q· · ·Do you know the names of the class
  10·   · · ·THE WITNESS:· Yes.· I believe that we or our              10·   ·representatives in those cases that were certified?
  11·   ·co-counsel certified either two or three.                     11·   · · ·MR. DARNELL:· Same objection.
  12·   ·BY MR. ARHANGELSKY:                                           12·   · · ·THE WITNESS:· As I sit here, I don't.
  13·   · · ·Q· · ·And you achieved certification in those cases?      13·   ·BY MR. ARHANGELSKY:
  14·   · · ·MR. DARNELL:· Objection, exceeds the scope.               14·   · · ·Q· · ·Do you know which courts those cases were pending
  15·   · · ·THE WITNESS:· Can you help me understand what you mean    15·   ·before?
  16·   ·by achieve certification?                                     16·   · · ·MR. DARNELL:· Same objection.
  17·   ·BY MR. ARHANGELSKY:                                           17·   · · ·THE WITNESS:· I don't know.
  18·   · · ·Q· · ·Did the court certify a class in those cases?       18·   ·BY MR. ARHANGELSKY:
  19·   · · ·MR. DARNELL:· Same objection.                             19·   · · ·Q· · ·And did the NTG firm ever resolve a wiretap case
  20·   · · ·THE WITNESS:· This was so long ago.· But, yes, I          20·   ·on a class wide basis?
  21·   ·believe that we had involvement in two or three classes       21·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  22·   ·that were certified.                                          22·   · · ·THE WITNESS:· I think so, but I don't know for sure.
  23·   ·BY MR. ARHANGELSKY:                                           23·   ·BY MR. ARHANGELSKY:
  24·   · · ·Q· · ·And which cases were the CIPA cases certified?      24·   · · ·Q· · ·And which cases do you think were resolved on a
  25·   · · ·MR. DARNELL:· Objection, exceeds the scope.               25·   ·class wide basis?


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   · · ·MR. DARNELL:· Objection, exceeds the scope.              ·1·   ·before?
  ·2·   · · ·THE WITNESS:· This was so long ago.· Without looking I   ·2·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·3·   ·don't know.                                                  ·3·   · · ·THE WITNESS:· If I have seen it before, I don't recall
  ·4·   ·BY MR. ARHANGELSKY:                                          ·4·   ·having seen it and I did not --
  ·5·   · · ·Q· · ·Did any of NTG's wiretap settlements ever result   ·5·   ·BY MR. ARHANGELSKY:
  ·6·   ·in payment of money to class members other than the class    ·6·   · · ·Q· · ·The document -- I'm sorry.
  ·7·   ·representative?                                              ·7·   · · ·A· · ·I did not review this document in preparation for
  ·8·   · · ·MR. DARNELL:· Objection, exceeds the scope.              ·8·   ·my deposition today specifically.
  ·9·   · · ·THE WITNESS:· Certainly any class settlement would       ·9·   · · ·Q· · ·Is this a chart that NTG used to track its
  10·   ·have resulted in that.                                       10·   ·wiretap cases?
  11·   ·BY MR. ARHANGELSKY:                                          11·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  12·   · · ·Q· · ·But I'm asking specifically whether you know       12·   · · ·THE WITNESS:· Looking at the document it is titled
  13·   ·sitting here now whether any of NTG's wiretap settlements    13·   ·Newport Trial Group Wiretap Cases.· Beyond that I don't
  14·   ·resulted in payment of money to class members other than     14·   ·know other than looking at the same document that you are.
  15·   ·the class representative.                                    15·   ·BY MR. ARHANGELSKY:
  16·   · · ·MR. DARNELL:· Objection, exceeds the scope.              16·   · · ·Q· · ·Okay.· At the top right of this document it
  17·   · · ·THE WITNESS:· This is so long ago.· As I sit here now,   17·   ·says -- and you may have to zoom in.· It says Rev, colon,
  18·   ·I don't know one way or the other.                           18·   ·6/8/15, dash, mkj.· What does that mean?
  19·   · · ·MR. ARHANGELSKY:· Okay.· I've placed on screen an        19·   · · ·MR. DARNELL:· Objection, exceeds the scope, also lacks
  20·   ·exhibit which is marked as Plaintiff's Exhibit 630 and it    20·   ·foundation as of yet to be established.
  21·   ·is a document with the Bates number on the first page        21·   · · ·THE WITNESS:· I believe it means review June 8th,
  22·   ·NTG 66663.                                                   22·   ·2015, and I think mkj are Mandy Jung's initials.
  23·   · (Plaintiff's Exhibit 630 was marked for identification.)    23·   ·BY MR. ARHANGELSKY:
  24·   ·BY MR. ARHANGELSKY:                                          24·   · · ·Q· · ·Isn't it true this is a spreadsheet that NTG used
  25·   · · ·Q· · ·Mr. Ferrell, have you ever seen this document      25·   ·to maintain or track its wiretap cases?

                                                            Page 84                                                             Page 85
  ·1·   · · ·MR. DARNELL:· Objection, exceeds the scope.              ·1·   ·Excuse me.
  ·2·   · · ·THE WITNESS:· As I indicated, this document is           ·2·   · · · · · ·Scrolling down on the column where it says -- the
  ·3·   ·entitled Wiretap Cases and that's what it looks like it      ·3·   ·title of the column is Defendant Phone Number and under
  ·4·   ·relates to to me, but I don't have any independent           ·4·   ·each listing there appear to be those same abbreviations
  ·5·   ·recollection of this document.                               ·5·   ·or acronyms, right, STLH?· Do you see that?
  ·6·   ·BY MR. ARHANGELSKY:                                          ·6·   · · ·A· · ·Yes.
  ·7·   · · ·Q· · ·Did NTG have any other systems for tracking its    ·7·   · · ·Q· · ·So under that first heading for credit card --
  ·8·   ·wiretap cases in litigation?                                 ·8·   ·Credit Guard of America where it says STLH, that's
  ·9·   · · ·MR. DARNELL:· Objection, assumes facts, no foundation    ·9·   ·Straight To Live Human; is that right?
  10·   ·for what counsel has described this document to be.          10·   · · ·MR. DARNELL:· Objection, lacks foundation, calls for
  11·   · · ·THE WITNESS:· I don't know.                              11·   ·speculation, exceeds the scope of any topic listed by the
  12·   ·BY MR. ARHANGELSKY:                                          12·   ·deposition notice at issue here today.
  13·   · · ·Q· · ·Do you know who created this chart?                13·   · · ·THE WITNESS:· I don't know.
  14·   · · ·A· · ·I don't.                                           14·   ·BY MR. ARHANGELSKY:
  15·   · · ·Q· · ·Do you know how often these charts were updated?   15·   · · ·Q· · ·And scrolling to page 3 of this document under --
  16·   · · ·MR. DARNELL:· Objection, assumes facts, lacks            16·   ·let's just go with -- it says Demand Letter Phase.· Do you
  17·   ·foundation, exceed the scope.                                17·   ·see that part?
  18·   · · ·THE WITNESS:· I don't.                                   18·   · · ·A· · ·I do.
  19·   ·BY MR. ARHANGELSKY:                                          19·   · · ·Q· · ·And underneath the first entry there, Bausch &
  20·   · · ·Q· · ·Looking at the top of this chart, the top left,    20·   ·Lomb, it says MB.· Is that for Minimal Bypass?
  21·   ·there appears to be a legend that says MB equals Minimal     21·   · · ·MR. DARNELL:· Objection, lacks foundation, calls for
  22·   ·Bypass, STLH equals Straight To Live Human.· Do you see      22·   ·speculation, exceeds the scope of today's deposition
  23·   ·that part of the document, Mr. Ferrell?                      23·   ·notice.
  24·   · · ·A· · ·I do.                                              24·   · · ·MR. ARHANGELSKY:· And just, you know, in response to
  25·   · · ·Q· · ·In the column under defendant -- I'm sorry.        25·   ·the objection, Mr. Darnell, are you contending that this


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·document is not related to facts and evidence concerning      ·1·   ·adequately prepared for this topic is an issue we'll have
  ·2·   ·NTG's case management systems and procedures?                 ·2·   ·to address at some other time.· But right now I just want
  ·3·   · · ·MR. DARNELL:· Have you established --                     ·3·   ·to understand your objection.
  ·4·   · · ·MR. ARHANGELSKY:· (Inaudible.)                            ·4·   · · ·MR. DARNELL:· Documents do not speak for themselves,
  ·5·   · · ·MR. DARNELL:· I'm sorry.· I missed the latter part,       ·5·   ·so I respectfully disagree with that.· And topics do not
  ·6·   ·Counsel.                                                      ·6·   ·speak for themselves.· We have questions and we have
  ·7·   · · ·MR. ARHANGELSKY:· I want to make sure I understand        ·7·   ·topics and we have interpretation of rational, reasonable
  ·8·   ·your objection.· Are you asserting that this document is      ·8·   ·language.· I believe that you have yet to lay a foundation
  ·9·   ·not relevant to NTG's case management systems and             ·9·   ·and I believe that your question exceeds the scope.· That
  10·   ·procedures?                                                   10·   ·was the basis of my objection.
  11·   · · ·MR. DARNELL:· I don't think I've heard that question      11·   · · ·THE WITNESS:· Let me weigh in here, gentlemen.· I'll
  12·   ·yet and I've not heard a foundation from this witness         12·   ·just tell you that independent of your dispute I intend to
  13·   ·establishing that this document means anything related to     13·   ·give my best testimony and testify to the best of my
  14·   ·case management systems or procedures.· And my                14·   ·recollection today regardless of whether a particular
  15·   ·understanding --                                              15·   ·document or topic is inside or outside the proper scope of
  16·   · · ·MR. ARHANGELSKY:· I just want to understand --            16·   ·the deposition.
  17·   · · ·MR. DARNELL:· My understanding of case management         17·   ·BY MR. ARHANGELSKY:
  18·   ·systems is far different from yours especially when you       18·   · · ·Q· · ·Mr. Ferrell, what does it mean when a call is
  19·   ·read the last section of Topic 6, document retention          19·   ·minimally bypassed by NTG?
  20·   ·policies, case management systems and procedures and          20·   · · ·A· · ·The way you phrased the question is an
  21·   ·document retention policies.· If you want to ask this         21·   ·impossibility.
  22·   ·witness if this document reflects a case management           22·   · · ·Q· · ·When it says minimal bypass on this chart, what
  23·   ·system, please ask that question.                             23·   ·does that mean?
  24·   · · ·MR. ARHANGELSKY:· I think the document speaks for         24·   · · ·MR. DARNELL:· Objection, lacks foundation, exceeds the
  25·   ·itself, Mr. Darnell, and I think whether your witness is      25·   ·scope.

                                                            Page 88                                                              Page 89
  ·1·   · · ·THE WITNESS:· I don't know.                               ·1·   ·adjective.
  ·2·   ·BY MR. ARHANGELSKY:                                           ·2·   · · ·Q· · ·So what is the difference between a bypass versus
  ·3·   · · ·Q· · ·And in the context of a CIPA case, what is          ·3·   ·a minimal bypass in context with CIPA cases that NTG
  ·4·   ·minimal bypass?                                               ·4·   ·pursues?
  ·5·   · · ·MR. DARNELL:· Objection, vague.                           ·5·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·6·   · · ·THE WITNESS:· I don't know.                               ·6·   · · ·THE WITNESS:· Other than my understanding of ordinary
  ·7·   ·BY MR. ARHANGELSKY:                                           ·7·   ·lexicon in which the word minimal modifies the word
  ·8·   · · ·Q· · ·What does it mean when a call is designated         ·8·   ·bypass, I don't know.· But you're also referring to a
  ·9·   ·Follow Prompts To Live Human?                                 ·9·   ·warning and I'm not seeing what you're referring to.
  10·   · · ·MR. DARNELL:· Objection, lacks foundation, exceeds the    10·   ·Excuse me.· Is there another column on here that
  11·   ·scope.                                                        11·   ·references something I should look at?· Because I am lost.
  12·   · · ·THE WITNESS:· I don't know.                               12·   ·BY MR. ARHANGELSKY:
  13·   ·BY MR. ARHANGELSKY:                                           13·   · · ·Q· · ·This is -- I will represent this was the document
  14·   · · ·Q· · ·And what is the difference between a warning that   14·   ·provided to NIC in discovery.
  15·   ·can be minimally bypassed versus a warning that is just       15·   · · ·A· · ·Okay.
  16·   ·bypassed?                                                     16·   · · ·Q· · ·And do you know what the difference here on this
  17·   · · ·MR. DARNELL:· Objection, lacks foundation, exceeds the    17·   ·chart is between a Minimal Bypass call and a Follow Prompt
  18·   ·scope.                                                        18·   ·To Live Human?
  19·   · · ·THE WITNESS:· I'm sorry.· Can you contextualize that      19·   · · ·MR. DARNELL:· Objection, lacks foundation and exceeds
  20·   ·for me?· What are you referring to about a warning?           20·   ·the scope.
  21·   ·BY MR. ARHANGELSKY:                                           21·   · · ·THE WITNESS:· I do not.
  22·   · · ·Q· · ·Does the word minimally in the -- in the phrase     22·   ·BY MR. ARHANGELSKY:
  23·   ·minimal bypass does the word minimal have any significance    23·   · · ·Q· · ·Who at NTG determines whether it's an MB, STLH,
  24·   ·to you?                                                       24·   ·or a FPLH with the phone numbers listed here in this
  25·   · · ·A· · ·Yes.· It modifies the word bypass and it's an       25·   ·chart?


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   · · ·MR. DARNELL:· Objection, lacks foundation, exceeds the    ·1·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·2·   ·scope.                                                        ·2·   · · ·THE WITNESS:· No.· That's -- that's not accurate.
  ·3·   · · ·THE WITNESS:· I think you're misunderstanding             ·3·   ·It's close.
  ·4·   ·something.· I don't think anyone at NTG made those            ·4·   ·BY MR. ARHANGELSKY:
  ·5·   ·determinations.· This appears to me to have been a -- a       ·5·   · · ·Q· · ·You specifically asked field representatives to
  ·6·   ·data dump from a website that has some kind of                ·6·   ·audit phone numbers to determine whether they were
  ·7·   ·designations on it.                                           ·7·   ·recorded or monitored; is that correct?
  ·8·   ·BY MR. ARHANGELSKY:                                           ·8·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·9·   · · ·Q· · ·So your testimony is you believe these codes FPLH   ·9·   · · ·THE WITNESS:· No.· That's not correct.· I asked Andrew
  10·   ·and whatnot -- those were not created by NTG?                 10·   ·to audit numbers, but your question implies a
  11·   · · ·MR. DARNELL:· Objection, lacks foundation, exceeds the    11·   ·misunderstanding of the statute.
  12·   ·scope.                                                        12·   ·BY MR. ARHANGELSKY:
  13·   · · ·THE WITNESS:· I would just be guessing.                   13·   · · ·Q· · ·Did Andrew Baslow call toll-free numbers for the
  14·   ·BY MR. ARHANGELSKY:                                           14·   ·purposes of identifying CIPA violations?
  15·   · · ·Q· · ·All right.· And then -- oh, in the right-hand       15·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  16·   ·column where it says Retainer Status, let's look at the       16·   · · ·THE WITNESS:· I believe he did so for the purpose of
  17·   ·first one for Credit Guard of America.· It says 6/5           17·   ·investigating but --
  18·   ·screening new rep.· What does that mean to you?               18·   ·BY MR. ARHANGELSKY:
  19·   · · ·MR. DARNELL:· Objection, lacks foundation, exceeds the    19·   · · ·Q· · ·So, yes, he did?
  20·   ·scope.                                                        20·   · · ·A· · ·No.· I -- I don't think that a person can
  21·   · · ·THE WITNESS:· I don't know as applied here.               21·   ·identify a CIPA violation in that manner.
  22·   ·BY MR. ARHANGELSKY:                                           22·   · · ·Q· · ·Did Mr. -- I'm going to ask the question again
  23·   · · ·Q· · ·Isn't it true that NTG's field reps. would make     23·   ·because I don't know if I actually had an answer to that.
  24·   ·exploratory calls known as audit calls to determine           24·   · · · · · ·Did Andrew Baslow call toll-free numbers for the
  25·   ·whether a phone line was recorded or monitored?               25·   ·purpose of investigating or identifying CIPA violation?

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  ·1·   · · ·MR. DARNELL:· The question is disjunctive.· It's          ·1·   ·BY MR. ARHANGELSKY:
  ·2·   ·impossible to answer as such and it also exceeds --           ·2·   · · ·Q· · ·And did Andrew Baslow make those investigatory
  ·3·   · · ·MR. ARHANGELSKY:· Let me rephrase it then.· Let's make    ·3·   ·calls before speaking with class representatives in those
  ·4·   ·sure we're clear on this.                                     ·4·   ·wiretap cases --
  ·5·   · · ·Q· · ·Did Andrew Baslow call toll-free numbers for the    ·5·   · · ·MR. DARNELL:· Objection --
  ·6·   ·purpose of investigating CIPA violations?                     ·6·   ·BY MR. ARHANGELSKY:
  ·7·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·7·   · · ·Q· · ·-- related to the phone numbers he called?
  ·8·   · · ·THE WITNESS:· I think the most accurate way to answer     ·8·   · · ·MR. DARNELL:· I'm sorry.· Objection, exceeds the
  ·9·   ·that is that before we would ever file a lawsuit on behalf    ·9·   ·scope, compound.
  10·   ·of a plaintiff we would try to reach a consensus or           10·   · · ·MR. RIDDLES:· Objection, calls for speculation.
  11·   ·determination about whether the information that they had     11·   · · ·THE WITNESS:· I don't think so, if I understand your
  12·   ·provided to our client was true or false.· Because the        12·   ·question correctly.· But you're asking me about sequencing
  13·   ·attorney who referred this line of cases to me, the D.A.'s    13·   ·of things that took place approximately a decade ago, so I
  14·   ·office, said that one of the reasons it was difficult for     14·   ·would need to review the documents to know for sure.
  15·   ·them to pursue them was because companies were lying about    15·   ·BY MR. ARHANGELSKY:
  16·   ·whether they were recording --                                16·   · · ·Q· · ·Would any of the information from Andrew Baslow's
  17·   · · ·MR. ARHANGELSKY:· Okay.· I'm going to move to strike      17·   ·investigatory calls wind up in the chart that I have
  18·   ·this entire response as unresponsive.· This is a narrative    18·   ·displayed here as Exhibit 630?
  19·   ·answer that is not responsive to the question,                19·   · · ·MR. DARNELL:· Objection, lacks foundation, exceeds the
  20·   ·Mr. Ferrell.· It was a --                                     20·   ·scope.
  21·   · · ·Q· · ·Let me ask this question:· Yes or no, did           21·   · · ·MR. RIDDLES:· Objection, vague.
  22·   ·Andrew Baslow call toll-free numbers for the purpose of       22·   · · ·THE WITNESS:· I don't know whether this chart has any
  23·   ·investigating CIPA violations?                                23·   ·relation to Andrew or whether it relates to investigatory
  24·   · · ·MR. DARNELL:· Objection, exceeds the scope.               24·   ·calls that he did or not.· Andrew doesn't appear to have
  25·   · · ·THE WITNESS:· I believe so.                               25·   ·any connection to this chart.


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  ·1·   ·BY MR. ARHANGELSKY:                                           ·1·   ·but you cut me off.· Would you like me to give it to you
  ·2·   · · ·Q· · ·If a warning could be bypassed by the caller,       ·2·   ·again?
  ·3·   ·would that information then be included in this chart         ·3·   ·BY MR. ARHANGELSKY:
  ·4·   ·using the MB designation for minimal bypass?                  ·4·   · · ·Q· · ·I think it's a yes-or-no answer.· Was he ever
  ·5·   · · ·MR. DARNELL:· Objection, lacks foundation, calls for      ·5·   ·instructed to determine whether or not calls recording
  ·6·   ·speculation, incomplete hypothetical.                         ·6·   ·disclosures could be bypassed, yes or no?
  ·7·   · · ·THE WITNESS:· I'm sorry.· I do not know what you're       ·7·   · · ·A· · ·As I sit here today, I don't know.
  ·8·   ·talking about.· Can you tell me about the warnings that       ·8·   · · ·Q· · ·Did Mr. Baslow receive any instruction from NTG
  ·9·   ·you keep referencing?                                         ·9·   ·on how to conduct audit calls for the wiretapping
  10·   ·BY MR. ARHANGELSKY:                                           10·   ·investigations?
  11·   · · ·Q· · ·Was Mr. Baslow's job in any part to help identify   11·   · · ·A· · ·Yes.
  12·   ·whether call warnings on toll-free numbers -- excuse me.      12·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  13·   ·Strike that.                                                  13·   ·BY MR. ARHANGELSKY:
  14·   · · · · · ·Was Mr. Baslow ever instructed by NTG to            14·   · · ·Q· · ·And who gave him those instructions?
  15·   ·determine whether he could bypass a disclosure on a           15·   · · ·A· · ·I did.
  16·   ·toll-free number indicating that a call was recorded?         16·   · · ·MR. DARNELL:· Same objection.
  17·   · · ·MR. DARNELL:· Objection, exceeds the scope.               17·   ·BY MR. ARHANGELSKY:
  18·   · · ·THE WITNESS:· I have no idea what you're talking          18·   · · ·Q· · ·And what was Mr. Baslow's instruction with
  19·   ·about.                                                        19·   ·respect to his investigation for audit calls?
  20·   ·BY MR. ARHANGELSKY:                                           20·   · · ·MR. DARNELL:· Objection.· There's no topic that
  21·   · · ·Q· · ·Was Mr. Baslow ever asked by NTG to determine       21·   ·relates to any investigation.· In fact, that topic was
  22·   ·whether or not a recording disclosure could be bypassed on    22·   ·expressly struck down by the special master.· This
  23·   ·a toll-free number?                                           23·   ·question and this line of question far exceeds the scope.
  24·   · · ·MR. DARNELL:· Objection, exceeds the scope, vague.        24·   · · ·MR. ARHANGELSKY:· You can make your objection it's
  25·   · · ·THE WITNESS:· I tried to give you this answer before,     25·   ·outside the scope, otherwise, you're impeding the

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  ·1·   ·deposition.                                                   ·1·   ·as likely to be false as it is to be true.· Some companies
  ·2·   · · ·MR. DARNELL:· I am not impeding the deposition. I         ·2·   ·would claim that they only recorded calls at certain times
  ·3·   ·have not instructed the witness not to answer.· I am          ·3·   ·of the day.· Some companies would claim that they only
  ·4·   ·asserting objections for the record and I am being            ·4·   ·recorded calls when they were being disclosed.
  ·5·   ·specific as required under the federal rules of civil         ·5·   · · · · · ·And the D.A. who referred it to me told me that
  ·6·   ·procedure.· Please proceed.                                   ·6·   ·they ultimately decided not to pursue those cases because
  ·7·   · · ·MR. ARHANGELSKY:· We have your objection taken.           ·7·   ·of the difficulty in trying to get to the bottom of when
  ·8·   ·Please allow the witness to answer the questions,             ·8·   ·the violations were taking place.
  ·9·   ·Mr. Darnell.                                                  ·9·   · · ·MR. ARHANGELSKY:· Mr. Ferrell, this is a narrative
  10·   · · ·THE WITNESS:· If you guys are done, I'll give you my      10·   ·answer that is in no way responsive to the question that
  11·   ·best answer.                                                  11·   ·was posed.· We're going move to strike this answer yet
  12·   · · · · · ·When I started investigating this line of cases,    12·   ·again.· I'm going to ask the question that I asked.
  13·   ·I sat down with Andrew and I explained to him what the        13·   · · ·Q· · ·What instructions did you give Mr. Baslow with
  14·   ·attorney from the D.A.'s office had told me which was that    14·   ·respect to his audit calls made to toll-free companies?
  15·   ·there was a massive ongoing criminal violation of certain     15·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  16·   ·companies recording consumer telephone calls illegally to     16·   · · ·THE WITNESS:· Counsel, I was just telling you those
  17·   ·gather information from the customers, to data harvest,       17·   ·instructions, that I sat --
  18·   ·and to obtain biometric information about them and that       18·   · · ·MR. ARHANGELSKY:· You were not.
  19·   ·California law was intended to prevent them from doing it     19·   · · ·MR. DARNELL:· Okay.
  20·   ·but that those companies who were knowingly violating the     20·   ·BY MR. ARHANGELSKY:
  21·   ·law would never give a straight answer about whether they     21·   · · ·Q· · ·Please tell me what the instructions were that
  22·   ·were doing it.                                                22·   ·you gave Mr. Baslow.
  23·   · · · · · ·For example, if you call and ask a company's        23·   · · ·A· · ·Counsel, I'm going to ask you again to not
  24·   ·customer service representative if the call is being          24·   ·interrupt me.· I've been treating you with the respect
  25·   ·recorded, that customer service representative's answer is    25·   ·that these proceedings deserve and not interrupting your


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·questions.· And I understand that the truthful answers        ·1·   · · ·A· · ·Okay.· I see this exhibit.
  ·2·   ·that I give you are counter to the false narrative that       ·2·   · · ·Q· · ·And here I'd say about -- in the bottom third of
  ·3·   ·your client's been propagating, but I'm entitled to give      ·3·   ·the page, there's an email from David Reid to you on
  ·4·   ·the best answers to your questions.                           ·4·   ·May 7, 2015, in which Mr. Reid asks Should we also have
  ·5·   · · ·Q· · ·Mr. Ferrell, we have a limited amount of time in    ·5·   ·Baz screen these companies' 800 numbers for WT violations,
  ·6·   ·this deposition today which we obviously will probably be     ·6·   ·smiley face.· Do you see that?
  ·7·   ·moving to extend given your conduct here today.· I would      ·7·   · · ·A· · ·I do.
  ·8·   ·like straight answers to the questions and not narrative      ·8·   · · ·Q· · ·And then your response on May 7th higher on this
  ·9·   ·responses on irrelevant content.                              ·9·   ·page is LOL, yes, comma, yes, comma, and yes.· Great
  10·   · · · · · ·I'll ask the question again and I expect an         10·   ·minds.· Do you see that?
  11·   ·answer, please.· Thank you.                                   11·   · · ·A· · ·Are you intentionally skipping over the
  12·   · · · · · ·What instructions did you provide to Mr. Baslow     12·   ·interaction in-between that?
  13·   ·concerning his audit calls to toll-free numbers?              13·   · · ·Q· · ·I was, but if it's relevant, I mean, please
  14·   · · ·MR. DARNELL:· Objection, exceeds the scope.               14·   ·review that, too.
  15·   · · ·THE WITNESS:· In addition to the other things I just      15·   · · ·A· · ·Okay.
  16·   ·related to you, I told Andrew, as I always do, that we        16·   · · ·Q· · ·And I think just for the record, and you can
  17·   ·should act in accordance with the duties that we've set       17·   ·correct me if I'm wrong, the intervening email was also
  18·   ·forth which are to act ethically and honestly at all times    18·   ·from David Reid to you and he wrote For that matter any of
  19·   ·when trying to eradicate fraud on consumers.                  19·   ·them that maintain physical locations or sales we should
  20·   · · ·MR. ARHANGELSKY:· I've placed another exhibit in front    20·   ·run through the WAVE analysis.· Did I read that correctly?
  21·   ·of the witness which I've marked as Exhibit 631.· This        21·   · · ·A· · ·Yes.
  22·   ·document has a Bates number of NTG 67124.                     22·   · · ·Q· · ·And then your response -- LOL yes, yes, and yes.
  23·   · (Plaintiff's Exhibit 631 was marked for identification.)     23·   ·Great minds was in response to those emails, correct?
  24·   ·BY MR. ARHANGELSKY:                                           24·   · · ·A· · ·I know that it came subsequent to these emails.
  25·   · · ·Q· · ·Mr. Ferrell, do you see that exhibit?               25·   ·I don't know whether it was in response to one or both as

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  ·1·   ·I sit here.                                                   ·1·   ·investigate potentially three lawsuits against these
  ·2·   · · ·Q· · ·Where Mr. Reid wrote that we should have Baz        ·2·   ·companies?
  ·3·   ·screen for WT violations, did you understand that to mean     ·3·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·4·   ·wiretap violations?                                           ·4·   · · ·THE WITNESS:· I'm sorry.· What three lawsuits are you
  ·5·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·5·   ·suggesting exist here?
  ·6·   · · ·THE WITNESS:· I don't know what I understood this         ·6·   ·BY MR. ARHANGELSKY:
  ·7·   ·email to mean six years ago.                                  ·7·   · · ·Q· · ·I'm asking what you meant when you said Yes, yes,
  ·8·   ·BY MR. ARHANGELSKY:                                           ·8·   ·and yes.· Maybe you could explain what that means.
  ·9·   · · ·Q· · ·So his phrase, screen these companies'              ·9·   · · ·MR. DARNELL:· Objection, asked and answered, exceeds
  10·   ·800 numbers for WT violations, you did not interpret that     10·   ·the scope.
  11·   ·to mean wiretap violations?                                   11·   · · ·THE WITNESS:· I -- other than noting that I said LOL,
  12·   · · ·MR. DARNELL:· Objection, exceeds the scope.               12·   ·laughing at loud, yes, yes, and yes, I don't know for
  13·   · · ·THE WITNESS:· What I said is I don't know how I           13·   ·sure.· But it appears to be my use of the euphemism, yes,
  14·   ·interpret this email from six years ago.                      14·   ·yes, and yes as being very enthusiastic because I don't
  15·   ·BY MR. ARHANGELSKY:                                           15·   ·see a reference to any three lawsuits to answer your
  16·   · · ·Q· · ·And when Mr. Reid wrote We should run through the   16·   ·question.
  17·   ·WAVE analysis, the WAVE analysis is something NTG uses in     17·   ·BY MR. ARHANGELSKY:
  18·   ·context with ADA cases; is that right?                        18·   · · ·Q· · ·Okay.· On page 2 you wrote to Katherine Kirshner
  19·   · · ·MR. DARNELL:· Objection, exceeds the scope.               19·   ·and you talked in the third paragraph -- excuse me.· On
  20·   · · ·THE WITNESS:· Yes.· The WAVE analysis is a tool that      20·   ·the first paragraph you're talking with Ms. Kirshner about
  21·   ·relates to the accessibility of on-line websites and          21·   ·charts that track the status of cellulite lawsuits.· You
  22·   ·related items.                                                22·   ·wrote Similar to how the charts track the status of our
  23·   ·BY MR. ARHANGELSKY:                                           23·   ·ADA and wiretap lawsuits.· Do you see that?
  24·   · · ·Q· · ·And when you wrote back Yes, yes, and yes, were     24·   · · ·A· · ·Okay.· I do see that.
  25·   ·you agreeing with Mr. Reid that the NTG firm should           25·   · · ·Q· · ·So you knew at least in May of 2015 that the NTG


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·firm had charts that track the status of ADA and wiretap     ·1·   ·clients --
  ·2·   ·lawsuits.· Is that fair?                                     ·2·   · · ·MR. DARNELL:· Objection --
  ·3·   · · ·A· · ·That appears to be the case.                       ·3·   ·BY MR. ARHANGELSKY:
  ·4·   · · ·Q· · ·How often did Baslow work on wiretap cases for     ·4·   · · ·Q· · ·-- with respect to certain companies?
  ·5·   ·the firm?                                                    ·5·   · · ·MR. DARNELL:· I'm sorry.· I thought you paused and
  ·6·   · · ·MR. DARNELL:· Objection, exceeds the scope.              ·6·   ·were done, Peter.
  ·7·   · · ·THE WITNESS:· I think it depended on --                  ·7·   · · · · · ·Objection, exceeds the scope.
  ·8·   · · ·MR. ARHANGELSKY:· Yeah.· Let me clarify, if you would,   ·8·   · · ·THE WITNESS:· Certainly before pursuing or evaluating
  ·9·   ·and I apologize for interrupting.                            ·9·   ·any line of cases we would investigate to determine
  10·   · · ·Q· · ·How often would Andrew Baslow work on wiretap      10·   ·whether there were violations of the law going on and I
  11·   ·cases for the NTG firm between the years of 2012 and 2015?   11·   ·think I tried to tell you that when I was telling you
  12·   · · ·MR. DARNELL:· Same objection.                            12·   ·about the conversation I had with Andrew after learning
  13·   · · ·THE WITNESS:· I think it depends on workload and what    13·   ·about these violations by the D.A.
  14·   ·matters our cases brought us -- matters our clients          14·   ·BY MR. ARHANGELSKY:
  15·   ·brought us.                                                  15·   · · ·Q· · ·And it's true, is it not, that Mr. Baslow would
  16·   ·BY MR. ARHANGELSKY:                                          16·   ·make those calls before NTG had a client retained to
  17·   · · ·Q· · ·So with respect to the wiretapping cases, would    17·   ·pursue litigation with respect to the toll-free numbers
  18·   ·Mr. Baslow ever investigate a potential CIPA violation       18·   ·Baslow called?
  19·   ·before the law firm had a client?                            19·   · · ·A· · ·No.· I don't think that's true.· I think you're
  20·   · · ·MR. DARNELL:· Objection, exceeds the scope.              20·   ·wrong.
  21·   · · ·THE WITNESS:· I'm sorry.· Which case are you talking     21·   · · ·MR. DARNELL:· And I'll object that question exceeds
  22·   ·about?                                                       22·   ·the scope.
  23·   ·BY MR. ARHANGELSKY:                                          23·   ·BY MR. ARHANGELSKY:
  24·   · · ·Q· · ·In CIPA cases generally did Mr. Baslow ever        24·   · · ·Q· · ·Did Mr. Baslow call the Himalaya Drug Company to
  25·   ·investigate potential CIPA violations before NTG had         25·   ·investigate a potential CIPA violation before NTG had a

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  ·1·   ·client retained to sue Himalaya?                             ·1·   ·diligence before proceeding with a case?· I think it's
  ·2·   · · ·MR. DARNELL:· Objection, exceeds the scope.              ·2·   ·mandatory -- please don't interrupt me.
  ·3·   · · ·THE WITNESS:· I don't think I understand your            ·3·   ·BY MR. ARHANGELSKY:
  ·4·   ·question.· But can you show me the documents that you're     ·4·   · · ·Q· · ·Well, I --
  ·5·   ·referring to that would enable me to see the process flow    ·5·   · · ·A· · ·Please do not interrupt me.
  ·6·   ·here?                                                        ·6·   · · ·Q· · ·The question's not -- the answer's not
  ·7·   ·BY MR. ARHANGELSKY:                                          ·7·   ·responsive.· It's a yes-or-no question.
  ·8·   · · ·Q· · ·I'm just asking you a question.· Did Mr. Baslow    ·8·   · · ·A· · ·Obviously it would not be improper to research
  ·9·   ·contact Himalaya Drug Company to audit for CIPA violation    ·9·   ·cases to determine whether they had a viable basis before
  10·   ·before NTG had a client retained in relation to the          10·   ·proceeding with them.· If I'm missing something, please
  11·   ·Himalaya case?                                               11·   ·help me.
  12·   · · ·MR. DARNELL:· Objection --                               12·   · · ·Q· · ·Did you perform that research -- did you perform
  13·   ·BY MR. ARHANGELSKY:                                          13·   ·that research prior to having a client retained for
  14·   · · ·Q· · ·It's a yes-or-no question.                         14·   ·litigation?
  15·   · · ·MR. DARNELL:· Objection, exceeds the scope.              15·   · · ·MR. DARNELL:· Objection, vague as phrased, exceeds the
  16·   · · ·THE WITNESS:· Not that I know of.· But to clarify, I     16·   ·scope.
  17·   ·believe there are documents that exist from which the        17·   ·BY MR. ARHANGELSKY:
  18·   ·answer to that could be discerned.                           18·   · · ·Q· · ·With respect to the Himalaya Drug case did you
  19·   ·BY MR. ARHANGELSKY:                                          19·   ·perform that research prior to having a client retained
  20·   · · ·Q· · ·Would it have been improper for Mr. Baslow to      20·   ·for litigation?
  21·   ·call to investigate the Himalaya Drug Company for a CIPA     21·   · · ·MR. DARNELL:· Objection, vague as phrased, exceeds the
  22·   ·violation before NTG had a client?                           22·   ·scope.
  23·   · · ·MR. DARNELL:· Objection, incomplete hypothetical,        23·   · · ·THE WITNESS:· Are you referring to my research?
  24·   ·exceeds the scope.                                           24·   ·BY MR. ARHANGELSKY:
  25·   · · ·THE WITNESS:· How could that be improper to do due       25·   · · ·Q· · ·NTG.· Did NTG perform an investigatory audit call


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·of Himalaya prior to having a client retained for            ·1·   · · · · · ·"MR. DARNELL:· Objection, vague as phrased,
  ·2·   ·litigation?                                                  ·2·   · · · exceeds the scope.
  ·3·   · · ·MR. DARNELL:· Objection, exceeds the scope.· This        ·3·   · · · · · ·"THE WITNESS:· Are you referring to my
  ·4·   ·topic has been expressly struck by the special master.       ·4·   · · · research?
  ·5·   · · ·THE WITNESS:· Okay.· So that's an entirely different     ·5·   · · · · · ·"BY MR. ARHANGELSKY:
  ·6·   ·question than you just asked me.· Did you withdraw the       ·6·   · · · · · ·"Question:· NTG.· Did NTG perform an
  ·7·   ·prior question or do you want an answer to this question?    ·7·   · · · investigatory audit call of Himalaya prior to
  ·8·   · · ·MR. ARHANGELSKY:· Why don't you answer the question I    ·8·   · · · having a client retained for litigation?")
  ·9·   ·just asked, please, Mr. Ferrell.                             ·9·   · · ·THE WITNESS:· So it looks like I tried to answer the
  10·   · · ·THE WITNESS:· Okay.· I think you're asking whether I     10·   ·first question.· The second question --
  11·   ·undertook any investigation prior to pursuing the CIPA       11·   ·BY MR. ARHANGELSKY:
  12·   ·cases including the Himalaya wire case.· And the answer is   12·   · · ·Q· · ·Please answer the last question that was posed to
  13·   ·obviously yes.                                               13·   ·you.· Yes or no?
  14·   · · ·MR. ARHANGELSKY:· No.· That's not the question,          14·   · · ·A· · ·I would have to look at the documents to know for
  15·   ·Mr. Ferrell.                                                 15·   ·sure.
  16·   · · · · · ·Can the reporter please read back the last         16·   · · ·Q· · ·Sitting here right now you don't know whether NTG
  17·   ·question I posed to the witness?                             17·   ·or Mr. Baslow contacted Himalaya before it had a client
  18·   · · ·THE WITNESS:· Madam Court Reporter, could you            18·   ·involved with the Himalaya Drug case?
  19·   ·contextualize it?· Can you read the last two questions?      19·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  20·   ·Because I may conflating them.                               20·   · · ·THE WITNESS:· I know we did not send a demand letter
  21·   · · · · · ·(WHEREUPON, THE RECORD WAS READ BY THE COURT       21·   ·to Himalaya until we had a client.· Is that what you're
  22·   · · · REPORTER AS FOLLOWS:                                    22·   ·asking?
  23·   · · · · · ·"Question:· With respect to the Himalaya Drug      23·   · · ·MR. ARHANGELSKY:· That was not the question.
  24·   · · · case did you perform that research prior to having      24·   · · ·THE WITNESS:· Okay.· If you could --
  25·   · · · a client retained for litigation?                       25·   · · ·MR. ARHANGELSKY:· Please read back the last question,

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  ·1·   ·Madam Reporter.                                              ·1·   ·document, exceeds the scope.
  ·2·   · · · · · ·(WHEREUPON, THE RECORD WAS READ BY THE COURT       ·2·   · · ·THE WITNESS:· Certainly Andrew Baslow's initials are
  ·3·   · · · REPORTER AS FOLLOWS:                                    ·3·   ·AB.
  ·4·   · · · · · ·"Question:· NTG.· Did NTG perform an               ·4·   ·BY MR. ARHANGELSKY:
  ·5·   · · · investigatory audit call of Himalaya prior to           ·5·   · · ·Q· · ·But you don't know whether or not in this
  ·6·   · · · having a client retained for litigation?")              ·6·   ·document AB confirmed to pursue references Andrew Baslow's
  ·7·   · · ·THE WITNESS:· I don't know.· But if you show me the      ·7·   ·investigation of wiretap cases?
  ·8·   ·date of our client's engagement letter and the client's      ·8·   · · ·MR. DARNELL:· Same objection.
  ·9·   ·summary, I can probably help you reach that answer.          ·9·   · · ·THE WITNESS:· I don't.· This appears to be wiretapping
  10·   ·BY MR. ARHANGELSKY:                                          10·   ·cases either referred to or referred by another firm.
  11·   · · ·Q· · ·Okay.· I am directing you back to the exhibit      11·   ·BY MR. ARHANGELSKY:
  12·   ·that is marked as Plaintiff's Exhibit 630 which again has    12·   · · ·Q· · ·Did Andrew Baslow perform work in relation to
  13·   ·Bates No. NTG 66663 and I'm specifically directing you to    13·   ·Home Shopping Network wiretapping case?
  14·   ·page 5 of this exhibit which has Bates number at the         14·   · · ·MR. DARNELL:· Objection, exceeds the scope, lacks
  15·   ·bottom NTG 66667 and the top -- the heading at the top is    15·   ·foundation.
  16·   ·Wiretap Cases-Scott Shepherd.· Do you see that,              16·   · · ·THE WITNESS:· As I sit here, I don't know.
  17·   ·Mr. Ferrell?                                                 17·   ·BY MR. ARHANGELSKY:
  18·   · · ·A· · ·I do.                                              18·   · · ·Q· · ·Do you know what factors would go into the
  19·   · · ·Q· · ·And under the first heading and -- sorry.          19·   ·determination as to whether Mr. Baslow confirmed a
  20·   · · · · · ·The first entry for Home Shopping Network in the   20·   ·wiretapping case to pursue?
  21·   ·right most column for retainer status, it says AB            21·   · · ·MR. DARNELL:· Objection, vague, incomplete
  22·   ·confirmed to pursue.· Do you see that?                       22·   ·hypothetical, lacks foundation to the question that is
  23·   · · ·A· · ·I do.                                              23·   ·being asked, and exceeds the scope.
  24·   · · ·Q· · ·Is AB the initials for Andrew Baslow?              24·   · · ·THE WITNESS:· Your question betrays a misunderstanding
  25·   · · ·MR. DARNELL:· Objection, lacks foundation for this       25·   ·of quite a few things.· But Andrew Baslow is not the one


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  ·1·   ·who makes a determination about whether we pursue a           ·1·   ·merit, and that Kirtland & Packard was a trusted
  ·2·   ·particular case or not.                                       ·2·   ·litigation partner who had asked for referrals.
  ·3·   ·BY MR. ARHANGELSKY:                                           ·3·   · · ·Q· · ·And you mentioned there had been a determination
  ·4·   · · ·Q· · ·Where it says AB confirmed to pursue, what does     ·4·   ·that the company was in violation of law.· When did that
  ·5·   ·that mean to you in this context in wiretapping cases?        ·5·   ·determination occur in the Demulder case?
  ·6·   · · ·MR. DARNELL:· Objection, lacks foundation as to this      ·6·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·7·   ·document, exceeds the scope.                                  ·7·   · · ·THE WITNESS:· I'm not sure.· Can you show me what
  ·8·   · · ·THE WITNESS:· This looks like a collection of cases       ·8·   ·document you're referring to?
  ·9·   ·that were referred to us or from us from Scott Shepherd       ·9·   ·BY MR. ARHANGELSKY:
  10·   ·and I don't --                                                10·   · · ·Q· · ·I'm just asking you whether you know.
  11·   ·BY MR. ARHANGELSKY:                                           11·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  12·   · · ·Q· · ·Were these --                                       12·   · · ·THE WITNESS:· As I sit here, I believe it's undisputed
  13·   · · ·A· · ·I'm sorry.· Go ahead.                               13·   ·that the defendant in that case was violating the law. I
  14·   · · ·Q· · ·Under what circumstances would the NTG firm refer   14·   ·believe they've admitted that.
  15·   ·out a wiretap case to another attorney or firm as opposed     15·   ·BY MR. ARHANGELSKY:
  16·   ·to handling that in-house?                                    16·   · · ·Q· · ·But my question was when did NTG determine that?
  17·   · · ·A· · ·Depends on a variety of factors.                    17·   · · ·A· · ·Conclusively?· Possibly after they admitted it.
  18·   · · ·Q· · ·Well, let's talk specifically about the Demulder    18·   · · ·Q· · ·I didn't ask conclusively.· When did NTG first
  19·   ·case.· NTG referred that case out, did it not?                19·   ·determine that Carter-Reed -- I'll ask a different
  20·   · · ·A· · ·I believe we referred that case to Kirtland &       20·   ·question, so strike the last question.
  21·   ·Packard.                                                      21·   · · · · · ·When did NTG first determine that Carter-Reed may
  22·   · · ·Q· · ·And what was the reason for NTG referring that      22·   ·be violating the CIPA statute?
  23·   ·case to Kirtland & Packard?                                   23·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  24·   · · ·A· · ·It would have been an initial determination that    24·   · · ·THE WITNESS:· I don't know.· I would have to look at
  25·   ·the company was in violation of the law, that the case had    25·   ·the documents that would reflect the process flow.

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  ·1·   ·BY MR. ARHANGELSKY:                                           ·1·   · · ·A· · ·I know that we had a master referral agreement
  ·2·   · · ·Q· · ·And who at NTG would have been responsible --       ·2·   ·with Scott Shepherd and, as I sit here, I don't know
  ·3·   ·strike that.                                                  ·3·   ·whether that involved CIPA cases or not.
  ·4·   · · · · · ·Who at NTG was responsible for determining          ·4·   · · ·Q· · ·At the top of this document that's on screen
  ·5·   ·whether Carter-Reed violated the CIPA statute?                ·5·   ·marked as Exhibit 630 and on page 5 of that exhibit which
  ·6·   · · ·A· · ·I was.                                              ·6·   ·I believe you should be looking at, there are -- there's a
  ·7·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·7·   ·line that says Referral Terms.· Do you see that?
  ·8·   ·BY MR. ARHANGELSKY:                                           ·8·   · · ·A· · ·I do.
  ·9·   · · ·Q· · ·Did Mr. Baslow have any role in that                ·9·   · · ·Q· · ·And it says Prefiling:· 20 percent NTG, slash,
  10·   ·investigation?                                                10·   ·80 percent SFMS.· What does SFMS stand for?
  11·   · · ·A· · ·So are you referencing our investigation of         11·   · · ·MR. DARNELL:· Objection, lacks foundation, exceeds the
  12·   ·whether they were violating the law or my determination       12·   ·scope.
  13·   ·that they were violating the law?                             13·   · · ·THE WITNESS:· Well, SF are my initials.· I don't know
  14·   · · ·Q· · ·Let's talk about the investigation.· Did            14·   ·what MS means, but that entry appears not to make sense
  15·   ·Mr. Baslow have any role in the investigation?                15·   ·because there would be no referral relationship between me
  16·   · · ·A· · ·As I sit here, I don't know.                        16·   ·and NTG.
  17·   · · ·MR. DARNELL:· Objection.· That last question also         17·   ·BY MR. ARHANGELSKY:
  18·   ·exceeded the scope.                                           18·   · · ·Q· · ·Right.· Could that acronym refer to a law firm
  19·   ·BY MR. ARHANGELSKY:                                           19·   ·that Scott Shepherd was part of?
  20·   · · ·Q· · ·Who is Scott Shepherd?                              20·   · · ·A· · ·I don't know.
  21·   · · ·A· · ·Scott is one of the most prominent and              21·   · · ·Q· · ·Did the NTG firm have similar referral
  22·   ·well-respected consumer class action attorneys in the         22·   ·arrangements with other law firms in wiretapping cases?
  23·   ·United States.                                                23·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  24·   · · ·Q· · ·Did NTG have a referral arrangement with            24·   · · ·THE WITNESS:· I know they had a similar referral --
  25·   ·Mr. Shepherd concerning CIPA cases?                           25·   ·master referral agreements.· I don't know which cases or


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·which lines of cases they related to.                         ·1·   ·half an hour, but I want to be mindful of everyone else's
  ·2·   ·BY MR. ARHANGELSKY:                                           ·2·   ·circumstances, as well.
  ·3·   · · ·Q· · ·You've referred clients -- I believe you            ·3·   · · · · · ·The court reporter says she's good.
  ·4·   ·testified that you've referred clients to Kirtland &          ·4·   · · ·MR. ARHANGELSKY:· Let's go until your lunch arrives.
  ·5·   ·Packard in the CIPA context.                                  ·5·   · · · · · ·Now I've placed a document on screen for the
  ·6·   · · ·A· · ·Yes.                                                ·6·   ·witness which we've marked as Exhibit 632.
  ·7·   · · ·Q· · ·Do you know how many cases NTG referred to          ·7·   · (Plaintiff's Exhibit 632 was marked for identification.)
  ·8·   ·Kirtland & Packard in the CIPA context?                       ·8·   ·BY MR. ARHANGELSKY:
  ·9·   · · ·A· · ·I don't recall.                                     ·9·   · · ·Q· · ·Mr. Ferrell, do you recognize this document?
  10·   · · ·Q· · ·Did the NTG firm have referral arrangements with    10·   · · ·A· · ·I'm reviewing it right now.
  11·   ·other firms for CLRA cases?                                   11·   · · · · · ·Okay.· I've reviewed this document.
  12·   · · ·A· · ·I know we had master referral agreements, but       12·   · · ·Q· · ·Okay.· On page 2 which is -- has the
  13·   ·they typically did not identify particular lines of cases;    13·   ·Bates No. NTG 66449 at the bottom and in the paragraph
  14·   ·because we got so many inquiries based on my lecturing and    14·   ·which is numbered no. 3, you wrote as the second sentence
  15·   ·the lines of cases that would be referred to us that it       15·   ·I imagine we should be sending out about 20 demand letters
  16·   ·was a constantly evolving situation.                          16·   ·a week between the ADA websites, wiretaps, and Strataluz
  17·   · · ·Q· · ·Were those referral agreements generally reduced    17·   ·stuff and probably filing at least an average of three
  18·   ·to writing?                                                   18·   ·cases per week.· Do you see that?
  19·   · · ·A· · ·I believe they were always reduced to writing.      19·   · · ·A· · ·I do.
  20·   · · ·Q· · ·All right.· Before I go to the next section, I      20·   · · ·Q· · ·Now, in this period of time did NTG hit its goal
  21·   ·guess it's worth asking whether or not it makes sense to      21·   ·of sending 20 demand letters per week?
  22·   ·break for lunch.· Is this -- would this be an appropriate     22·   · · ·MR. DARNELL:· Objection, mischaracterizes the
  23·   ·time?                                                         23·   ·document, exceeds the scope.
  24·   · · ·A· · ·Excuse me.· I think our lunch is expected to        24·   · · ·THE WITNESS:· I don't think that's properly described
  25·   ·arrive at around 1:00 p.m.· So I'm happy to go for another    25·   ·as a goal.· I think it was a reflection of the fact that

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  ·1·   ·we were being overwhelmed with potential plaintiff cases      ·1·   ·correct?
  ·2·   ·and we were discussing formalizing the paperwork between      ·2·   · · ·A· · ·That's correct.
  ·3·   ·Carla and Mandy.· If your question is did we end up           ·3·   · · ·Q· · ·Did you ask Mr. Baslow to find class
  ·4·   ·sending out an average of 20 demand letters per week, then    ·4·   ·representatives for litigation against Vogue
  ·5·   ·the answer is no.                                             ·5·   ·International?
  ·6·   ·BY MR. ARHANGELSKY:                                           ·6·   · · ·MR. DARNELL:· Objection.· That exceeds the scope.
  ·7·   · · ·Q· · ·In 2015, could you approximate how many demand      ·7·   · · ·THE WITNESS:· No.· I don't believe so.
  ·8·   ·letters per week the NTG firm was sending?                    ·8·   ·BY MR. ARHANGELSKY:
  ·9·   · · ·MR. DARNELL:· Objection, as phrased exceeds the scope.    ·9·   · · ·Q· · ·Did you ask Mr. Baslow to contact Mr. Schoonover
  10·   · · ·THE WITNESS:· Nowhere near 20, but I can certainly        10·   ·in relation to the Vogue case?
  11·   ·review any documents that might reflect that.                 11·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  12·   ·BY MR. ARHANGELSKY:                                           12·   · · ·THE WITNESS:· I know that Andrew and I had a
  13·   · · ·Q· · ·NTG filed a complaint on behalf of Sam Schoonover   13·   ·discussion about Mr. Schoonover and the Vogue case and
  14·   ·in March 2012 against Vogue International; is that right?     14·   ·that Mr. Schoonover had used their products repeatedly
  15·   · · ·A· · ·I know that we filed a case against Vogue in        15·   ·believing that they were organic and had complained to
  16·   ·which Mr. Schoonover was the plaintiff.· I don't know the     16·   ·Andrew or to someone that came back to Andrew that he was
  17·   ·precise date.· But if you show it to me, I can confirm        17·   ·angry that the products were not organic and I know that
  18·   ·that your date is accurate.                                   18·   ·we had that discussion.
  19·   · · ·Q· · ·Was Andrew Baslow the field representative who      19·   ·BY MR. ARHANGELSKY:
  20·   ·worked with Sam Schoonover in that case?                      20·   · · ·Q· · ·And when exactly was that discussion you had that
  21·   · · ·A· · ·I believe so.                                       21·   ·with Mr. Baslow?
  22·   · · ·Q· · ·NTG only had two field reps. at the time; is that   22·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  23·   ·right?                                                        23·   · · ·THE WITNESS:· It was a decade ago.· I don't know the
  24·   · · ·A· · ·That is correct.                                    24·   ·precise date.
  25·   · · ·Q· · ·That was Mr. Baslow and your father Wynn Ferrell,   25·   ·///


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                               EXHIBIT 9
                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·BY MR. ARHANGELSKY:                                           ·1·   ·complaint against them and would be ideally situated to
  ·2·   · · ·Q· · ·Okay.· Was that conversation with Mr. Baslow on     ·2·   ·advance the cause of consumer justice as it relates to
  ·3·   ·the phone?                                                    ·3·   ·them.
  ·4·   · · ·MR. DARNELL:· Same objection.                             ·4·   ·BY MR. ARHANGELSKY:
  ·5·   · · ·THE WITNESS:· I don't know whether it was on the          ·5·   · · ·Q· · ·And so this was information Mr. Baslow provided
  ·6·   ·phone, in person, or a combination of the prefatory work      ·6·   ·to you about Mr. Schoonover, right?
  ·7·   ·being done in email and then having an in-person or a         ·7·   · · ·A· · ·I don't know if all this is information that
  ·8·   ·phone conversation.                                           ·8·   ·Mr. Baslow provided to me or if it is information that
  ·9·   ·BY MR. ARHANGELSKY:                                           ·9·   ·I've gathered from the review of documents and the review
  10·   · · ·Q· · ·And so what exactly did Mr. Baslow tell you about   10·   ·of testimony.· But some combination of that, yes.
  11·   ·Mr. Schoonover at the time?                                   11·   · · ·Q· · ·Is it your testimony that Talee Rooney introduced
  12·   · · ·MR. DARNELL:· Objection, exceeds the scope.               12·   ·Mr. Schoonover to the NTG firm or to Mr. Baslow?
  13·   · · ·THE WITNESS:· A student named Talee Rooney had either     13·   · · ·A· · ·So to be clear it's my understanding that
  14·   ·attended one of my lectures or seen one of my lectures in     14·   ·Ms. Rooney saw one of my lectures, attended one of my
  15·   ·a class and had been inspired by it and wanted to             15·   ·lectures with an attorney, somehow was inspired and that
  16·   ·participate in trying to make the consumer marketplace a      16·   ·she was a connection to Mr. Schoonover.
  17·   ·safer place for consumers.· Somehow she put us in touch or    17·   · · ·Q· · ·And who told you that information, Mr. Ferrell?
  18·   ·put Mr. Schoonover in touch with us.· At the time             18·   · · ·A· · ·In addition and aside from excluding
  19·   ·greenwashing or describing something as organic when it       19·   ·communication I've had with counsel, I saw that in
  20·   ·really was not was very topical.· Mr. Schoonover had used     20·   ·deposition testimony, in contemporaneous documents, and
  21·   ·a product manufactured by Organics, a shampoo and             21·   ·had that conversation with Andrew Baslow.
  22·   ·conditioner, for several years believing that it was          22·   · · ·Q· · ·So you were first notified of Vogue
  23·   ·organic since its name was Organics.· And around the same     23·   ·International's alleged greenwashing via Sam Schoonover?
  24·   ·time we started investigating the OGX company for this        24·   · · ·A· · ·I don't think that's fair to say.
  25·   ·greenwashing, we learned that Mr. Schoonover had a            25·   · · ·Q· · ·And when did NTG first learn of Vogue

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  ·1·   ·International greenwashing?                                   ·1·   ·You know the Vogue case is not one of the SAC cases,
  ·2·   · · ·A· · ·As I sit here a decade later, I don't know for      ·2·   ·Counsel.· It's improper for you to mislead a witness like
  ·3·   ·sure.· But I suspect that there are documents that would      ·3·   ·that and that's what I've been telling you throughout.
  ·4·   ·reflect the process flow in which Organics' criminal          ·4·   ·This exceeds the scope.
  ·5·   ·activities came on to our radar screen.                       ·5·   · · ·THE WITNESS:· Is the Schoonover versus OGX case one of
  ·6·   · · ·Q· · ·And those documents have all been produced to NIC   ·6·   ·the SAC cases?
  ·7·   ·in discovery?                                                 ·7·   ·BY MR. ARHANGELSKY:
  ·8·   · · ·A· · ·To the extent that those documents exist, are       ·8·   · · ·Q· · ·I'm just asking, did you prepare on Topic 4 to
  ·9·   ·responsive, and are in our possession, custody, or            ·9·   ·address how NTG acquired its clients in SAC cases?
  10·   ·control, they've been transmitted to our counsel and our      10·   · · ·A· · ·Well, that's different.· In your previous
  11·   ·counsel has complied with all discovery obligations.          11·   ·question when --
  12·   · · ·Q· · ·What was the first date on which the NTG firm or    12·   · · ·Q· · ·It's a yes-or-no question.· Did you prepare on
  13·   ·any of its agent spoke with Mr. Schoonover?                   13·   ·this topic, Mr. Ferrell?
  14·   · · ·A· · ·I would need to see the documents that would        14·   · · ·MR. DARNELL:· Counsel --
  15·   ·reflect that.                                                 15·   · · ·THE WITNESS:· Mr. Arhangelsky, I'm going to tell you
  16·   · · ·Q· · ·So sitting here today, you don't have any idea?     16·   ·this one more time.· Stop interrupting me when I'm trying
  17·   · · ·A· · ·No.· Sitting here today in 2021, I don't know       17·   ·to answer your questions.· It is unprofessional and I am
  18·   ·when one of the dozen or so employees that worked for us a    18·   ·treating you with the respect you deserve by not
  19·   ·decade ago first had communication with Sam Schoonover in     19·   ·interrupting your questions.
  20·   ·a past decade.                                                20·   · · · · · ·Please ask me whenever question it is that you
  21·   · · ·Q· · ·Oh, but you did prepare for Topic 4 on -- as an     21·   ·wish to ask me.
  22·   ·NGT 30(b)(6) which relates to facts and evidence related      22·   ·BY MR. ARHANGELSKY:
  23·   ·to NTG's acquisition of clients in the SAC cases; is that     23·   · · ·Q· · ·Yes-or-no question, did you prepare on Topic 4,
  24·   ·correct?                                                      24·   ·Mr. Ferrell?
  25·   · · ·MR. DARNELL:· Objection.· That is an unfair question.     25·   · · ·A· · ·You know that I did.· I related to you a great


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·deal of work that I did on Topic 4.                           ·1·   ·while we wait for him to reconnect.
  ·2·   · · ·Q· · ·And Mr. Schoonover was a client of the NTG firm     ·2·   · · ·THE VIDEOGRAPHER:· This is the end of Media File
  ·3·   ·in a SAC case; is that right?                                 ·3·   ·No. 3.· We're now going off the record.· The time is
  ·4·   · · ·A· · ·Yes.                                                ·4·   ·12:46 p.m.
  ·5·   · · ·Q· · ·What date did the NTG firm communicate with         ·5·   · · · · · (WHEREUPON, THE LUNCH RECESS WAS TAKEN.)
  ·6·   ·Sam Schoonover?                                               ·6·   · · ·THE VIDEOGRAPHER:· This is the beginning of Media File
  ·7·   · · ·A· · ·In one of the SAC matters?· Or ever?                ·7·   ·No. 4.· We're now going on the record.· The time is
  ·8·   · · ·Q· · ·What date -- what date did the NTG firm first       ·8·   ·1:39 p.m.
  ·9·   ·communicate with Sam Schoonover?                              ·9·   · · ·MR. ARHANGELSKY:· All right.· Thank you.
  10·   · · ·MR. DARNELL:· Objection, vague.· He's asking you for      10·   · · · · · ·Just for the record, the deposition just before
  11·   ·clarification, Counsel.                                       11·   ·lunch was interrupted.· We had been informed by our
  12·   ·BY MR. ARHANGELSKY:                                           12·   ·internet service provider Cox Communications that our area
  13·   · · ·Q· · ·Ever.                                               13·   ·suffered a widespread internet outage, so that limited my
  14·   · · ·MR. DARNELL:· Objection, exceeds the scope.               14·   ·ability to participate in the deposition.
  15·   · · ·THE WITNESS:· My guess is that we communicated with       15·   · · · · · ·As of 1:15 p.m. internet is restored and we are
  16·   ·Mr. Schoonover long before he ever became a client of our     16·   ·going to advance this deposition to the best of our
  17·   ·firm.                                                         17·   ·ability under the circumstances.· This is a remote
  18·   ·BY MR. ARHANGELSKY:                                           18·   ·deposition given the Covid-19 concerns.· Thank you all for
  19·   · · ·Q· · ·When you say long before, when was that?            19·   ·your patience as we work through this.
  20·   · · ·MR. DARNELL:· Objection, exceeds the scope.               20·   · · · · · ·Now, Mr. Ferrell, I have placed a document in
  21·   · · ·THE WITNESS:· I don't know.· Sometime preceding the       21·   ·front of you which I've marked as Plaintiff's Exhibit 633.
  22·   ·time he became a client of the firm.                          22·   · (Plaintiff's Exhibit 633 was marked for identification.)
  23·   · · · · · ·I think we may have lost the video because          23·   ·BY MR. ARHANGELSKY:
  24·   ·Mr. Arhangelsky appears frozen.                               24·   · · ·Q· · ·Please review this email and let me know if
  25·   · · ·MR. RIDDLES:· I think we should go off the record         25·   ·you've seen this before.

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  ·1·   · · ·A· · ·Okay.                                               ·1·   · · ·Q· · ·And Baslow followed your instructions with
  ·2·   · · ·Q· · ·And for the record this is document that has        ·2·   ·respect to the 10 numbers, did he not?
  ·3·   ·Bates No. on page 1 NTG 5982 and I'll direct your             ·3·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·4·   ·attention to the second page of this email, Mr. Ferrell,      ·4·   · · ·THE WITNESS:· I've always known Andrew to be very
  ·5·   ·which is NTG 5983.· You wrote to Mr. Baslow, I believe,       ·5·   ·diligent, but I don't know from this document what
  ·6·   ·Would you please audit the below 800 numbers?· Do you see     ·6·   ·happened after I sent that email.
  ·7·   ·that?                                                         ·7·   ·BY MR. ARHANGELSKY:
  ·8·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·8·   · · ·Q· · ·So for the purpose of -- (inaudible) -- using
  ·9·   · · ·THE WITNESS:· I do.                                       ·9·   ·5982, Mr. Baslow responds to you and says, Hi, Scott,
  10·   ·BY MR. ARHANGELSKY:                                           10·   ·Answers to these 10 audits are below.· And the only line
  11·   · · ·Q· · ·So in July 2012, the NTG firm audited Himalaya      11·   ·that's not redacted says Himalaya Drug Company spoke to CS
  12·   ·Drug for a potential wiretap case; is that right?             12·   ·rep. and asked questions about their best products.· I was
  13·   · · ·MR. DARNELL:· Objection, exceeds the scope.               13·   ·never told my call was R, slash, M until I asked at the
  14·   · · ·THE WITNESS:· It appears that in July of 2012, we were    14·   ·conclusion of the conversation.· The rep. then confirmed
  15·   ·in some sort of investigation as it relates to Himalaya       15·   ·that they are R, slash, M.· Did I read this correctly?
  16·   ·Drug Company's recording practices, though I don't know       16·   · · ·A· · ·I believe so.
  17·   ·from this email where we were in that investigation.          17·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  18·   ·BY MR. ARHANGELSKY:                                           18·   ·BY MR. ARHANGELSKY:
  19·   · · ·Q· · ·And you specifically asked Mr. Baslow to call and   19·   · · ·Q· · ·Now, when Mr. Baslow said that he spoke to CS
  20·   ·see if they auto-disclose that they record -- or excuse       20·   ·rep., did you interpret that to be customer service
  21·   ·me -- that they record or monitor; if they do not, ask a      21·   ·representative?
  22·   ·basic question or two of a customer service rep. when you     22·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  23·   ·get through to one; close by asking if they record or         23·   · · ·THE WITNESS:· That's my understanding of what that
  24·   ·monitor; and then report back.· Did I read that correctly?    24·   ·means, yes.
  25·   · · ·A· · ·Yes.                                                25·   ·///


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                               EXHIBIT 9
                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·BY MR. ARHANGELSKY:                                          ·1·   ·BY MR. ARHANGELSKY:
  ·2·   · · ·Q· · ·And the abbreviation R, slash, M, did you          ·2·   · · ·Q· · ·When you wrote that NTG should proceed, you were
  ·3·   ·understand that was recorded or monitored?                   ·3·   ·indicating that the firm should move forward with
  ·4·   · · ·MR. DARNELL:· Objection, exceeds the scope.              ·4·   ·litigation?
  ·5·   · · ·THE WITNESS:· Yes.· It's my understanding that that      ·5·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·6·   ·stands for recorded or monitored.                            ·6·   · · ·THE WITNESS:· No.· I was indicating that the cases
  ·7·   ·BY MR. ARHANGELSKY:                                          ·7·   ·should proceed through the seasoned process wherever they
  ·8·   · · ·Q· · ·What was the purpose of having Mr. Baslow ask      ·8·   ·were at.
  ·9·   ·questions about the company's best products?                 ·9·   ·BY MR. ARHANGELSKY:
  10·   · · ·MR. DARNELL:· Objection, exceeds the scope.              10·   · · ·Q· · ·I see.
  11·   · · ·THE WITNESS:· It had been our experience that customer   11·   · · · · · ·And so this case would have been in the seasoning
  12·   ·service representatives were more likely to tell the truth   12·   ·stage right now?· Again by this case I mean Himalaya Drug.
  13·   ·about whether they were aware that the company was           13·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  14·   ·recording or monitoring the calls if they were engaged in    14·   · · ·THE WITNESS:· I don't know looking at this.· But if
  15·   ·some brief conversation.· Oftentimes if they were not        15·   ·you show me a document that reflects it, it would likely
  16·   ·engaged in some brief conversations, they would either lie   16·   ·refresh my memory as to its status in the seasoning stage
  17·   ·or simply hang up.                                           17·   ·or at least one iteration of its status.
  18·   ·BY MR. ARHANGELSKY:                                          18·   ·BY MR. ARHANGELSKY:
  19·   · · ·Q· · ·And you wrote back to Mr. Baslow towards the top   19·   · · ·Q· · ·When you say, show me the document, what document
  20·   ·of this email at 2:19 p.m. on July 16th that of -- you       20·   ·are you referring to?
  21·   ·said, Baz, Based on the comments below it seems like we      21·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  22·   ·should proceed with Himalaya Drug, and maybe two others      22·   · · ·THE WITNESS:· I'm not referring to any specific
  23·   ·that are redacted.· Do you see that?                         23·   ·document.· I'm saying if there is a document that reflects
  24·   · · ·MR. DARNELL:· Objection, exceeds the scope.              24·   ·where the case was in the seasoning stage on July 16th,
  25·   · · ·THE WITNESS:· I do.                                      25·   ·2012, that it would help my recollection.

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  ·1·   ·BY MR. ARHANGELSKY:                                          ·1·   ·July 16th, 2012, we had been contacted by someone who was
  ·2·   · · ·Q· · ·Okay.· As of 2 -- (inaudible) -- p.m. on --        ·2·   ·a potential client and it was in the seasoning stage.
  ·3·   ·(inaudible) -- NTG did not have a -- (inaudible) --          ·3·   · · ·Q· · ·Who by name was the individual that had contacted
  ·4·   ·against -- (inaudible) -- is that -- (inaudible.)            ·4·   ·the NTG firm for litigation against Himalaya as of
  ·5·   · · ·MR. DARNELL:· Peter, we didn't hear your question.       ·5·   ·July 16th, 2012, at 2:19 p.m.?
  ·6·   ·You may want to restate it.                                  ·6·   · · ·A· · ·As I sit here, I don't know.· But my suspicion is
  ·7·   ·BY MR. ARHANGELSKY:                                          ·7·   ·that there are documents that would identify that person
  ·8·   · · ·Q· · ·Can you hear me now?                               ·8·   ·and reflect where in the seasoning stage the case was.
  ·9·   · · ·MR. DARNELL:· Yes.                                       ·9·   · · ·Q· · ·And are you referring to the wiretap case charts
  10·   · · ·THE WITNESS:· Yes.                                       10·   ·that NTG was maintaining?
  11·   ·BY MR. ARHANGELSKY:                                          11·   · · ·A· · ·No.· I'm referring to any documents that would
  12·   · · ·Q· · ·Am I there?                                        12·   ·reflect the case intake of this matter and any iteration
  13·   · · ·A· · ·Yes.                                               13·   ·of specific plaintiffs on this matter that might exist
  14·   · · ·Q· · ·Okay.· As of July 16th, 2012, at 2:19 p.m., NTG    14·   ·that would refresh my memory.
  15·   ·did not have a client retained for litigation against        15·   · · ·Q· · ·So sitting here right now are you referring to a
  16·   ·Himalaya; is that right?                                     16·   ·specific document or are you speculating as to whether
  17·   · · ·A· · ·That would be inconsistent with my understanding   17·   ·there might be documents?
  18·   ·as I sit here, but there are probably documents that would   18·   · · ·A· · ·The latter.· I'm -- I'm saying that a decade
  19·   ·reflect that more accurately than my recollection a decade   19·   ·later I don't know where in the intake process the
  20·   ·later.                                                       20·   ·Himalaya Drug case was, who the plaintiff who had alerted
  21·   · · ·Q· · ·Okay.· So as of 2:19 p.m. on July 16th, 2012,      21·   ·it to us was, where we were seasoning them, or any of that
  22·   ·your understanding was that NTG had obtained a client --     22·   ·without referencing the other exigent documents.
  23·   ·or excuse me -- a client had retained NTG for litigation     23·   · · ·MR. ARHANGELSKY:· Okay.· All right.· Thank you.
  24·   ·against Himalaya?                                            24·   · · · · · ·I've placed a document on screen which I've
  25·   · · ·A· · ·I think it's more accurate to say that as of       25·   ·marked as Plaintiff's Exhibit 634 and this is a document


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  ·1·   ·with a Bates number that begins SCHOONOVER00082.              ·1·   ·says, Hey, man, I've got another case for you and have
  ·2·   · (Plaintiff's Exhibit 634 was marked for identification.)     ·2·   ·confirmation that we can use you again.· You down?· Do you
  ·3·   ·BY MR. ARHANGELSKY:                                           ·3·   ·see that?
  ·4·   · · ·Q· · ·Mr. Ferrell, have you seen this document before?    ·4·   · · ·A· · ·I do.
  ·5·   · · ·A· · ·Is this an 11-page document?                        ·5·   · · ·Q· · ·Did you give Andrew Baslow confirmation that NTG
  ·6·   · · ·Q· · ·It is an 11-page document, yes.                     ·6·   ·could use Schoonover again in litigation on July -- or in
  ·7·   · · ·A· · ·Does this sequence start from the bottom or start   ·7·   ·July 2012?
  ·8·   ·from the top?                                                 ·8·   · · ·A· · ·I have no idea what this relates to.
  ·9·   · · ·Q· · ·I believe that -- I don't want to make              ·9·   · · ·Q· · ·After communicating with you on July 16th, 2012,
  10·   ·representations.· You can interpret it how you will, but I    10·   ·by email, Mr. Baslow provided Schoonover with instructions
  11·   ·understand that the document is chronological starting        11·   ·to call Himalaya Drug, did he not?
  12·   ·from the top.                                                 12·   · · ·A· · ·I don't know.
  13·   · · ·A· · ·Okay.· That's what it looks like to me, too.        13·   · · ·Q· · ·In the afternoon of July 16, 2012, did
  14·   · · ·Q· · ·Had you reviewed this document before your          14·   ·Andrew Baslow provide Sam Schoonover with Himalaya Drug's
  15·   ·deposition today?                                             15·   ·phone number for purposes of a wiretap case?
  16·   · · ·A· · ·I have not.                                         16·   · · ·A· · ·I don't know.· Is it reflected --
  17·   · · ·Q· · ·You didn't review this document as part of your     17·   · · ·MR. RIDDLES:· Objection, calls -- (inaudible.)
  18·   ·preparation as an NTG 30(b)(6)?                               18·   ·BY MR. ARHANGELSKY:
  19·   · · ·A· · ·As I indicated earlier, I reviewed thousands of     19·   · · ·Q· · ·Sorry.· What was the answer?
  20·   ·pages of documents.· I don't recall reviewing this, what      20·   · · ·A· · ·Sorry.· I'm seeing this for the first time.· Is
  21·   ·appears to be a text exchange.                                21·   ·it reflected in this exchange that you want me to look at?
  22·   · · ·Q· · ·Okay.· Okay.· On page 2, which I believe I posted   22·   · · ·Q· · ·No.· I'm just asking you a question.· You need
  23·   ·on the screen under the Bates No. SCHOONOVER00083, under      23·   ·the reporter to repeat it?
  24·   ·the timestamp that you see beginning towards the top, it      24·   · · ·A· · ·No.· I -- I don't need the reporter to repeat it,
  25·   ·says July 16, 2012, 2:52 p.m.· There's a message that         25·   ·but I don't know what conversations the two of them may

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  ·1·   ·have had in July in the afternoon a decade ago.· It says      ·1·   ·says 8-9, 2016.
  ·2·   ·in here that they were going to chat.                         ·2·   · · ·A· · ·Yes.
  ·3·   · · ·Q· · ·Okay.· And do you know if Mr. Baslow did in fact    ·3·   · · ·Q· · ·That you believe might be the date it was
  ·4·   ·speak with Mr. Schoonover in the afternoon of July 16th,      ·4·   ·printed?
  ·5·   ·2012?                                                         ·5·   · · ·MR. DARNELL:· Objection, lacks foundation.
  ·6·   · · ·A· · ·I don't know as I sit here.· But if it's            ·6·   · · ·THE WITNESS:· I have no idea.
  ·7·   ·reflected in this exchange, then I can certainly try and      ·7·   ·BY MR. ARHANGELSKY:
  ·8·   ·learn that.                                                   ·8·   · · ·Q· · ·So are you saying you don't know either way
  ·9·   · · ·Q· · ·Well, I just -- I just want to know what your       ·9·   ·whether this document was -- well, let me ask you a
  10·   ·recollection is.                                              10·   ·different question.
  11·   · · ·A· · ·I don't know one way or the other.                  11·   · · · · · ·Was this document sent to Mr. Baslow on July 17,
  12·   · · ·MR. ARHANGELSKY:· I've marked an exhibit and put it on    12·   ·2012, at 9:24 a.m.?
  13·   ·the screen marked as Exhibit 635 and this has a Bates         13·   · · ·MR. DARNELL:· Objection, lacks foundation.
  14·   ·No. SCHOONOVER00002.                                          14·   · · ·THE WITNESS:· I have no idea.
  15·   · (Plaintiff's Exhibit 635 was marked for identification.)     15·   ·BY MR. ARHANGELSKY:
  16·   ·BY MR. ARHANGELSKY:                                           16·   · · ·Q· · ·NTG asked all of its wiretap clients to send
  17·   · · ·Q· · ·Mr. Ferrell, have you seen this email before?       17·   ·confirmation emails like this; is that right?
  18·   · · ·A· · ·Yes, I have.                                        18·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  19·   · · ·Q· · ·And NTG through Mr. Baslow received this email on   19·   · · ·THE WITNESS:· I don't know.· I have -- this does
  20·   ·July 17, 2012, at 9:24 a.m.?                                  20·   ·refresh my memory in some regards, but not in the way that
  21·   · · ·A· · ·I don't know if that's the date that it was         21·   ·you've just asked that question.
  22·   ·received or the date that it was printed.                     22·   ·BY MR. ARHANGELSKY:
  23·   · · ·Q· · ·Oh, you think this might have been -- well, let     23·   · · ·Q· · ·Well, did NTG ask any of its wiretap clients to
  24·   ·me see if I can help.                                         24·   ·send confirmation emails after completing their wiretap
  25·   · · · · · ·Do you see the top left of this document?· It       25·   ·calls?


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  ·1·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·1·   · · ·THE WITNESS:· I don't know.
  ·2·   · · ·THE WITNESS:· So I didn't have communication with         ·2·   ·BY MR. ARHANGELSKY:
  ·3·   ·those people, but I can tell you what my instructions         ·3·   · · ·Q· · ·Did NTG ever provide these confirmation
  ·4·   ·were.                                                         ·4·   ·statements to opposing counsel in one of its wiretap
  ·5·   ·BY MR. ARHANGELSKY:                                           ·5·   ·cases?
  ·6·   · · ·Q· · ·And by your instructions are you referring to       ·6·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·7·   ·instructions you gave Mr. Baslow?                             ·7·   · · ·THE WITNESS:· Yes, we did.
  ·8·   · · ·A· · ·The instructions I gave Andrew and everyone else    ·8·   ·BY MR. ARHANGELSKY:
  ·9·   ·at the firm who was working on the matters.                   ·9·   · · ·Q· · ·And that was for the purpose of identifying that
  10·   · · ·Q· · ·Well, did you specifically instruct Mr. Baslow to   10·   ·the call had been completed as alleged?
  11·   ·obtain confirmation statements from wiretap clients after     11·   · · ·MR. DARNELL:· Same objection.
  12·   ·they completed their calls?                                   12·   · · ·THE WITNESS:· It could have a lot of different
  13·   · · ·MR. DARNELL:· Objection, exceeds the scope, compound.     13·   ·purposes.· But typically at least in instances where a
  14·   · · ·THE WITNESS:· Not in those words, but what I did tell     14·   ·defendant retained competent counsel, their counsel would
  15·   ·Andrew was that it had been our experience that companies     15·   ·instruct the company to immediately stop committing
  16·   ·would always deny that they had received or recorded a        16·   ·felonies and would reach out to us and together we would
  17·   ·call in the first instance and so it was important for us     17·   ·try and determine the scope of the misconduct involved and
  18·   ·to have documented the timing of the call as well as the      18·   ·one of the best practices in doing that was to submit
  19·   ·details of the call, whether it was a initial call, a         19·   ·either the client's summary or an abstract of the client's
  20·   ·confirmatory call, or an investigative call.                  20·   ·summary to the opposing counsel.
  21·   ·BY MR. ARHANGELSKY:                                           21·   ·BY MR. ARHANGELSKY:
  22·   · · ·Q· · ·Okay.· And did NTG ever submit one of these         22·   · · ·Q· · ·Did you -- I'm sorry.
  23·   ·confirmation emails to a court of law in support of any       23·   · · · · · ·Did NTG ever supply these confirmation statements
  24·   ·wiretap lawsuit?                                              24·   ·to co-counsel after referring out a wiretap case?
  25·   · · ·MR. DARNELL:· Objection, exceeds the scope.               25·   · · ·MR. DARNELL:· Objection, exceeds the scope.

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  ·1·   · · ·THE WITNESS:· I believe so.                               ·1·   ·BY MR. ARHANGELSKY:
  ·2·   ·BY MR. ARHANGELSKY:                                           ·2·   · · ·Q· · ·And, Mr. Ferrell, have you ever seen this
  ·3·   · · ·Q· · ·I'm sorry.· The purpose of providing co-counsel     ·3·   ·document?
  ·4·   ·with a confirmation statement was consistent with your        ·4·   · · ·A· · ·I believe so.· Let me just double-check.
  ·5·   ·last response, is -- was to use that to help address the      ·5·   · · ·MR. DARNELL:· Did we skip one?
  ·6·   ·alleged violations?                                           ·6·   · · ·MR. ARHANGELSKY:· So I think I'm going to need to
  ·7·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·7·   ·clean it up.· I think there was an erroneous entry of 636
  ·8·   · · ·THE WITNESS:· Oftentimes with co-counsel it was just a    ·8·   ·and I can't put a duplicate in.· I'm going to have to have
  ·9·   ·matter of co-counsel doing their due diligence to ensure      ·9·   ·LiveLitigation remove that entry later and we're going to
  10·   ·it was a meritorious case.                                    10·   ·have to have a blank exhibit.
  11·   · · ·MR. ARHANGELSKY:· I need just a second.· I'm going to     11·   · · ·MR. DARNELL:· That's fine.· I want to make sure I
  12·   ·have to go off record just a second because I need to load    12·   ·wasn't missing something.· Okay.· Thank you.
  13·   ·a document that didn't load properly.· Can I have just        13·   · · ·THE WITNESS:· Okay.· I have reviewed the document and
  14·   ·two minutes, please?                                          14·   ·I recognize this document.
  15·   · · ·MR. DARNELL:· Sure.                                       15·   ·BY MR. ARHANGELSKY:
  16·   · · ·THE VIDEOGRAPHER:· This is the end of Media File          16·   · · ·Q· · ·And is this the complaint that NTG filed on
  17·   ·No. 4.· We're now going off the record.· The time is          17·   ·behalf of Mr. Schoonover against Himalaya Drug?
  18·   ·2:03 p.m.                                                     18·   · · ·A· · ·Yes.
  19·   · · · · · · · · · · · (BRIEF RECESS.)                          19·   · · ·Q· · ·And you electronically signed this complaint
  20·   · · ·THE VIDEOGRAPHER:· This is the beginning of Media File    20·   ·before filing it; is that right?
  21·   ·No. 5.· We're now going on the record.· The time is           21·   · · ·A· · ·Yes.
  22·   ·2:09 p.m.                                                     22·   · · ·Q· · ·What steps did you take to ensure this complaint
  23·   · · ·MR. ARHANGELSKY:· Okay.· I have placed a document in      23·   ·was accurate before it was filed?
  24·   ·front of the witness which is marked as Exhibit 637.          24·   · · ·A· · ·As applied here we undertook an investigation to
  25·   · (Plaintiff's Exhibit 637 was marked for identification.)     25·   ·make sure that the factual assertions in the complaint


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  ·1·   ·were accurate and that the legal allegations in the           ·1·   ·BY MR. ARHANGELSKY:
  ·2·   ·complaint were well-founded.                                  ·2·   · · ·Q· · ·Now let me direct your attention to what is
  ·3·   · · ·MR. DARNELL:· And I'll just object that last question     ·3·   ·page 3 of this document that you have marked as
  ·4·   ·exceeds the scope.                                            ·4·   ·Exhibit 567 and specifically paragraph 10 and where the
  ·5·   ·BY MR. ARHANGELSKY:                                           ·5·   ·complaint that you drafted alleges that After completing
  ·6·   · · ·Q· · ·At any point prior to filing this complaint on      ·6·   ·her call, plaintiff learned that defendant makes a habit
  ·7·   ·July 19th, 2012, did NTG inform Sam Schoonover that his       ·7·   ·and practice of recording every incoming telephone call to
  ·8·   ·phone call to Himalaya Drug had been recorded?                ·8·   ·its customer service line.· Did I read that correctly?
  ·9·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·9·   · · ·MR. DARNELL:· Objection.· This line exceeds the scope,
  10·   · · ·THE WITNESS:· Not that I know of.                         10·   ·this line of questioning.
  11·   · · · · · ·And one -- one clarification there, at the time     11·   · · · · · ·But you can answer.
  12·   ·we filed the complaint, we did not know that his -- that      12·   · · ·THE WITNESS:· Okay.· I see that.
  13·   ·his call had been recorded.· We had a reasonable basis to     13·   ·BY MR. ARHANGELSKY:
  14·   ·believe that they were recording calls potentially            14·   · · ·Q· · ·Okay.· As of July 19, 2012, what was your factual
  15·   ·including his, but we did not know that for sure.             15·   ·basis for alleging that Mr. Schoonover had learned that
  16·   ·BY MR. ARHANGELSKY:                                           16·   ·the defendant makes a habit and practice of recording
  17·   · · ·Q· · ·At any point prior to filing this complaint on      17·   ·every incoming telephone call?
  18·   ·July 19th, 2012, did NTG inform Sam Schoonover that           18·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  19·   ·Himalaya Drug had told Andrew Baslow that it records its      19·   · · ·THE WITNESS:· As I sit here, I don't know the specific
  20·   ·incoming calls?                                               20·   ·knowledge that Mr. Schoonover had, but I do know that the
  21·   · · ·MR. DARNELL:· Objection, exceeds the scope.               21·   ·preceding paragraphs note that the factual issues outside
  22·   · · ·THE WITNESS:· I don't know what specific                  22·   ·of our control are made on information and belief after a
  23·   ·communications Andrew had with Mr. Schoonover, but I also     23·   ·good faith inquiry and that we had reason to believe that
  24·   ·think you are misstating the communications that Andrew       24·   ·the defendant was illegally recording customer calls.
  25·   ·had with Himalayan.                                           25·   ·///

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  ·1·   ·BY MR. ARHANGELSKY:                                           ·1·   · · ·Q· · ·And have you reviewed this document before today?
  ·2·   · · ·Q· · ·And, that reason to believe that they were          ·2·   · · ·A· · ·Yes.· I saw this document in preparation for my
  ·3·   ·recording calls that you just referenced, was that based      ·3·   ·deposition.
  ·4·   ·on Mr. Baslow's July 16, 2012 audit call to Himalaya?         ·4·   · · ·Q· · ·At the bottom of this email -- the email appears
  ·5·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·5·   ·to be on August 11, 2012.· You write to Baslow under the
  ·6·   · · ·THE WITNESS:· It was based at least on part on that.      ·6·   ·word -- begins We are in the very early settlement
  ·7·   ·This complaint suggests that we may have originally been      ·7·   ·discussions in the Schoonover versus Himalaya wiretap
  ·8·   ·contacted by someone else, as well.                           ·8·   ·case.· Do you see part of this document?
  ·9·   ·BY MR. ARHANGELSKY:                                           ·9·   · · ·A· · ·I do.
  10·   · · ·Q· · ·Do you know that for a fact sitting here today?     10·   · · ·Q· · ·And in the next paragraph you said As part of
  11·   · · ·A· · ·No, I don't.· I only note that the reference to     11·   ·those discussions they've asked us to tell them the number
  12·   ·the word her, the pronoun, in paragraph 10 suggests the       12·   ·he called from which was 714-396-6971.· You ask Is there
  13·   ·existence of another female client.                           13·   ·any reason not to share that with them and do you know the
  14·   · · ·Q· · ·Do you know sitting here today whether you have     14·   ·background, is it a landline, who owns it, et cetera.· For
  15·   ·personally sent any emails referring to Sam Schoonover as     15·   ·example, I want to make sure it wasn't your house, your
  16·   ·a female?                                                     16·   ·cell, or anything like that where they could link it back
  17·   · · ·A· · ·As I sit here, I don't know.                        17·   ·to us.· Did I read that correctly?
  18·   · · ·MR. ARHANGELSKY:· Okay.· I have placed in front of the    18·   · · ·A· · ·Yes.
  19·   ·witness an exhibit marked Exhibit 638.· This document has     19·   · · ·Q· · ·So here you were concerned that Himalaya could
  20·   ·a Bates No., first page, NTG 6152.                            20·   ·link Schoonover's phone call back to NTG; is that right?
  21·   · (Plaintiff's Exhibit 638 was marked for identification.)     21·   · · ·A· · ·No.
  22·   ·BY MR. ARHANGELSKY:                                           22·   · · ·Q· · ·You thought that Schoonover might have called
  23·   · · ·Q· · ·Mr. Ferrell, please look at this email and let me   23·   ·Himalaya from Andrew Baslow's house?
  24·   ·know if you've seen this before.                              24·   · · ·A· · ·No.
  25·   · · ·A· · ·Yes.· I see that.                                   25·   · · ·Q· · ·If Schoonover had called from Andrew Baslow's


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                               EXHIBIT 9
                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·house, you wouldn't have provided that number to opposing     ·1·   · · ·Q· · ·All right.· And Mr. Baslow responded to you here
  ·2·   ·counsel; is that right?                                       ·2·   ·and said Just spoke with Sam Schoonover.· I think it is
  ·3·   · · ·MR. DARNELL:· Objection, incomplete hypothetical.         ·3·   ·best not to share that number in which he called from.· It
  ·4·   · · ·THE WITNESS:· I think you misunderstand the nature of     ·4·   ·is a cell phone of his roommate Austin Glenn.· Do you see
  ·5·   ·this communication.· I -- I -- I don't know.· I believe       ·5·   ·that?
  ·6·   ·opposing counsel here was Angel Garganta and the purpose      ·6·   · · ·A· · ·I do.
  ·7·   ·of this email was to make sure that I wasn't giving the       ·7·   · · ·Q· · ·Okay.· Baslow thought it might be a problem to
  ·8·   ·defendant a basis to challenge our ability to serve as        ·8·   ·share Austin Glenn's phone number because Mr. Glenn was
  ·9·   ·class counsel by making us a witness in the case.             ·9·   ·also used as a plaintiff by NTG in litigation; is that
  10·   ·BY MR. ARHANGELSKY:                                           10·   ·right?
  11·   · · ·Q· · ·And why would you become a witness in the case if   11·   · · ·A· · ·I don't know --
  12·   ·Mr. Schoonover had called from Baslow's house?                12·   · · ·MR. RIDDLES:· Objection -- (inaudible.)
  13·   · · ·A· · ·For example, if Mr. Schoonover had called the       13·   · · ·THE WITNESS:· I don't know whether Mr. Glenn was a
  14·   ·number from Mr. Baslow's house, which obviously he did not    14·   ·plaintiff in litigation which we were counsel or not, but
  15·   ·but we're going with this hypothetical, then it would give    15·   ·that would not be a reason not to share his phone number.
  16·   ·the defendant a basis to argue that he was an atypical        16·   ·There's nothing wrong with that.
  17·   ·plaintiff or that he would not be a suitable                  17·   ·BY MR. ARHANGELSKY:
  18·   ·representative of the class because the circumstances         18·   · · ·Q· · ·And I think you wrote back at the top I don't
  19·   ·under which he made the call were different from other        19·   ·think it's a problem, right?
  20·   ·members of the class.                                         20·   · · ·A· · ·Correct.
  21·   · · ·Q· · ·But as of this email right here on August 11, you   21·   · · ·Q· · ·Do you know whether or not NTG referred Mr. Glenn
  22·   ·certainly thought it was a possibility that Mr. Schoonover    22·   ·out to another firm for litigation?
  23·   ·might have called from Andrew Baslow's house or cell          23·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  24·   ·phone, right?                                                 24·   · · ·THE WITNESS:· As I sit here, I don't know whether NTG
  25·   · · ·A· · ·No.                                                 25·   ·ever had a relationship with Mr. Glenn of any sort.

                                                          Page 144                                                             Page 145
  ·1·   ·BY MR. ARHANGELSKY:                                           ·1·   ·phone conversations with Mr. Baslow about the propriety of
  ·2·   · · ·Q· · ·Now returning to what we had marked as              ·2·   ·using Sam Schoonover in NIC litigation in August of 2012?
  ·3·   ·Exhibit 634 which we reviewed earlier and directing your      ·3·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·4·   ·attention to the page of the document which I believe is      ·4·   · · ·THE WITNESS:· What are you -- what are you talking
  ·5·   ·page 4 which has Bates No. SCHOONOVER00085.· And on           ·5·   ·about, an impropriety?· I don't understand what you're
  ·6·   ·August -- at the very bottom of this page and we get into     ·6·   ·referencing.
  ·7·   ·the next page an entry under the August 11, 2012 date         ·7·   ·BY MR. ARHANGELSKY:
  ·8·   ·marker -- do you see that?· It begins with Spoke with my      ·8·   · · ·Q· · ·About the propriety of using Mr. Schoonover in
  ·9·   ·boss.· He seems to think that we will be okay.· Sorry for     ·9·   ·NIC litigation.
  10·   ·the false alarm.· Do you see that?                            10·   · · ·A· · ·Well, Mr. Schoonover signed the duties of a class
  11·   · · ·A· · ·Yes.                                                11·   ·representative document.· I don't understand what you're
  12·   · · ·Q· · ·Is this a reference to the email correspondence     12·   ·asking me.
  13·   ·that you exchanged with Mr. Baslow on August 11?              13·   · · ·Q· · ·Did you have any conversation with Mr. Baslow
  14·   · · ·MR. DARNELL:· Objection, exceeds the scope.               14·   ·other than the email correspondence we have looked at here
  15·   · · ·THE WITNESS:· I have no idea what this refers to.         15·   ·today regarding the -- Mr. Schoonover's use of
  16·   ·BY MR. ARHANGELSKY:                                           16·   ·Austin Glenn's phone number to call Himalaya Drug Company?
  17·   · · ·Q· · ·Do you recall having any conversation with          17·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  18·   ·Mr. Baslow in August of 2012 about using Mr. Schoonover in    18·   · · ·THE WITNESS:· Other than the email exchange that we
  19·   ·CIPA litigation notwithstanding the fact you used             19·   ·just saw, I have no idea.
  20·   ·Austin Glenn's number?                                        20·   · · ·MR. ARHANGELSKY:· I just have to look for a document.
  21·   · · ·MR. DARNELL:· Objection, exceeds the scope, vague.        21·   · · · · · ·I've placed a document in front of the witness
  22·   · · ·THE WITNESS:· I'm sorry.· What are you asking me?         22·   ·which I've marked as Exhibit 639.
  23·   ·BY MR. ARHANGELSKY:                                           23·   · (Plaintiff's Exhibit 639 was marked for identification.)
  24·   · · ·Q· · ·Other than the email correspondence that we         24·   ·BY MR. ARHANGELSKY:
  25·   ·looked at moments ago from August 11, did you have any        25·   · · ·Q· · ·Mr. Ferrell, did the NTG firm ever have a


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                               EXHIBIT 9
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                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·referral relationship with the law firm of Hiden, Rott &      ·1·   ·witness by taking a 14-hour deposition and you're using
  ·2·   ·Oertle, LLP?                                                  ·2·   ·that under the guise of a 30(b)(6) for topics that aren't
  ·3·   · · ·MR. DARNELL:· Objection, exceeds the scope.· Does this    ·3·   ·even coming up.· So I am asserting that objection for the
  ·4·   ·relate to any of the topics, Counsel?                         ·4·   ·record as --
  ·5·   · · ·THE WITNESS:· Not that I know of.                         ·5·   · · ·MR. ARHANGELSKY:· Madam Reporter --
  ·6·   ·BY MR. ARHANGELSKY:                                           ·6·   · · ·MR. DARNELL:· I'm sorry.· I wasn't done, Counsel.
  ·7·   · · ·Q· · ·Did the NTG firm ever refer Mr. Glenn out to the    ·7·   · · ·MR. ARHANGELSKY:· You're not done with your objection?
  ·8·   ·Hiden, Rott & Oertle firm for litigation?                     ·8·   · · ·MR. DARNELL:· No.
  ·9·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·9·   · · · · · ·So I am asserting that objection for the record,
  10·   · · · · · ·Counsel, I'll ask you again.· Does this relate to   10·   ·as well.· Please proceed.
  11·   ·any of the topics?· We've been going for about                11·   · · ·MR. ARHANGELSKY:· And, Madam Reporter, can you please
  12·   ·four and-a-half hours.· I think it's pretty clear that        12·   ·read back the pending question?
  13·   ·you're just trying to get 14 hours of a deposition of         13·   · · · · · ·(WHEREUPON, THE RECORD WAS READ BY THE COURT
  14·   ·Mr. Ferrell.· I'm asking you, does this relate to any of      14·   · · · REPORTER AS FOLLOWS:
  15·   ·the topics?                                                   15·   · · · · · ·"Question:· Did the NTG firm ever refer
  16·   · · ·MR. ARHANGELSKY:· Mr. Darnell, you know as well as        16·   · · · Mr. Glenn out to the Hiden, Rott & Oertle firm for
  17·   ·anyone that you are -- that I can ask these questions at      17·   · · · litigation?")
  18·   ·deposition notwithstanding whether they relate to topics      18·   · · ·MR. DARNELL:· Same objection.
  19·   ·or not.· I do believe they do relate to topics                19·   · · ·THE WITNESS:· Not that I know of.
  20·   ·nonetheless, but I'm not going to get into a legal            20·   · · ·MR. ARHANGELSKY:· I've placed a document in front of
  21·   ·argument with you now.· If you'd like to make your            21·   ·the witness which I've marked as Exhibit 640.
  22·   ·objection that it's outside the scope, you can do that.       22·   · (Plaintiff's Exhibit 640 was marked for identification.)
  23·   ·Please allow me to continue my deposition.                    23·   ·BY MR. ARHANGELSKY:
  24·   · · ·MR. DARNELL:· I will allow you to continue your           24·   · · ·Q· · ·Mr. Ferrell, please review this email and let me
  25·   ·examination.· My point is that you're harassing the           25·   ·know if you've seen this before.

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  ·1·   · · ·MR. DARNELL:· I'll just object that this document         ·1·   · · ·THE WITNESS:· Almost certainly not.
  ·2·   ·clearly exceeds the scope.                                    ·2·   ·BY MR. ARHANGELSKY:
  ·3·   · · ·THE WITNESS:· Okay.· I've seen this.                      ·3·   · · ·Q· · ·So how would you know whether it's true that
  ·4·   ·BY MR. ARHANGELSKY:                                           ·4·   ·Mr. Schoonover disclosed a sensitive skin condition on his
  ·5·   · · ·Q· · ·Is this a document that NTG produced to NIC in      ·5·   ·call with Himalaya?
  ·6·   ·discovery in this case?                                       ·6·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·7·   · · ·A· · ·I believe so.                                       ·7·   · · ·THE WITNESS:· Because paragraph 4 states that Angel
  ·8·   · · ·Q· · ·Now, on the first page at the top email that you    ·8·   ·already knows all of this and so it appears to be that
  ·9·   ·sent to David Reid on August 23rd, 2012, in your second       ·9·   ·paragraphs 1 through 3 are undisputed.· And when I was
  10·   ·bullet -- second numbered paragraph you wrote Let him know    10·   ·looking through the document earlier, it looks like on
  11·   ·that Sam was definitely expecting privacy since he            11·   ·page 4 I provided additional information to Angel and told
  12·   ·disclosed a sensitive skin condition, depression,             12·   ·him -- I'm sorry.· That's on pages 4 and 5 and that on
  13·   ·et cetera.· Do you see that?                                  13·   ·page 5 I told him that we weren't looking for any
  14·   · · ·MR. DARNELL:· Objection, exceeds the scope.               14·   ·compensation, that we simply wanted the defendant to
  15·   · · ·THE WITNESS:· Yes.                                        15·   ·change their practices.
  16·   ·BY MR. ARHANGELSKY:                                           16·   ·BY MR. ARHANGELSKY:
  17·   · · ·Q· · ·And on what basis did you -- on what factual        17·   · · ·Q· · ·I'm sorry.· What part of that related to
  18·   ·basis did you tell David Reid that Sam Schoonover had         18·   ·Mr. Schoonover's sensitive skin condition?
  19·   ·disclosed a sensitive skin condition or depression?           19·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  20·   · · ·MR. DARNELL:· Objection, exceeds the scope.               20·   · · ·THE WITNESS:· The first part where I said Angel
  21·   · · ·THE WITNESS:· The basis that that is true.                21·   ·already knows this.
  22·   ·BY MR. ARHANGELSKY:                                           22·   ·BY MR. ARHANGELSKY:
  23·   · · ·Q· · ·As of August 23rd, 2012, had you reviewed an        23·   · · ·Q· · ·But how did you know that Sam Schoonover
  24·   ·audio recording of Mr. Schoonover's call to Himalaya Drug?    24·   ·disclosed a sensitive skin condition if you never reviewed
  25·   · · ·MR. DARNELL:· Objection, exceeds the scope.               25·   ·his phone call?


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  ·1·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·1·   ·you see that?
  ·2·   · · ·THE WITNESS:· A couple of ways that I could have          ·2·   · · ·A· · ·I do.
  ·3·   ·known.· One is in the client write-up.· Second is that        ·3·   · · ·Q· · ·And then you wrote to David Reid at the very top
  ·4·   ·Andrew told me.· A third is that Angel told me.               ·4·   ·of this.· You said, Dave, He called on Wednesday,
  ·5·   ·BY MR. ARHANGELSKY:                                           ·5·   ·July 18th.· Do you see that?
  ·6·   · · ·Q· · ·But you don't know sitting here right now how you   ·6·   · · ·A· · ·I do.
  ·7·   ·would have known that information?                            ·7·   · · ·Q· · ·And that was a reference to -- that was your
  ·8·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·8·   ·reference to when Mr. Baslow called Himalaya?
  ·9·   · · ·THE WITNESS:· That's correct.· Other than knowing that    ·9·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  10·   ·information is true, I don't know what the source of my       10·   · · ·THE WITNESS:· That's a reference to a date that
  11·   ·knowledge of that information 10 years ago was.               11·   ·someone called Himalaya.· Based on Angel's email below I'm
  12·   · · ·MR. ARHANGELSKY:· And you've -- strike that.              12·   ·not sure which call we're referring to there.
  13·   · · · · · ·Okay.· Now I've placed an exhibit in front of       13·   ·BY MR. ARHANGELSKY:
  14·   ·this witness which I've marked as Exhibit 641.· This is a     14·   · · ·Q· · ·Okay.· Andrew Baslow called Himalaya on
  15·   ·document that's Bates No. NTG 61 -- excuse me -- 6229.        15·   ·July 16th, 2012, didn't he?
  16·   · (Plaintiff's Exhibit 641 was marked for identification.)     16·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  17·   ·BY MR. ARHANGELSKY:                                           17·   · · ·THE WITNESS:· Did you say July 16th?
  18·   · · ·Q· · ·Mr. Ferrell, is this a document that NTG produced   18·   ·BY MR. ARHANGELSKY:
  19·   ·to NIC in discovery?                                          19·   · · ·Q· · ·I'm asking, isn't it true that Andrew Baslow
  20·   · · ·A· · ·Yes, it is.                                         20·   ·called the Himalaya Drug Company on July 16th, 2012?
  21·   · · ·Q· · ·Okay.· The bottom of this first page,               21·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  22·   ·Mr. Garganta writes to David Reid and he asks Can you         22·   · · ·THE WITNESS:· I don't independently know, but this
  23·   ·provide me the number from which the investigator called      23·   ·document seems to say to the contrary.
  24·   ·and the date?· We are trying to determine how he could        24·   ·BY MR. ARHANGELSKY:
  25·   ·have possibly been provided inaccurate information.· Do       25·   · · ·Q· · ·All right.· And Mr. Schoonover called Himalaya

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  ·1·   ·Drug Company on July 17th, 2012; is that right?               ·1·   ·Mr. Demulder had a wiretap case that we referred to
  ·2·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·2·   ·Kirtland & Packard.
  ·3·   · · ·THE WITNESS:· So I don't know the -- can you show me      ·3·   · · ·Q· · ·And how many wiretap cases did the NTG firm
  ·4·   ·the document that says where Mr. Schoonover relates his       ·4·   ·pursue using Mr. Demulder as a client?
  ·5·   ·call?                                                         ·5·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·6·   · · ·MR. ARHANGELSKY:· Yes.· You'll need to give me one        ·6·   · · ·THE WITNESS:· As I sit here, I don't know that we
  ·7·   ·minute.                                                       ·7·   ·pursued any other than the one that we just talked about
  ·8·   · · · · · ·Okay.· I've placed the exhibit which is marked      ·8·   ·referring to Kirtland & Packard.
  ·9·   ·635 back in front of the witness.                             ·9·   ·BY MR. ARHANGELSKY:
  10·   · · ·THE WITNESS:· Okay.· So based on this document it         10·   · · ·Q· · ·Would Demulder's wiretap cases have been listed
  11·   ·appears that at least one of Mr. Schoonover's calls took      11·   ·on NTG's case charts in 2012?
  12·   ·place on or before Tuesday, July 17th.· He just says          12·   · · ·MR. DARNELL:· Objection, lacks foundation, exceeds the
  13·   ·recently.                                                     13·   ·scope.
  14·   ·BY MR. ARHANGELSKY:                                           14·   · · ·THE WITNESS:· I don't know that such charts exist; but
  15·   · · ·Q· · ·Okay.· You don't have -- sitting here right now     15·   ·if and to the extent that such charts exist, I would
  16·   ·you don't have an awareness as to what date Mr. Schoonover    16·   ·expect that they would be accurate.· So if you show me
  17·   ·actually called Himalaya Drug Company?                        17·   ·those charts, we can try and discern that information
  18·   · · ·MR. DARNELL:· Objection, exceeds the scope.               18·   ·together.
  19·   · · ·THE WITNESS:· I don't and apparently neither do you       19·   ·BY MR. ARHANGELSKY:
  20·   ·because you've now told me he called on three different       20·   · · ·Q· · ·Was the Demulder v. Carter-Reed case a wiretap
  21·   ·dates and it keeps contradicting itself.                      21·   ·case that involved a minimal bypass?
  22·   ·BY MR. ARHANGELSKY:                                           22·   · · ·MR. DARNELL:· Objection, lacks foundation, exceeds the
  23·   · · ·Q· · ·All right.· Mr. Baslow also worked on a wiretap     23·   ·scope, vague.
  24·   ·case for Mr. Demulder; is that right?                         24·   · · ·THE WITNESS:· I don't know, but there is something
  25·   · · ·A· · ·I don't know for sure, but I believe that           25·   ·that could refresh my memory.· Um, I believe that your


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  ·1·   ·original complaint referenced the recording of               ·1·   ·regarding the recording disclosure?
  ·2·   ·Mr. Demulder's call to Carter-Reed.· So if you show me       ·2·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·3·   ·that and just confirm to me that your assertion was          ·3·   · · ·THE WITNESS:· I am aware that there was no disclosure,
  ·4·   ·accurate there, that would refresh my memory.                ·4·   ·period.
  ·5·   ·BY MR. ARHANGELSKY:                                          ·5·   ·BY MR. ARHANGELSKY:
  ·6·   · · ·Q· · ·I'm just asking about your recollection here       ·6·   · · ·Q· · ·Well, but are you -- are you aware that
  ·7·   ·today.· I'm not -- I can't testify so --                     ·7·   ·Carter-Reed testified that there was a disclosure that was
  ·8·   · · ·A· · ·Well, I -- I know that I've read your summary of   ·8·   ·bypassed by Mr. Demulder?
  ·9·   ·the call that was in your complaint and I know that you      ·9·   · · ·A· · ·No.· That's not consistent with my understanding.
  10·   ·said in the call that someone was in the background          10·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  11·   ·coaching Mr. Demulder and then, when I listened to it,       11·   · · ·THE WITNESS:· But to the extent that there's a
  12·   ·that turned out to be false.                                 12·   ·misunderstanding about it, if you want to show me
  13·   · · ·Q· · ·So let me -- let me ask this:· You're aware that   13·   ·Carter-Reed's testimony, I think it would be very
  14·   ·Carter-Reed was a deponent in this case, right?              14·   ·enlightening because we have had three different
  15·   · · ·A· · ·Yes.                                               15·   ·descriptions of how this phone call went.· Yours has
  16·   · · ·MR. DARNELL:· I'm sorry.                                 16·   ·proven to be inaccurate and the deposition of
  17·   ·BY MR. ARHANGELSKY:                                          17·   ·Carter-Reed's testimony that you just gave I believe is
  18·   · · ·Q· · ·And a representative from Carter-Reed gave         18·   ·inaccurate.
  19·   ·deposition testimony, yes?                                   19·   · · ·MR. ARHANGELSKY:· I've placed a document in front of
  20·   · · ·A· · ·Yes.                                               20·   ·the witness which is marked as Exhibit 642.
  21·   · · ·Q· · ·Did you review that testimony in preparation for   21·   · (Plaintiff's Exhibit 642 was marked for identification.)
  22·   ·your deposition today?                                       22·   ·BY MR. ARHANGELSKY:
  23·   · · ·A· · ·I did.                                             23·   · · ·Q· · ·Mr. Ferrell, can you please review this document
  24·   · · ·Q· · ·And are you aware whether or not Carter-Reed       24·   ·and let me know if this is a document that NTG produced to
  25·   ·indicated that Mr. Demulder had bypassed a warning           25·   ·NIC in this case.

                                                          Page 156                                                            Page 157
  ·1·   · · ·A· · ·Okay.                                              ·1·   ·August 18, 2012, represent a typical confirmation
  ·2·   · · ·Q· · ·Is this a document that NTG produced to NIC in     ·2·   ·statement that clients would send the firm in wiretap
  ·3·   ·this case?                                                   ·3·   ·cases?
  ·4·   · · ·A· · ·Yes.                                               ·4·   · · ·MR. DARNELL:· Objection, vague, objection, exceeds the
  ·5·   · · ·Q· · ·Now, at the bottom of this email -- this first     ·5·   ·scope, lacks foundation.
  ·6·   ·page just marked NTG 000239, Mr. Demulder -- it's an email   ·6·   · · ·THE WITNESS:· I don't know that there is any typical
  ·7·   ·to Mr. Baslow which starts with To whom this may concern     ·7·   ·confirmation statement or, if there is, if this would
  ·8·   ·and then it starts the paragraph I spoke with Mark at        ·8·   ·typify one.
  ·9·   ·HealthyMed around 3:30.· Do you see that part of the         ·9·   ·BY MR. ARHANGELSKY:
  10·   ·documents?                                                   10·   · · ·Q· · ·And on the second page as this email ran on,
  11·   · · ·A· · ·I do.                                              11·   ·Mr. Demulder told Mr. Baslow From the start of the call to
  12·   · · ·Q· · ·Have you reviewed this document in preparation     12·   ·the finish Mark never told me that the call was being
  13·   ·for your deposition here today?                              13·   ·monitored or recorded.· Do you see that?
  14·   · · ·MR. DARNELL:· Objection, exceeds the scope.              14·   · · ·A· · ·Yes.
  15·   · · ·THE WITNESS:· I have not.                                15·   · · ·MR. DARNELL:· Objection -- objection, exceeds the
  16·   ·BY MR. ARHANGELSKY:                                          16·   ·scope.
  17·   · · ·Q· · ·Looking at that bottom email that I just -- I      17·   · · ·THE WITNESS:· Yes.
  18·   ·directed your attention to, is this another circumstance     18·   ·BY MR. ARHANGELSKY:
  19·   ·where Baslow asked an NTG client to send a confirmation      19·   · · ·Q· · ·And did NTG serve a demand letter on HealthyMed
  20·   ·statement regarding the wiretap call?                        20·   ·or any company associated with HealthyMed regarding a CIPA
  21·   · · ·MR. DARNELL:· Objection, exceeds the scope, lacks        21·   ·violation on behalf of Mr. Demulder?
  22·   ·foundation.                                                  22·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  23·   · · ·THE WITNESS:· It does not appear that way.               23·   · · ·THE WITNESS:· Not that I know of.
  24·   ·BY MR. ARHANGELSKY:                                          24·   ·BY MR. ARHANGELSKY:
  25·   · · ·Q· · ·Does this email from Demulder to Baslow on         25·   · · ·Q· · ·Did Demulder ever receive payment in settlement


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                              EXHIBIT 9
                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·for a CIPA case he brought against HealthyMed or any         ·1·   · · · · · ·(WHEREUPON, THE RECORD WAS READ BY THE COURT
  ·2·   ·company associated with HealthyMed?                          ·2·   · · · REPORTER AS FOLLOWS:
  ·3·   · · ·MR. DARNELL:· Objection, exceeds the scope.              ·3·   · · · · · ·"Answer:· No.· I don't think that's
  ·4·   · · ·THE WITNESS:· Not that I know of.                        ·4·   · · · accurate.")
  ·5·   ·BY MR. ARHANGELSKY:                                          ·5·   ·BY MR. ARHANGELSKY:
  ·6·   · · ·Q· · ·Did Mr. Baslow perform an audit call of            ·6·   · · ·Q· · ·So you believe that Mr. Demulder had called
  ·7·   ·HealthyMed?                                                  ·7·   ·Relacore prior to August 25th, 2012?
  ·8·   · · ·MR. DARNELL:· Objection, exceeds the scope.              ·8·   · · ·A· · ·Didn't he reference that he called them on
  ·9·   · · ·THE WITNESS:· As I sit here, I don't know one way or     ·9·   ·August 18th?
  10·   ·the other.                                                   10·   · · ·Q· · ·I'm sorry -- (inaudible.)
  11·   ·BY MR. ARHANGELSKY:                                          11·   · · ·MR. DARNELL:· Did he break up?
  12·   · · ·Q· · ·Just above that message on August 25th, 2012,      12·   · · · · · ·We can't hear you, Peter.
  13·   ·Andrew writes Taylor Demulder and he says Just wanted to     13·   · · ·THE WITNESS:· Oh, it says our connection's been
  14·   ·check in with you as I have not seen your confirmation       14·   ·interrupted.· So I just clicked on it again.· It says
  15·   ·statement come through for the new Relacore wiretap case.    15·   ·Join.· Computer or phone?
  16·   ·Do you still plan on making this call?· If so, please send   16·   · · ·THE VIDEOGRAPHER:· Computer.
  17·   ·over your summary ASAP as I will continue to check my        17·   · · ·THE WITNESS:· Camera?· Speakers?
  18·   ·email for it while I am here in Israel.· Do you see that?    18·   · · ·THE VIDEOGRAPHER:· Yeah.· Camera --
  19·   · · ·A· · ·I do.                                              19·   · · · · · · · · (DISCUSSION HELD OFF RECORD.)
  20·   · · ·Q· · ·Now, as of this date on August 25th, 2012,         20·   · · ·THE WITNESS:· Okay.· We're back on.· I'm not sure if
  21·   ·Mr. Demulder had not yet called the Relacore number; is      21·   ·there's a question pending or an answer pending.
  22·   ·that right?                                                  22·   · · ·MR. ARHANGELSKY:· Oh, okay.· I didn't know if we had
  23·   · · ·A· · ·No.· I don't think that's accurate.                23·   ·gone off record.· Are we on record now?
  24·   · · ·MR. ARHANGELSKY:· I'm sorry.· Could the reporter read    24·   · · ·THE WITNESS:· We are.
  25·   ·back the answer?· I got cut out.                             25·   · · ·MR. ARHANGELSKY:· Can the reporter read back the last

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  ·1·   ·question and answer, please?                                 ·1·   ·BY MR. ARHANGELSKY:
  ·2·   · · · · · ·(WHEREUPON, THE RECORD WAS READ BY THE COURT       ·2·   · · ·Q· · ·I'm referring to the HealthyMed matter that
  ·3·   · · · REPORTER AS FOLLOWS:                                    ·3·   ·Mr. Demulder references in his first email all the way at
  ·4·   · · · · · ·"Question:· So you believe that Mr. Demulder       ·4·   ·the bottom.
  ·5·   · · · had called Relacore prior to August 25th, 2012?         ·5·   · · ·MR. DARNELL:· Objection, assumes facts, exceed the
  ·6·   · · · · · ·"Answer:· Didn't he reference that he called       ·6·   ·scope.
  ·7·   · · · them on August 18th?")                                  ·7·   · · ·THE WITNESS:· I don't have any knowledge of the
  ·8·   · · ·THE REPORTER:· And then we cut out.                      ·8·   ·HealthyMed matter ever proceeding.
  ·9·   ·BY MR. ARHANGELSKY:                                          ·9·   ·BY MR. ARHANGELSKY:
  10·   · · ·Q· · ·Isn't it true, Mr. Ferrell, that Mr. Demulder      10·   · · ·Q· · ·When did NTG inform Mr. Demulder that Carter-Reed
  11·   ·didn't call Relacore until September 2012?                   11·   ·recorded its incoming toll-free calls?
  12·   · · ·MR. DARNELL:· Objection, exceeds the scope.              12·   · · ·MR. DARNELL:· Objection, exceeds the scope, assumes
  13·   · · ·THE WITNESS:· I don't know the date or dates upon        13·   ·facts.
  14·   ·which Mr. Demulder called Relacore and whether it was in     14·   · · ·THE WITNESS:· I don't know that there was ever a
  15·   ·August or September or both or some combination but --       15·   ·conclusive determination that Carter-Reed recorded its
  16·   ·BY MR. ARHANGELSKY:                                          16·   ·incoming calls until they admitted in the litigation that
  17·   · · ·Q· · ·So you don't -- sitting here today you don't       17·   ·they had been violating the law and instituted a change.
  18·   ·know?                                                        18·   ·Until then it was just a suspicion.
  19·   · · ·A· · ·Correct.                                           19·   ·BY MR. ARHANGELSKY:
  20·   · · ·Q· · ·Okay.· Well, certainly as of August 25th, 2012,    20·   · · ·Q· · ·Did Mr. Baslow perform an audit call of
  21·   ·Mr. Demulder had already participated in at least one        21·   ·Carter-Reed's line?
  22·   ·other wiretap case with the NTG firm.· Is that fair?         22·   · · ·A· · ·I would have to see --
  23·   · · ·MR. DARNELL:· Objection, exceeds the scope, lacks        23·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  24·   ·foundation, asked and answered.                              24·   · · ·THE WITNESS:· I would have to look at the documents to
  25·   · · ·THE WITNESS:· Which case are you referring to?           25·   ·know.


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                              EXHIBIT 9
                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·BY MR. ARHANGELSKY:                                           ·1·   · · ·Q· · ·Why did NTG refer this case to Kirtland, Packard
  ·2·   · · ·Q· · ·You don't know sitting here now whether             ·2·   ·instead of handling it directly?
  ·3·   ·Mr. Baslow audited Carter-Reed?                               ·3·   · · ·A· · ·I don't know specifically, but it probably
  ·4·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·4·   ·involved a number of different factors.
  ·5·   · · ·THE WITNESS:· Correct.· As I sit here, I don't know.      ·5·   · · ·Q· · ·You don't recall accurately which factors were in
  ·6·   · · ·MR. ARHANGELSKY:· I have placed an exhibit in front of    ·6·   ·play for Mr. Demulder?
  ·7·   ·the witness which we've marked as Exhibit 643 and has         ·7·   · · ·A· · ·I do know that Mike Kelly was very eager to
  ·8·   ·Bates No. NTG 6703.                                           ·8·   ·pursue a case all the way to judgement through class
  ·9·   · (Plaintiff's Exhibit 643 was marked for identification.)     ·9·   ·certification and so forth to try to extend the law in
  10·   ·BY MR. ARHANGELSKY:                                           10·   ·this area.· And so one of the factors that we typically
  11·   · · ·Q· · ·Mr. Ferrell, is this a document that NTG produced   11·   ·considered in referring cases to him was if a defendant
  12·   ·to NIC in discovery?                                          12·   ·seemed inclined to try to litigate the case to judgement
  13·   · · ·A· · ·Yes.                                                13·   ·so that it would be a good fit for Mr. Kelly.
  14·   · · ·Q· · ·And in the bottom email here on September 11,       14·   · · ·Q· · ·And why was it necessary to prepare your clients
  15·   ·2012, you wrote that, Dad and Andrew, Can we please have      15·   ·for the interview with Heather Baker before they spoke?
  16·   ·the clients below prepared for an interview with Heather      16·   · · ·A· · ·One of the things that I learned in pursuing
  17·   ·and call her tomorrow, and under the redacted portion says    17·   ·consumer cases was that oftentimes a defendant will be
  18·   ·Relacore, dash, Taylor Demulder.· Do you see that?            18·   ·deceitful and try to bypass the attorney/client
  19·   · · ·A· · ·Yes.                                                19·   ·relationship by doing things like setting up false or
  20·   · · ·Q· · ·When you reference Heather in this email, are you   20·   ·defamatory websites or hiring criminal private
  21·   ·referring to Heather Baker at Kirtland, Packard?              21·   ·investigators to harass a client.· And so we always tell
  22·   · · ·A· · ·I believe so.                                       22·   ·our clients that they should not speak with the case about
  23·   · · ·Q· · ·And you referred Mr. Demulder's case to             23·   ·anyone -- or speak with anyone about the case unless we've
  24·   ·Kirtland & Packard; is that right?                            24·   ·given them the authority to do so.· And so in order for
  25·   · · ·A· · ·Yes.                                                25·   ·Heather or anyone else to speak to our clients, the

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  ·1·   ·clients would have to be prepared to know that she was an     ·1·   ·Heather Baker and Taylor Demulder went or what they
  ·2·   ·ally and not someone who is going to try to deceive them.     ·2·   ·discussed in that interview.
  ·3·   ·BY MR. ARHANGELSKY:                                           ·3·   ·BY MR. ARHANGELSKY:
  ·4·   · · ·Q· · ·Did NTG inform Kirtland & Packard that Mr. Baslow   ·4·   · · ·Q· · ·Did NTG ever inform Kirtland & Packard that
  ·5·   ·was in contact with Taylor Demulder about the Relacore        ·5·   ·Demulder had already pursued at least one other wiretap
  ·6·   ·wiretap case before Mr. Demulder had called the Relacore      ·6·   ·matter with NTG weeks earlier on August 2012?
  ·7·   ·phone line?                                                   ·7·   · · ·MR. DARNELL:· Objection, assumes facts, exceeds the
  ·8·   · · ·MR. DARNELL:· Objection, exceeds the scope, assumes       ·8·   ·scope, vague as phrased.
  ·9·   ·facts, vague.                                                 ·9·   · · ·THE WITNESS:· So I don't think he had pursued another
  10·   · · ·THE WITNESS:· Okay.· So there's a lot to unpack with      10·   ·matter.· And if he had pursued another matter, it
  11·   ·that question.· I think you're asking whether we disclosed    11·   ·certainly won't impact the viability of his other matter.
  12·   ·to Kirtland & Packard that Mr. Demulder's call may have       12·   ·And since this was a decade ago, I don't know what
  13·   ·been recorded and that Mr. Baslow had done an                 13·   ·Mr. Demulder told Ms. Baker in their call that I was not a
  14·   ·investigatory call to determine whether it was recorded.      14·   ·party to.
  15·   · · ·MR. ARHANGELSKY:· That's not my question, Mr. Ferrell.    15·   ·BY MR. ARHANGELSKY:
  16·   · · ·Q· · ·Did NTG inform Kirtland & Packard that Baslow was   16·   · · ·Q· · ·Now, Carter-Reed eventually sued Mr. Demulder in
  17·   ·in contact with Taylor Demulder about the Relacore wiretap    17·   ·Utah for abuse of process; is that right?
  18·   ·case before Demulder had placed his call to the Relacore      18·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  19·   ·phone line?                                                   19·   · · ·THE WITNESS:· I know there was subsequent litigation.
  20·   · · ·MR. DARNELL:· Objection, vague, exceeds the scope. I      20·   ·I don't know what the specific claims were.
  21·   ·think you're assuming something that doesn't exist.           21·   ·BY MR. ARHANGELSKY:
  22·   · · ·THE WITNESS:· But, regardless, other than saying we       22·   · · ·Q· · ·Oh, did NTG represent Mr. Demulder in that Utah
  23·   ·made a practice of trying to disclose to our referral         23·   ·proceeding?
  24·   ·partners all material facts, I don't know what                24·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  25·   ·communication was disclosed or how the interview between      25·   · · ·THE WITNESS:· I believe we hired Utah counsel to


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·represent him.                                                ·1·   · · ·THE WITNESS:· As I sit here, I don't know.
  ·2·   ·BY MR. ARHANGELSKY:                                           ·2·   · · · · · ·I do know that after that the president of Basic
  ·3·   · · ·Q· · ·Did NTG play any role in the Utah litigation?       ·3·   ·Research and its subsidiary Carter-Reed apologized to me
  ·4·   · · ·MR. DARNELL:· Objection, vague as phrased, exceeds the    ·4·   ·for their actions.
  ·5·   ·scope.                                                        ·5·   ·BY MR. ARHANGELSKY:
  ·6·   · · ·THE WITNESS:· I believe so.                               ·6·   · · ·Q· · ·As part of the settlement agreement within the
  ·7·   ·BY MR. ARHANGELSKY:                                           ·7·   ·Utah case Carter-Reed versus Demulder, did NTG or you
  ·8·   · · ·Q· · ·And that case settled, right?                       ·8·   ·agree never to sue Basic Research again?
  ·9·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·9·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  10·   · · ·THE WITNESS:· I believe so.                               10·   · · ·THE WITNESS:· I would have to look at the settlement
  11·   ·BY MR. ARHANGELSKY:                                           11·   ·agreement.
  12·   · · ·Q· · ·And as part of that settlement, did NTG pay         12·   ·BY MR. ARHANGELSKY:
  13·   ·Carter-Reed $74,999?                                          13·   · · ·Q· · ·At what point did NTG decide to use Andrew Nilon
  14·   · · ·MR. DARNELL:· Objection, vague as phrased.· Objection,    14·   ·in a wiretapping case?
  15·   ·exceeds the scope.                                            15·   · · ·MR. DARNELL:· Objection, assumes facts.
  16·   · · ·THE WITNESS:· I don't know.                               16·   · · ·THE WITNESS:· I don't know.· Probably shortly after --
  17·   ·BY MR. ARHANGELSKY:                                           17·   ·BY MR. ARHANGELSKY:
  18·   · · ·Q· · ·Did NTG pay Carter-Reed as part of that             18·   · · ·Q· · ·At some point --
  19·   ·settlement in Utah?                                           19·   · · ·A· · ·I'm sorry.· Go ahead.
  20·   · · ·MR. DARNELL:· Objection, exceeds the scope.               20·   · · ·Q· · ·No.· Please finish your answer.
  21·   · · ·THE WITNESS:· As I sit here, I don't know.                21·   · · ·A· · ·Probably sometime after he asked us to.
  22·   ·BY MR. ARHANGELSKY:                                           22·   · · ·Q· · ·And was Andrew Baslow the NTG field rep.
  23·   · · ·Q· · ·Do you know if Mr. Demulder paid any money to       23·   ·assigned to the ChromaDex case in 2013?
  24·   ·Carter-Reed as part of that settlement?                       24·   · · ·A· · ·I believe so.
  25·   · · ·MR. DARNELL:· Objection, exceeds the scope.               25·   · · ·Q· · ·And Andrew Baslow called the ChromaDex BluScience

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  ·1·   ·phone line for a wiretapping audit, did he not?               ·1·   ·Trycia Carlberg; is that right?
  ·2·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·2·   · · ·A· · ·Did you say Trycia Carlberg?
  ·3·   · · ·THE WITNESS:· I would have to look at the documents to    ·3·   · · ·Q· · ·Yes.
  ·4·   ·know for sure.                                                ·4·   · · ·A· · ·Yes.
  ·5·   ·BY MR. ARHANGELSKY:                                           ·5·   · · ·Q· · ·Mrs. Carlberg had stage IV breast cancer in 2011;
  ·6·   · · ·Q· · ·But sitting here right now you can't tell me when   ·6·   ·is that right?
  ·7·   ·or if Mr. Baslow contacted ChromaDex for an audit?            ·7·   · · ·A· · ·Sometime in 2011, her breast cancer proceeded
  ·8·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·8·   ·from stage III to stage IV.
  ·9·   · · ·THE WITNESS:· Correct.· As I sit here, I don't know.      ·9·   · · ·Q· · ·And she was hospitalized in 2011; is that right?
  10·   ·But I'm happy to go through documents with you to discern     10·   · · ·A· · ·She was in and out of the hospital, but she
  11·   ·that.                                                         11·   ·didn't go into her final hospice care until either late
  12·   · · · · · ·Also, your next available stopping point can we     12·   ·March or early April of 2012.
  13·   ·make a very quick restroom break?                             13·   · · ·Q· · ·And was she residing in your house in
  14·   · · ·MR. ARHANGELSKY:· Yeah.· Let's stop right now.· This      14·   ·December 2011?
  15·   ·is a good time.                                               15·   · · ·A· · ·Yes.
  16·   · · ·THE WITNESS:· Thank you.                                  16·   · · ·Q· · ·At any point in December 2011 did -- was she
  17·   · · ·THE VIDEOGRAPHER:· This is the end of Media File          17·   ·admitted to the hospital?
  18·   ·No. 5.· We're now going off the record.· The time is          18·   · · ·A· · ·My concern is the word admitted.· I don't believe
  19·   ·3:10 p.m.                                                     19·   ·at any time in December of 2011 she spent an overnight at
  20·   · · · · · · · · · · · ·(BRIEF RECESS.)                         20·   ·the hospital, but she had frequent visits to hospitals for
  21·   · · ·THE VIDEOGRAPHER:· This is the beginning of Media File    21·   ·her various maladies.
  22·   ·No. 6.· We're now going on the record.· The time is           22·   · · ·Q· · ·Okay.· When she was not visiting the hospital,
  23·   ·3:17 p.m.                                                     23·   ·was she generally residing in your house the entire month
  24·   ·BY MR. ARHANGELSKY:                                           24·   ·of December 2011?
  25·   · · ·Q· · ·Mr. Ferrell, you're familiar with someone named     25·   · · ·A· · ·Yes.


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                               EXHIBIT 9
                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   · · ·Q· · ·And at some point you decided that                  ·1·   · · ·Q· · ·And --
  ·2·   ·Trycia Carlberg might serve as a class representative in      ·2·   · · ·A· · ·I believe it -- I'm sorry.· I believe it may have
  ·3·   ·litigation against Natural Immunogenics?                      ·3·   ·been Wellnx NV.
  ·4·   · · ·A· · ·Yes, but there's more to the story.· But, yes,      ·4·   · · ·Q· · ·Is that a dietary supplement?
  ·5·   ·that is accurate.                                             ·5·   · · ·A· · ·I believe it's considered a dietary supplement by
  ·6·   · · ·Q· · ·Is it fair to say that you decided she could be a   ·6·   ·the FDA, yes.
  ·7·   ·class representative against Natural Immunogenics on          ·7·   · · ·Q· · ·And did you conclude that she had a claim against
  ·8·   ·December 24th, 2011?                                          ·8·   ·Wellnx at the same time as you concluded she had a claim
  ·9·   · · ·A· · ·It's fair to say that on December 24th and          ·9·   ·against Natural Immunogenics?
  10·   ·December 25th, 2011, I discerned that they definitely had     10·   · · ·A· · ·I don't know if I made the conclusion at an
  11·   ·a basis to assert claims against both Natural Immunogenics    11·   ·identical time, but I made them very close to each other.
  12·   ·and a company called Wellnx.                                  12·   · · ·Q· · ·And NTG served a demand letter in December 2011
  13·   · · ·Q· · ·I'm sorry.· That was Well Max?                      13·   ·on behalf of Ms. Carlberg; is that correct?
  14·   · · ·A· · ·Well, W-E-L-L, N-X.                                 14·   · · ·A· · ·To NIC or to Wellnx?
  15·   · · ·Q· · ·And what type of claim did she have against         15·   · · ·Q· · ·I'm sorry.· To NIC.
  16·   ·Wellnx?                                                       16·   · · ·A· · ·Yes.
  17·   · · ·A· · ·A strong one.                                       17·   · · ·Q· · ·Did NIC respond to that demand letter?
  18·   · · ·Q· · ·Was that a CLRA claim?                              18·   · · ·A· · ·I received an email from NIC's counsel
  19·   · · ·A· · ·It was a claim related to her taking one of their   19·   ·acknowledging receipt of the demand letter, but -- and
  20·   ·products that was supposed to help her with the bloating      20·   ·saying that NIC or their counsel would write more which I
  21·   ·caused by various of her cancer-related treatments.           21·   ·expected would happen because my demand letter on behalf
  22·   · · ·Q· · ·And what products specifically was it that Wellnx   22·   ·of Trycia specifically said that if they would just stop
  23·   ·sold that Ms. Carlberg was taking?                            23·   ·violating the law that we would consider the matter closed
  24·   · · ·A· · ·I would have to look at the demand letter to know   24·   ·and take no further action.· Um --
  25·   ·for sure.                                                     25·   · · ·Q· · ·You asked -- sorry.· You asked Victoria Knowles

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  ·1·   ·to draft the demand letter to NIC on December 25th, 2011;     ·1·   ·suit on behalf of Trycia Carlberg against Natural
  ·2·   ·is that right?                                                ·2·   ·Immunogenics.· Is that fair?
  ·3·   · · ·A· · ·That date seems correct to me.                      ·3·   · · ·A· · ·No.· I don't think that's fair to say.· Um, I
  ·4·   · · ·MR. ARHANGELSKY:· All right.· I've placed a document      ·4·   ·said specifically in the letter that I sent them that all
  ·5·   ·on the screen in front of the witness which we've marked      ·5·   ·we wanted them to do was to stop violating the law because
  ·6·   ·as Exhibit 644 and the Bates number is NTG 22163.             ·6·   ·they were encouraging people to do something that could
  ·7·   · (Plaintiff's Exhibit 644 was marked for identification.)     ·7·   ·kill them, to ingest silver, which the FDA had already
  ·8·   ·BY MR. ARHANGELSKY:                                           ·8·   ·told them not to do and which also violated California
  ·9·   · · ·Q· · ·Does this letter look familiar, Mr. Ferrell?        ·9·   ·law.· And I said if you'll just conform your activities to
  10·   · · ·A· · ·Yes.                                                10·   ·comply with California law, we will take no further action
  11·   · · ·Q· · ·Is this the letter that you would serve on          11·   ·in this matter.· So I don't think it's fair to say that I
  12·   ·Natural Immunogenics in December 2011?                        12·   ·was already planning to sue them on December 27th.
  13·   · · ·MR. DARNELL:· Objection, vague.                           13·   · · ·Q· · ·If NIC didn't respond to your demand letter at
  14·   · · · · · ·Counsel, do you have a better version?              14·   ·all, were you prepared as of December 27, 2011, to pursue
  15·   · · ·MR. ARHANGELSKY:· No.                                     15·   ·litigation on behalf of Trycia Carlberg?
  16·   · · ·MR. DARNELL:· I mean, maybe one that's signed or one      16·   · · ·A· · ·Yes.
  17·   ·that was -- actually we know was sent?· I mean, do you        17·   · · ·Q· · ·But you later determined that Ms. Carlberg wasn't
  18·   ·want to use this?                                             18·   ·fit for litigation; is that fair?
  19·   · · ·MR. ARHANGELSKY:· I'm not sure.                           19·   · · ·A· · ·No.· That's not accurate.· I concluded that she
  20·   · · ·MR. DARNELL:· Okay.· If you want to use this --           20·   ·would likely not be the right person to be a class
  21·   · · ·MR. ARHANGELSKY:· I don't think that we could find a      21·   ·representative against a company like Natural Immunogenics
  22·   ·signed version but -- it might take me a few minutes to       22·   ·as I learned more about them.
  23·   ·get you that and so I don't think it's necessary at this      23·   · · ·Q· · ·And when did you make that determination that she
  24·   ·point.· We'll move on.· We'll come back.                      24·   ·might not be an adequate class representative?
  25·   · · ·Q· · ·As of December 27, 2011, you intended to file       25·   · · ·A· · ·It was a gradation decision.· As I learned more


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·about the company and as her health deteriorated in 2012,    ·1·   ·But we're including it for sake of completeness.
  ·2·   ·my concerns about how the litigation would play out began    ·2·   · (Plaintiff's Exhibit 645 was marked for identification.)
  ·3·   ·to grow and I had concerns about exposing Trycia to the      ·3·   ·BY MR. ARHANGELSKY:
  ·4·   ·kind of misconduct that I feared that they might engage      ·4·   · · ·Q· · ·Do you recognize this declaration that you filed
  ·5·   ·in.· And so I asked, I believe, both of our field            ·5·   ·in this lawsuit?
  ·6·   ·representatives to determine whether other suitable          ·6·   · · ·A· · ·Can you give me permission to review this right
  ·7·   ·claimants had taken the product who might be more durable    ·7·   ·now?
  ·8·   ·than Trycia.                                                 ·8·   · · ·Q· · ·Oh, absolutely.
  ·9·   · · ·Q· · ·Okay.· And you reached that conclusion about       ·9·   · · ·A· · ·It doesn't look like I have -- now it does.
  10·   ·Ms. Carlberg in the middle part of January 2012; is that     10·   ·Thank you.
  11·   ·right?                                                       11·   · · ·Q· · ·Yes.· And then, Mr. Ferrell, while you're
  12·   · · ·A· · ·It was a gradation decision as --                  12·   ·reviewing the document, I'll represent that I intend to
  13·   · · ·Q· · ·But by the middle part of January 2012, you had    13·   ·ask you questions regarding paragraph 14 in this
  14·   ·decided that she was no longer someone who should be a       14·   ·declaration.
  15·   ·class representative in the lawsuit?                         15·   · · ·A· · ·Thank you.
  16·   · · ·A· · ·As I sit here today, I don't know when a final     16·   · · · · · ·Okay.
  17·   ·decision was made, but I believe that there are documents    17·   · · ·Q· · ·You stated in paragraph 14 that in the middle
  18·   ·that would refresh my memory as to the date when that        18·   ·part of January 2012, you concluded that It would be
  19·   ·decision was going on.                                       19·   ·prudent to try to identify additional consumers of
  20·   · · ·MR. ARHANGELSKY:· Okay.· I've placed a document in       20·   ·Sovereign Silver who had complaints about the product who
  21·   ·front of the witness which we've marked as Exhibit 645       21·   ·may be suitable to serve as a class representative to
  22·   ·which is Docket 812 from the instant litigation.· The        22·   ·pursue potential claims through litigation against NIC.
  23·   ·title of the document is Notice of Public Docketing of       23·   ·Do you see that statement that you made?
  24·   ·Declaration of Scott J. Ferrell Pursuant to Minute Order,    24·   · · ·A· · ·I do.
  25·   ·Docket No. 809.· This document is lengthy and -- 49 pages.   25·   · · ·Q· · ·And does that refresh your recollection as to

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  ·1·   ·when in January 2012 you decided that Ms. Carlberg would     ·1·   ·and his family had what can only be described as
  ·2·   ·not be suitable for litigation?                              ·2·   ·apocalyptic tendencies, that one of his sons was a
  ·3·   · · ·A· · ·It does not.                                       ·3·   ·convicted felon, and that two of his other sons had filed
  ·4·   · · ·Q· · ·All right.                                         ·4·   ·sworn statements accusing federal judges of being
  ·5·   · · ·A· · ·It does identify the dates on which -- or the      ·5·   ·terrorists controlled by the deep state.· I learned that
  ·6·   ·date range on which I concluded it would be prudent to try   ·6·   ·the FDA had instructed the company to stop engaging in
  ·7·   ·to identify additional consumers in the event that           ·7·   ·certain false marketing and that the company had ignored
  ·8·   ·Trycia's condition continued to worsen.                      ·8·   ·it.· And there were probably other things -- oh, I also
  ·9·   · · ·Q· · ·Now, did you learn anything about Natural          ·9·   ·did a fairly deep dive into just how harmful and deadly it
  10·   ·Immunogenics by January 2012 that gave you concern that      10·   ·could be to ingest silver, learned about how it can cause
  11·   ·NIC would be hostile in litigation?                          11·   ·what I believe is called argyria, which causes a person's
  12·   · · ·A· · ·Yes.                                               12·   ·skin to turn blue, how it can -- can and has killed people
  13·   · · ·Q· · ·And what did you learn?                            13·   ·before who have over-ingested it and concluded that I was
  14·   · · ·A· · ·Quite a number of things.· First, I was shocked    14·   ·staring into an abyss of evil.
  15·   ·that when I sent them a letter saying all I want from you    15·   · · ·Q· · ·Okay.· And you had found all that information out
  16·   ·is to stop violating the law that they didn't just           16·   ·by January 2012?
  17·   ·acknowledge that and say, okay, we'll stop making these      17·   · · ·A· · ·I had found --
  18·   ·claims that are illegal.· When that didn't happen, I         18·   · · ·Q· · ·Yes or no?
  19·   ·investigated further and found additional troubling          19·   · · ·A· · ·I had found a great deal of information out by
  20·   ·information.                                                 20·   ·January 2012.· Since that time I found out additional
  21·   · · · · · ·I learned that the company had been funded with    21·   ·information that can only be described as shockingly
  22·   ·money stolen or looted from an airline and that the          22·   ·felonious.
  23·   ·founder had moved to Florida to prevent the funds that had   23·   · · ·Q· · ·All right.· All right.· So how many lawsuits did
  24·   ·been looted from being taken under Florida's favorable       24·   ·the NTG firm file on behalf of Ms. Carlberg?
  25·   ·asset protection laws.· I then learned that the founder      25·   · · ·MR. DARNELL:· Objection, exceeds the scope.


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   · · ·THE WITNESS:· I don't believe that we filed any of the    ·1·   ·one of those two.
  ·2·   ·lawsuits that I found out about in December of 2011. I        ·2·   · · ·Q· · ·Did she recover two settlements in 2012?
  ·3·   ·believe that we referred one to another firm, that we         ·3·   · · ·A· · ·Yes.
  ·4·   ·settled one at the demand letter stage.· And then, the        ·4·   · · ·Q· · ·So she recovered against Wellnx and Brett
  ·5·   ·instant lawsuit, as we discussed, as Trycia's condition       ·5·   ·Titanium Bracelet?
  ·6·   ·worsened and I learned additional troubling facts about       ·6·   · · ·A· · ·Yes.
  ·7·   ·Natural Immunogenics, we began to search for additional,      ·7·   · · ·Q· · ·To your knowledge did Ms. Carlberg serve any
  ·8·   ·suitable claimants.                                           ·8·   ·other demand letters in 2012 against any other companies
  ·9·   · · ·MR. ARHANGELSKY:· I've placed a document in front of      ·9·   ·other than Wellnx, titanium -- Brett Titanium Bracelet,
  10·   ·the witness which we've marked as Exhibit 646.                10·   ·and Natural Immunogenics?
  11·   · (Plaintiff's Exhibit 646 was marked for identification.)     11·   · · ·A· · ·Not to my knowledge.· And I don't know if a
  12·   ·BY MR. ARHANGELSKY:                                           12·   ·demand letter was served in the Brett Titanium Bracelet
  13·   · · ·Q· · ·Mr. Ferrell, is this a document that NTG's          13·   ·case or not.
  14·   ·produced to NIC in this case?                                 14·   · · ·Q· · ·But a complaint was filed in her name in the
  15·   · · ·A· · ·Yes.                                                15·   ·Brett Titanium Bracelet case; is that right?
  16·   · · ·Q· · ·And on the first page at the very bottom you        16·   · · ·A· · ·I believe so.
  17·   ·wrote to Sariah Para and Ms. Carlberg and you said,           17·   · · ·Q· · ·And that was filed in 2012?
  18·   ·Sariah, Can you please -- can you bring Trycia's check        18·   · · ·A· · ·I would have to look at the date since it was not
  19·   ·from the most recent settlement to dinner tomorrow?· Do       19·   ·my firm that filed it.
  20·   ·you see that?                                                 20·   · · ·Q· · ·Did she sign a retainer agreement with your firm
  21·   · · ·A· · ·Yes.                                                21·   ·in February 2012?
  22·   · · ·Q· · ·And was this in association with Ms. Carlberg's     22·   · · ·A· · ·In the Brett Titanium case?
  23·   ·claim against Brett Titanium Bracelet?                        23·   · · ·Q· · ·Yes.
  24·   · · ·A· · ·It was either in conjunction with the settlement    24·   · · ·A· · ·I don't recall whether she signed one with us or
  25·   ·of Brett Titanium Bracelet or her claim against Wellnx NV,    25·   ·whether she signed one with Kirtland & Packard or whether

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  ·1·   ·she signed with both of us, but I believe that documents      ·1·   · · ·MR. ARHANGELSKY:· I've put another document in front
  ·2·   ·exist that would reflect what the reality was.                ·2·   ·of the witness which we have marked as Exhibit 648.· This
  ·3·   · · ·MR. ARHANGELSKY:· All right.· I've placed a document      ·3·   ·is a document with the Bates No. NTG 22177.
  ·4·   ·in front of the witness which is marked as Exhibit 647.       ·4·   · (Plaintiff's Exhibit 648 was marked for identification.)
  ·5·   · (Plaintiff's Exhibit 647 was marked for identification.)     ·5·   ·BY MR. ARHANGELSKY:
  ·6·   ·BY MR. ARHANGELSKY:                                           ·6·   · · ·Q· · ·Mr. Ferrell, can you review this?· And my
  ·7·   · · ·Q· · ·Please take a look at this document.                ·7·   ·question is, is this a document that NTG provided to NIC
  ·8·   · · ·A· · ·I see that.                                         ·8·   ·in discovery?
  ·9·   · · ·Q· · ·Do you recognize the document?                      ·9·   · · ·A· · ·Yes, it is.
  10·   · · ·A· · ·I do.                                               10·   · · ·Q· · ·And here at the bottom on the first page -- it's
  11·   · · ·Q· · ·And what is this?                                   11·   ·only a one-page document.· At the bottom of the page it
  12·   · · ·A· · ·The first four pages of the document are the hard   12·   ·says -- this is an email that you wrote to your father
  13·   ·copy of -- or the soft copy of the engagement letter with     13·   ·Wynn Ferrell -- Dad, Can you remind me who it was that
  14·   ·Ms. Carlberg in the Brett Titanium Bracelet case.· The        14·   ·complained about this product?· I've got a box of it,
  15·   ·final page is a picture that I took of her signature, my      15·   ·attached, but I've lost my notes on it.· Do you see that?
  16·   ·signature and the final page and that I emailed to            16·   · · ·A· · ·Yes.
  17·   ·someone.                                                      17·   · · ·Q· · ·All right.· Were you referring to Andrew Nilon
  18·   · · ·Q· · ·Okay.· So it appears, would you agree, that         18·   ·when you wrote this email to your father on January 22nd?
  19·   ·Ms. Carlberg signed this retainer agreement on February 8,    19·   · · ·A· · ·I don't believe so.
  20·   ·2012?                                                         20·   · · ·MR. DARNELL:· Peter, before you ask the next
  21·   · · ·A· · ·Yes.                                                21·   ·question -- Peter, is there a second page to this
  22·   · · ·Q· · ·And the Brett Titanium case was filed in her name   22·   ·document?
  23·   ·sometime after that, right?                                   23·   · · ·MR. ARHANGELSKY:· I -- I don't know that there is.
  24·   · · ·A· · ·I don't know when the Kirtland & Packard firm       24·   · · ·MR. DARNELL:· I just want to make sure I'm not missing
  25·   ·filed that case.                                              25·   ·something.· It looks like there might be.· But go ahead.


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                               EXHIBIT 9
                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   · · ·MR. ARHANGELSKY:· Well, I -- I -- the version that I      ·1·   · · ·Q· · ·Sitting here today do you recall that
  ·2·   ·have here, it looks like I only have one page, but we can     ·2·   ·conversation that you had with your father?
  ·3·   ·look at a break to determine whether or not it's              ·3·   · · ·A· · ·I don't.
  ·4·   ·incomplete.                                                   ·4·   · · ·Q· · ·Sitting here today do you have the name of any
  ·5·   · · ·Q· · ·My question is, do you know who you were            ·5·   ·individual other than Mr. Nilon who might have been a
  ·6·   ·referring to when you were asking your father, informing      ·6·   ·plaintiff in the NIC case?
  ·7·   ·him about the product -- I'm sorry -- the person who          ·7·   · · ·A· · ·Other than Ms. Carlberg and Mr. Nilon?
  ·8·   ·complained about the product?                                 ·8·   · · ·Q· · ·Sure.
  ·9·   · · ·A· · ·In reviewing this document for my deposition        ·9·   · · ·A· · ·I don't.· That's why I was asking my dad.
  10·   ·today, it appears to, at least as I read it, refer to two     10·   · · ·Q· · ·Okay.· NTG replaced Andrew Nilon -- excuse me.
  11·   ·different plaintiffs who we were screening that had           11·   ·Strike that.
  12·   ·been -- either contacted the office and had been routed to    12·   · · · · · ·NTG substituted Andrew Nilon with
  13·   ·my dad or who my dad had inquired about, potential            13·   ·Giovanni Sandoval as a plaintiff in the NIC litigation in
  14·   ·claimants, and brought two different people back.             14·   ·2014; is that right?
  15·   · · ·Q· · ·Okay.· Where does it mention two different people   15·   · · ·A· · ·Yes.
  16·   ·in this document?                                             16·   · · ·Q· · ·Did NTG have a field representative assigned to
  17·   · · ·A· · ·Well, it doesn't explicitly.· But if you put the    17·   ·Mr. Sandoval?
  18·   ·email exchange together, I'm saying -- I'm referencing a      18·   · · ·A· · ·Not that I know of.
  19·   ·conversation I had with my dad prior to January 22nd and      19·   · · ·Q· · ·Did any NTG field rep. communicate with
  20·   ·then I'm saying, dad, can you remind me and then later        20·   ·Mr. Sandoval at any point between 2013 and 2015?
  21·   ·he's saying, Scott, can you remind me.· So it seems like      21·   · · ·A· · ·I don't believe so.
  22·   ·we were talking about two different people and that           22·   · · ·Q· · ·Was NTG in contact with someone named
  23·   ·that -- and my dad said can you call me so we can chat        23·   ·Heidi Franco in 2013?
  24·   ·because I think he realized that one or both of us were       24·   · · ·A· · ·I don't know.
  25·   ·talking about different people.                               25·   · · ·Q· · ·Was Ms. Heidi Franco an NTG client at any point

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  ·1·   ·in 2013?                                                      ·1·   ·scope of the deposition notice.
  ·2·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·2·   · · ·THE WITNESS:· Okay.· And I'm looking at page 3.
  ·3·   · · ·THE WITNESS:· I don't know.                               ·3·   · · ·MR. ARHANGELSKY:· Yes.
  ·4·   ·BY MR. ARHANGELSKY:                                           ·4·   · · ·THE WITNESS:· Okay.
  ·5·   · · ·Q· · ·Do you know if NTG ever served a demand letter on   ·5·   ·BY MR. ARHANGELSKY:
  ·6·   ·behalf of Ms. Franco?                                         ·6·   · · ·Q· · ·Mr. Baslow testified in this case that in
  ·7·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·7·   ·October 2013 he attempted to contact Cynthia Sandoval by
  ·8·   · · ·THE WITNESS:· Not that I know of.                         ·8·   ·dialing the phone number 619-952-9832 about her own legal
  ·9·   ·BY MR. ARHANGELSKY:                                           ·9·   ·matter and that Ms. Sandoval was a client of Newport Trial
  10·   · · ·Q· · ·Did NTG ever refer Ms. Heidi Franco to another      10·   ·Group.· Did I read that correctly?
  11·   ·attorney or law firm for litigation purposes in 2012 or       11·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  12·   ·2013?                                                         12·   · · ·THE WITNESS:· That's what it appears to say to me.
  13·   · · ·MR. DARNELL:· Objection, exceeds the scope.               13·   ·BY MR. ARHANGELSKY:
  14·   · · ·THE WITNESS:· Not that I know of.                         14·   · · ·Q· · ·Did the NTG firm pursue a CLRA case on behalf of
  15·   · · ·MR. ARHANGELSKY:· All right.· Now I've placed a           15·   ·Cynthia Sandoval at any point in 2013?
  16·   ·document in front of the witness which will be marked as      16·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  17·   ·Exhibit 649 and this is a document that was filed as          17·   · · ·THE WITNESS:· Not that I know of.
  18·   ·Docket 140 in the instant matter.                             18·   ·BY MR. ARHANGELSKY:
  19·   · (Plaintiff's Exhibit 649 was marked for identification.)     19·   · · ·Q· · ·Did Cynthia Sandoval receive money in litigation
  20·   ·BY MR. ARHANGELSKY:                                           20·   ·through a settlement in 2013 through the NTG firm?
  21·   · · ·Q· · ·Mr. Ferrell, could you please take a look at this   21·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  22·   ·document or collection of documents?· And specifically I'm    22·   · · ·THE WITNESS:· Not that I know of.
  23·   ·going to ask you questions about Mr. Baslow's declaration     23·   ·BY MR. ARHANGELSKY:
  24·   ·which appears on page -- I believe it's page 3.               24·   · · ·Q· · ·Okay.· Was Mr. Baslow an assigned NTG field rep.
  25·   · · ·MR. DARNELL:· And I'll just object this exceeds the       25·   ·related to Ms. Cynthia Sandoval in 2013?


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                               EXHIBIT 9
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  ·1·   · · ·MR. DARNELL:· Objection, exceeds the scope, lacks         ·1·   · (Plaintiff's Exhibit 650 was marked for identification.)
  ·2·   ·foundation.                                                   ·2·   ·BY MR. ARHANGELSKY:
  ·3·   · · ·THE WITNESS:· Other than what it says here in             ·3·   · · ·Q· · ·Mr. Ferrell, please review this document.· My
  ·4·   ·paragraph two of his declaration, I don't know.               ·4·   ·question will be whether this is a document that NTG has
  ·5·   ·BY MR. ARHANGELSKY:                                           ·5·   ·produced to NIC in this case.
  ·6·   · · ·Q· · ·Do you know what the purpose of Mr. Baslow          ·6·   · · ·A· · ·Yes.
  ·7·   ·contacting Cynthia Sandoval was in October 2013?              ·7·   · · ·Q· · ·Okay.· And at the top here you wrote to your
  ·8·   · · ·MR. DARNELL:· Objection, exceeds the scope.               ·8·   ·father Wynn Ferrell, Hi, Dad.· Thanks for handling the
  ·9·   · · ·THE WITNESS:· I don't.                                    ·9·   ·wiretaps below.· Do you see that?
  10·   ·BY MR. ARHANGELSKY:                                           10·   · · ·A· · ·I do.
  11·   · · ·Q· · ·Now, was your father Wynn Ferrell the field         11·   · · ·Q· · ·And does that refresh your recollection as to
  12·   ·representative who assisted NTG in the Torres Nutrisystem     12·   ·whether Wynn Ferrell was a field representative assigned
  13·   ·matter?                                                       13·   ·to the Torres v. Nutrisystem case?
  14·   · · ·A· · ·I don't know.                                       14·   · · ·A· · ·Is there a second page here?· Okay.· There is a
  15·   · · ·Q· · ·Just a minute.· I'm pulling up a document.          15·   ·second page.
  16·   · · · · · ·The Torres v. Nutrisystem case was a CIPA wiretap   16·   · · · · · ·Okay.· I see that.· And, yes, it does refresh my
  17·   ·case; is that right?                                          17·   ·memory.
  18·   · · ·A· · ·Yes.                                                18·   · · ·Q· · ·Was that the first date that Wynn Ferrell
  19·   · · ·Q· · ·Was Raquel Torres a tester in that CIPA case?       19·   ·communicated with Raquel Torres in any fashion?
  20·   · · ·A· · ·As I understand the phrase tester, which is a       20·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  21·   ·very broad definition that we've already provided, I think    21·   · · ·THE WITNESS:· As I sit here, I have no idea.
  22·   ·it's unclear.· I read her deposition transcript and I         22·   ·BY MR. ARHANGELSKY:
  23·   ·don't think she perceived herself as a tester.                23·   · · ·Q· · ·You wrote at the top of this document, relating
  24·   · · ·MR. ARHANGELSKY:· I placed a document on screen which     24·   ·to the same email to your father, As a reminder to our
  25·   ·I've marked as Exhibit 650.                                   25·   ·plaintiffs, each of them will need to advise us of what

                                                          Page 188                                                             Page 189
  ·1·   ·confidential information that they shared with the            ·1·   · · ·Q· · ·And did Andrew Baslow perform an audit call to
  ·2·   ·defendant.· It will need to be completely accurate because    ·2·   ·Nutrisystem prior to the date when Raquel Torres called
  ·3·   ·the defendants will have a recording of the calls.· Do you    ·3·   ·Nutrisystem?
  ·4·   ·see that?                                                     ·4·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·5·   · · ·A· · ·Yes.                                                ·5·   · · ·THE WITNESS:· I would have to look at it.· But I
  ·6·   · · ·Q· · ·Are you referring here to the confirmation          ·6·   ·believe before Ms. Torres ever came into the picture, we
  ·7·   ·statements that wiretap clients would provide the firm        ·7·   ·had been contacted by at least one other individual who
  ·8·   ·after their calls?                                            ·8·   ·had seen a story about illegal recording and I think it
  ·9·   · · ·A· · ·I believe so.                                       ·9·   ·maybe tipped us off to it and so I asked Andrew to
  10·   · · ·Q· · ·And when did Wynn Ferrell ask Raquel Torres to      10·   ·investigate and perform an audit response in that regard.
  11·   ·provide a confirmation statement?                             11·   ·And I don't know as I sit here whether Andrew performed a
  12·   · · ·A· · ·I don't know.                                       12·   ·series of calls as it related to this first individual or
  13·   · · ·Q· · ·All right.· Do you know if he did ask               13·   ·individuals or another series as it relates to Ms. Torres
  14·   ·Raquel Torres to provide a confirmation statement?            14·   ·or some combination there.
  15·   · · ·MR. DARNELL:· Objection, exceeds the scope.               15·   ·BY MR. ARHANGELSKY:
  16·   · · ·THE WITNESS:· I don't.                                    16·   · · ·Q· · ·I think you're referring to Richard Richardson.
  17·   ·BY MR. ARHANGELSKY:                                           17·   ·Is that the individual who you allege tipped Newport Trial
  18·   · · ·Q· · ·Okay.· Do you know -- I'll strike that.             18·   ·Group off?
  19·   · · · · · ·When did Raquel Torres make her call to             19·   · · ·A· · ·That name is familiar.· I -- I believe there was
  20·   ·Nutrisystem?                                                  20·   ·more than one person.
  21·   · · ·A· · ·I thought -- I was under the impression she made    21·   · · ·Q· · ·Have you ever personally spoken with
  22·   ·more than one call.                                           22·   ·Raquel Torres?
  23·   · · ·Q· · ·When did she make the first call to Nutrisystem?    23·   · · ·A· · ·At least one time that I recall.
  24·   · · ·A· · ·I don't know, but there are documents from the      24·   · · ·Q· · ·When was that time when you personally spoke with
  25·   ·underlying case that would reflect that.                      25·   ·Raquel Torres?


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                               EXHIBIT 9
                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   · · ·A· · ·I passed her in the lobby and she was introduced   ·1·   ·Felipe Morales against a company called Magna RX in 2010.
  ·2·   ·to me.                                                       ·2·   ·Is that right, Mr. Ferrell?
  ·3·   · · ·Q· · ·In the lobby of where?                             ·3·   · · ·A· · ·I believe so.
  ·4·   · · ·A· · ·I believe it was in the lobby of our offices.      ·4·   · · ·Q· · ·Did NTG have a case chart listing the Morales
  ·5·   · · ·Q· · ·Okay.· And how long -- did you speak with          ·5·   ·case in 2010?
  ·6·   ·Raquel Torres at the time?                                   ·6·   · · ·A· · ·As I sit here, I don't know.
  ·7·   · · ·A· · ·As I recall, we exchanged pleasantries. I          ·7·   · · ·Q· · ·Did NTG maintain case charts of its CLRA cases in
  ·8·   ·thanked her for being an avenger for consumer justice and    ·8·   ·2010 or 2011?
  ·9·   ·that was that.                                               ·9·   · · ·A· · ·Not that I recall.
  10·   · · ·Q· · ·Okay.· Did -- other than that conversation with    10·   · · ·Q· · ·Was Wynn Ferrell the NTG field representative
  11·   ·Raquel Torres, did you have any other correspondence or      11·   ·assigned to that Morales case in 2010?
  12·   ·conversation with her directly that you can recall?          12·   · · ·A· · ·As I sit here, I don't know.
  13·   · · ·A· · ·Not that I recall as I sit here.                   13·   · · ·Q· · ·And how did the NTG firm first come into contact
  14·   · · ·MR. ARHANGELSKY:· Can we take a five-minute break,       14·   ·with Felipe Morales?
  15·   ·please?                                                      15·   · · ·A· · ·If Mr. Morales was a plaintiff in a Magna RX
  16·   · · ·THE WITNESS:· Excellent timing.· Thank you.              16·   ·case, then I believe that he and other people were
  17·   · · ·THE VIDEOGRAPHER:· This is the end of Media File         17·   ·referred to us from an attorney at the California Attorney
  18·   ·No. 6.· We're now going off the record.· The time is         18·   ·General's Office, I believe.· But this was 11 years ago.
  19·   ·4:04 p.m.                                                    19·   · · ·Q· · ·But that -- so that attorney at the California
  20·   · · · · · · · · · · · ·(BRIEF RECESS.)                        20·   ·Attorney General's Office directly referred Mr. Morales to
  21·   · · ·THE VIDEOGRAPHER:· This is the beginning of Media File   21·   ·the NTG firm?
  22·   ·No. 7.· We're now going on the record.· The time is          22·   · · ·A· · ·That I don't know.
  23·   ·4:13 p.m.                                                    23·   · · ·Q· · ·When specifically did the attorney from the
  24·   ·BY MR. ARHANGELSKY:                                          24·   ·Attorney General's office refer Mr. Morales to NTG?
  25·   · · ·Q· · ·Okay.· The NTG firm filed a lawsuit on behalf of   25·   · · ·A· · ·We talked about this a little bit on Tuesday and

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  ·1·   ·I don't know the specific date or whether he referred them   ·1·   ·Morales's first contact with the firm?
  ·2·   ·specifically or put them in touch with us other than to      ·2·   · · ·A· · ·I don't know.· We might.
  ·3·   ·note that that was the genesis of those cases.               ·3·   · · ·MR. ARHANGELSKY:· Okay.· I've placed a document in
  ·4·   · · ·Q· · ·And you don't recall the name of that attorney     ·4·   ·front of the witness which is marked Exhibit 651.
  ·5·   ·from the California Attorney General's Office?               ·5·   · (Plaintiff's Exhibit 651 was marked for identification.)
  ·6·   · · ·A· · ·Correct.                                           ·6·   ·BY MR. ARHANGELSKY:
  ·7·   · · ·Q· · ·And you don't recall the specific dates when you   ·7·   · · ·Q· · ·Mr. Ferrell, please review this document.
  ·8·   ·spoke with the California Attorney General about those       ·8·   · · ·A· · ·Okay.
  ·9·   ·plaintiffs?                                                  ·9·   · · ·Q· · ·And is this a document that NTG produced to NIC
  10·   · · ·A· · ·So to be clear, I did not speak with the           10·   ·in discovery?
  11·   ·California Attorney General, the elected official.           11·   · · ·A· · ·Yes.
  12·   · · ·Q· · ·Thank you.· The attorney who worked for the        12·   · · ·Q· · ·And here in the bottom email where you wrote to
  13·   ·California Attorney General's Office.                        13·   ·Wynn Ferrell where you said If the second individual
  14·   · · ·A· · ·I could discern for you that it preceded the       14·   ·complained to us, and it goes on, were you asking your
  15·   ·earliest Magna case because that's what brought it to our    15·   ·father to help NTG investigate a class representative in
  16·   ·attention and we can probably narrow down the dates that     16·   ·the Magna RX case?
  17·   ·way.· But beyond that, as I sit here, I don't know in the    17·   · · ·A· · ·Beyond what this email says and what I can
  18·   ·abstract.                                                    18·   ·discern from it, I don't know.
  19·   · · ·Q· · ·Who was the first person at NTG to communicate     19·   · · ·Q· · ·Now, you wrote that in discussing this particular
  20·   ·with Felipe Morales?                                         20·   ·individual potential class representative that If he has
  21·   · · ·A· · ·I don't know.                                      21·   ·proof of purchase and has not been a plaintiff before, I
  22·   · · ·Q· · ·Do you know when NTG first communicated with       22·   ·would like to investigate his claims further and determine
  23·   ·Mr. Morales?                                                 23·   ·whether he would be an adequate class representative.· Do
  24·   · · ·A· · ·As I sit here, I do not.                           24·   ·you see that?
  25·   · · ·Q· · ·Does NTG have any document that memorializes       25·   · · ·A· · ·Yes.


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                              EXHIBIT 9
                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   · · ·Q· · ·When you said has not been a plaintiff before,      ·1·   ·email; is that right?
  ·2·   ·were you referring to has not been a plaintiff with the       ·2·   · · ·A· · ·That's what he says in the email.
  ·3·   ·NTG firm?                                                     ·3·   · · ·Q· · ·Do you know whether he did, in fact, meet with
  ·4·   · · ·A· · ·No.· I was referring to whether he had already      ·4·   ·Mr. Morales on that Thursday evening?
  ·5·   ·filed a lawsuit against Magna RX.                             ·5·   · · ·A· · ·I don't know.
  ·6·   · · ·Q· · ·And your father Wynn Ferrell responded and said     ·6·   · · ·Q· · ·And he would have taken a retainer agreement with
  ·7·   ·Please email me all of the documents by 10:00 a.m.· And       ·7·   ·him to that meeting; is that right?
  ·8·   ·that was an email to you and Linda Berger, right?             ·8·   · · ·A· · ·I don't know.
  ·9·   · · ·A· · ·Yes.                                                ·9·   · · ·Q· · ·All right.· When he said I will leave the
  10·   · · ·Q· · ·Who is Linda Berger?                                10·   ·document, et cetera, on your desk Friday morning, was he
  11·   · · ·A· · ·She was a secretary at our firm at the time.        11·   ·referring to the retainer agreement?
  12·   · · ·Q· · ·Is she no longer employed with NTG?                 12·   · · ·A· · ·I don't know for sure, but that is a logical
  13·   · · ·A· · ·Correct.                                            13·   ·inference from that.
  14·   · · ·Q· · ·And when did she stop working for NTG?              14·   · · ·Q· · ·And did he, in fact, leave the retainer agreement
  15·   · · ·A· · ·Quite some time ago.· Maybe 10 years ago.           15·   ·on your desk on Friday morning?
  16·   · · ·Q· · ·Do you know where Linda Berger currently works      16·   · · ·MR. DARNELL:· Objection, misstates the document.
  17·   ·today?                                                        17·   · · ·THE WITNESS:· So he wasn't referring to my desk.· He
  18·   · · ·A· · ·I don't.                                            18·   ·was referring to Linda's desk.
  19·   · · ·Q· · ·What documents was Wynn Ferrell requesting when     19·   · · ·MR. ARHANGELSKY:· Oh.
  20·   ·he said Please email me all of the documents by               20·   · · ·THE WITNESS:· And --
  21·   ·10:00 a.m.?                                                   21·   · · ·MR. ARHANGELSKY:· Okay.· Thank you.
  22·   · · ·A· · ·I believe the engagement letter and the duties of   22·   · · ·THE WITNESS:· -- I don't know what documents he left
  23·   ·a class representative document.                              23·   ·on her desk on a Friday morning 11 years ago.
  24·   · · ·Q· · ·And he was going to meet with Felipe Morales that   24·   ·BY MR. ARHANGELSKY:
  25·   ·evening -- well, that Thursday evening following this         25·   · · ·Q· · ·Okay.· Linda Berger's desk, though, would have

                                                          Page 196                                                             Page 197
  ·1·   ·been located in the Newport Trial Group's office?             ·1·   · · ·Q· · ·Do you know who drafted this document?
  ·2·   · · ·A· · ·Correct.                                            ·2·   · · ·A· · ·I don't.
  ·3·   · · ·Q· · ·And in 2010, April 2010, where was that office?     ·3·   · · ·Q· · ·I'm turning your attention to paragraph 5 which
  ·4·   · · ·A· · ·In April 2010, I believe we were working out of     ·4·   ·is on page 2 of this document and goes on to page 3.· Just
  ·5·   ·my house.                                                     ·5·   ·read that paragraph for me and let me know when you're
  ·6·   · · ·Q· · ·Okay.· So Ms. Berger's desk was in your house at    ·6·   ·finished.
  ·7·   ·the time?                                                     ·7·   · · ·A· · ·Okay.· I have read it.
  ·8·   · · ·A· · ·Yes.                                                ·8·   · · ·Q· · ·So Dear Ms. -- your father Wynn Ferrell testified
  ·9·   · · ·Q· · ·Okay.· What was the address of your house at the    ·9·   ·that As of approximately late May, slash, early June 2010,
  10·   ·time?                                                         10·   ·after my initial contacts with him, I was unable to make
  11·   · · ·A· · ·78 South La Senda Drive in Laguna Beach,            11·   ·contact with -- I believe Felipe Morales -- despite my
  12·   ·California.                                                   12·   ·efforts to reach him via telephone calls to him, and he
  13·   · · ·Q· · ·Now, at some point the NTG firm lost contact with   13·   ·goes on.· Do you see that?
  14·   ·Mr. Morales; is that right?                                   14·   · · ·A· · ·Yes.
  15·   · · ·A· · ·As I sit here, I don't know.                        15·   · · ·Q· · ·So when specifically did the NTG firm lose
  16·   · · ·MR. ARHANGELSKY:· Okay.· I've placed a document in        16·   ·contact with Mr. Morales in the Magna case?
  17·   ·front of the witness which we have marked as Exhibit 652.     17·   · · ·A· · ·From looking at this document I have no idea
  18·   ·The title of the document is Declaration of Wynn Ferrell      18·   ·except that it says as of late May or early June my dad
  19·   ·In Support Of Plaintiff's Opposition For Motion For           19·   ·had been unable to reach him.
  20·   ·Sanctions.· I believe this is filed in the Magna v.           20·   · · ·Q· · ·And do you know what specific dates Wynn Ferrell
  21·   ·Morales case.                                                 21·   ·attempted to reach Mr. Morales in late May, early June?
  22·   · (Plaintiff's Exhibit 652 was marked for identification.)     22·   · · ·A· · ·Of 2010?· No, I don't.
  23·   ·BY MR. ARHANGELSKY:                                           23·   · · ·Q· · ·No?
  24·   · · ·Q· · ·Mr. Ferrell, have you seen this document before?    24·   · · · · · ·Do you know what was the last time NTG was in
  25·   · · ·A· · ·I don't recall having seen this document before.    25·   ·contact with Mr. Morales prior to this late May, early


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·June period?                                                  ·1·   ·BY MR. ARHANGELSKY:
  ·2·   · · ·A· · ·I don't.                                            ·2·   · · ·Q· · ·Okay.· Did NTG issue a payment to Mr. Morales in
  ·3·   · · ·Q· · ·And did anyone at the NTG firm other than           ·3·   ·the amount of a thousand dollars --
  ·4·   ·Wynn Ferrell attempt to reach Mr. Morales in this time        ·4·   · · ·MR. DARNELL:· Objection --
  ·5·   ·period?                                                       ·5·   ·BY MR. ARHANGELSKY:
  ·6·   · · ·A· · ·I don't know.                                       ·6·   · · ·Q· · ·-- in conjunction with this settlement?
  ·7·   · · ·Q· · ·Did NTG make any payments to Felipe Morales as      ·7·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·8·   ·part of the Magna RX lawsuit?                                 ·8·   · · ·THE WITNESS:· I can't say as I sit here.· But if we
  ·9·   · · ·A· · ·I'd have to look to see if he signed a settlement   ·9·   ·received a settlement payment of a thousand dollars, it
  10·   ·agreement and look at the settlement agreement to know for    10·   ·would be our practice to transmit it to the client.
  11·   ·sure.                                                         11·   ·BY MR. ARHANGELSKY:
  12·   · · ·MR. ARHANGELSKY:· I placed a document in front of the     12·   · · ·Q· · ·And would that have been by a check?
  13·   ·witness which we've marked as Exhibit 653.· This is a         13·   · · ·MR. DARNELL:· Objection, lacks foundation, calls for
  14·   ·document that appears to have been filed in the matter        14·   ·speculation, exceeds the scope.
  15·   ·no. 10-cv-1601 as Docket 28-2.                                15·   · · ·THE WITNESS:· If and to the extent a settlement
  16·   · (Plaintiff's Exhibit 653 was marked for identification.)     16·   ·payment was made to Mr. Morales, it would be our practice
  17·   ·BY MR. ARHANGELSKY:                                           17·   ·that it go by check.
  18·   · · ·Q· · ·Mr. Ferrell, do you recognize this document?        18·   ·BY MR. ARHANGELSKY:
  19·   · · ·A· · ·I don't.                                            19·   · · ·Q· · ·After losing contact with Mr. Morales sometime in
  20·   · · ·Q· · ·Okay.· Does this refresh your recollection as to    20·   ·May or June of 2010, on what day did you then decide to
  21·   ·whether or not there was a settlement agreement involving     21·   ·look for a new plaintiff in the Magna RX case?
  22·   ·Mr. Morales?                                                  22·   · · ·A· · ·I don't know that we did look for new plaintiffs
  23·   · · ·MR. DARNELL:· Objection, exceeds the scope.               23·   ·in the Magna RX case.· I know that we had multiple people
  24·   · · ·THE WITNESS:· The document on page 2 references a         24·   ·who had been referred to us, but I don't know what the
  25·   ·settlement agreement between Mr. Morales and Vitasprings.     25·   ·timing was of various plaintiffs.

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  ·1·   · · ·Q· · ·When was NTG firm's first contact with              ·1·   · · ·A· · ·I don't believe so.
  ·2·   ·Daniel Bobba?                                                 ·2·   · · ·Q· · ·Have you ever spoken to Mr. Bobba?
  ·3·   · · ·A· · ·I don't recall specifically, but I know there       ·3·   · · ·A· · ·Yes.
  ·4·   ·have been declarations that reflect communications that we    ·4·   · · ·Q· · ·And when did you speak with Mr. Bobba?
  ·5·   ·had with Mr. Bobba that might give us some additional         ·5·   · · ·A· · ·I believe it was September of 2010.
  ·6·   ·context.                                                      ·6·   · · ·Q· · ·And when in September 2010 did you communicate
  ·7·   · · ·Q· · ·And how did the firm first communicate with him?    ·7·   ·with him?
  ·8·   ·Was it by telephone or email or any other means?              ·8·   · · ·A· · ·I -- I've referenced it in a declaration
  ·9·   · · ·A· · ·As I sit here, I don't know what our first          ·9·   ·somewhere.· Without looking at the declaration I can't be
  10·   ·communication with him was.                                   10·   ·sure, but I think it was around September 4th.
  11·   · · ·Q· · ·But it's true, is it not, that your father          11·   · · ·Q· · ·And what was the substance of your communication
  12·   ·Wynn Ferrell met with Mr. Bobba in June of 2010 for a         12·   ·with Mr. Bobba at the time?
  13·   ·client intake?                                                13·   · · ·A· · ·I called Mr. Bobba, told him that I needed his
  14·   · · ·A· · ·That's consistent with my memory as I sit here,     14·   ·complete attention to discuss something incredibly serious
  15·   ·but to know for sure I would need to cross-reference my       15·   ·with him, told him that Magna RX was attributing to him
  16·   ·dad's declaration along with Mr. Bobba's deposition           16·   ·comments that had been made on the internet that I found
  17·   ·testimony.                                                    17·   ·incredibly disturbing, and I told him that I needed him to
  18·   · · ·Q· · ·And you -- but you reviewed Mr. Bobba's testimony   18·   ·be absolutely truthful with me and answer all of my
  19·   ·and your father's declaration as part of your preparation     19·   ·questions and then I proceeded to interview him about the
  20·   ·for your deposition today; is that right?                     20·   ·comments that had been made on the internet and the source
  21·   · · ·A· · ·Yes.                                                21·   ·of those comments and the truth or falsity of those
  22·   · · ·Q· · ·And other than your father Wynn Ferrell, did        22·   ·comments.
  23·   ·anyone else from NTG meet with Dan Bobba in June 2010?        23·   · · ·Q· · ·And that communication you had with Mr. Bobba was
  24·   · · ·A· · ·Not that I'm aware of.                              24·   ·on September 4, 2010?
  25·   · · ·Q· · ·Have you ever met with Mr. Bobba in person?         25·   · · ·A· · ·I believe it was September 4th or thereabouts.


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                               EXHIBIT 9
                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   · · ·Q· · ·Is that before or after your brother Ryan had met   ·1·   · · ·Q· · ·Other than this phone conversation you had with
  ·2·   ·with Mr. Bobba at his residence?                              ·2·   ·Mr. Bobba in 2010, did you have any other communications
  ·3·   · · ·A· · ·His conversation with Mr. Bobba preceded Ryan       ·3·   ·with Mr. Bobba directly?
  ·4·   ·meeting with Mr. Bobba.                                       ·4·   · · ·A· · ·Not that I recall as I sit here.
  ·5·   · · ·Q· · ·And how did you contact Mr. Bobba?                  ·5·   · · ·Q· · ·And do you have any documentary evidence that
  ·6·   · · ·A· · ·By phone.                                           ·6·   ·memorializes your phone call with Mr. Bobba in
  ·7·   · · ·Q· · ·Was it by cell phone or hard line?                  ·7·   ·September 2010?
  ·8·   · · ·A· · ·I believe it --                                     ·8·   · · ·A· · ·Yes.
  ·9·   · · ·Q· · ·Was that cell phone?                                ·9·   · · ·Q· · ·And what is that documentary evidence?
  10·   · · ·A· · ·I believe it was by the landline at my house        10·   · · ·A· · ·My declaration that describes the phone call.
  11·   ·because I was reviewing with him with my hands free with      11·   · · ·Q· · ·Okay.· So your declaration that you submitted in
  12·   ·him on speakerphone.                                          12·   ·Docket 63-3 of the Magna case reveals that you spoke to
  13·   · · ·Q· · ·Now, Mr. Bobba signed a retainer agreement with     13·   ·Mr. Bobba on the telephone?
  14·   ·NTG in June 2010, right?                                      14·   · · ·A· · ·I don't know which declaration reflects that.
  15·   · · ·A· · ·I would have to look at the retainer agreement to   15·   · · ·Q· · ·For the record you produced a declaration in this
  16·   ·know for sure.                                                16·   ·case that says you spoke with Dan Bobba?
  17·   · · ·Q· · ·Does NTG have a copy of Mr. Bobba's retainer        17·   · · ·MR. DARNELL:· Is that a question?
  18·   ·agreement?                                                    18·   · · ·MR. ARHANGELSKY:· Yes.
  19·   · · ·A· · ·I believe we do and that we've produced it.         19·   · · ·MR. DARNELL:· Objection, vague as phrased.
  20·   · · ·Q· · ·And you reviewed that, too, as part of your         20·   · · ·THE WITNESS:· Do you mean our discovery responses?
  21·   ·preparation for the deposition today?                         21·   ·BY MR. ARHANGELSKY:
  22·   · · ·A· · ·I have.                                             22·   · · ·Q· · ·Have you produced any discovery responses in this
  23·   · · ·Q· · ·How did NTG come into possession of Mr. Bobba's     23·   ·case that indicate you've spoken with Mr. Bobba?
  24·   ·signed retainer agreement?                                    24·   · · ·MR. DARNELL:· Objection, vague as phrased.
  25·   · · ·A· · ·I don't recall.                                     25·   · · ·THE WITNESS:· I believe our special interrogatory

                                                          Page 204                                                             Page 205
  ·1·   ·responses were asked to identify what witnesses we had        ·1·   · · ·A· · ·As I recall from looking at their declarations
  ·2·   ·spoken to and I believe that Mr. Bobba was one of those.      ·2·   ·and testimony, um, the evening of September 4th and then
  ·3·   · · ·MR. ARHANGELSKY:· All right.· I've placed a document      ·3·   ·again maybe the morning of September 5th.
  ·4·   ·in front of the witness which is our Exhibit 654.· There's    ·4·   · · ·Q· · ·And after you received a copy of the draft on
  ·5·   ·another exhibit marking on there which is -- is that.· But    ·5·   ·September 4th, did you revise that document in any way?
  ·6·   ·I'm directing you to the bottom right, Exhibit 654, which     ·6·   · · ·A· · ·I believe I wordsmithed it.
  ·7·   ·has the NTG Bates 7673.                                       ·7·   · · ·Q· · ·Does the final version of this declaration that
  ·8·   · ·(Plaintiff's Exhibit 654 was marked for identification.)    ·8·   ·Mr. Bobba signed contain any text that you authored?
  ·9·   · · ·THE WITNESS:· Yes.                                        ·9·   · · ·A· · ·I don't know.
  10·   ·BY MR. ARHANGELSKY:                                           10·   · · ·Q· · ·Sitting here right now you can't point to any
  11·   · · ·Q· · ·Have you seen this document before?                 11·   ·information in this document -- I'm sorry -- any language
  12·   · · ·A· · ·I believe so.                                       12·   ·in this document that you yourself authored?
  13·   · · ·Q· · ·And is this the declaration of Dan Bobba that NTG   13·   · · ·A· · ·Correct.
  14·   ·submitted in the Magna lawsuit?                               14·   · · ·Q· · ·Okay.· Who is Michael Velarde?
  15·   · · ·A· · ·I believe so.                                       15·   · · ·A· · ·Mike was an associate at Newport Trial Group.
  16·   · · ·Q· · ·And were you provided a copy of this declaration    16·   · · ·Q· · ·And as of September 2010, how long had
  17·   ·in draft format before Mr. Bobba signed this declaration?     17·   ·Mr. Velarde been an attorney?
  18·   · · ·MR. DARNELL:· Objection, vague as phrased.                18·   · · ·A· · ·I would have to look at his bar information to
  19·   · · ·THE WITNESS:· I believe that after -- I believe the       19·   ·know for sure, but he was relatively new.
  20·   ·short answer is that I was provided with a draft              20·   · · ·MR. ARHANGELSKY:· Okay.· I've placed another exhibit
  21·   ·declaration after Ryan met with Mr. Bobba late that           21·   ·in front of the witness which I've marked as Exhibit 655
  22·   ·evening.                                                      22·   ·and this has a document that has a Bates number on the
  23·   ·BY MR. ARHANGELSKY:                                           23·   ·first page NTG 11604.
  24·   · · ·Q· · ·How many times did Ryan Ferrell meet with           24·   · (Plaintiff's Exhibit 655 was marked for identification.)
  25·   ·Mr. Bobba?                                                    25·   ·///


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                               EXHIBIT 9
                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·BY MR. ARHANGELSKY:                                           ·1·   ·to the case and interviewed them very pointedly and very
  ·2·   · · ·Q· · ·Mr. Ferrell, please take a look at this document    ·2·   ·aggressively and asked if there was any truth to the
  ·3·   ·and let me know if you're familiar with it.                   ·3·   ·statements that Mr. Bobba had made that might relate to
  ·4·   · · ·A· · ·Yes.· I'm familiar with it.                         ·4·   ·our firm and I remember --
  ·5·   · · ·Q· · ·This is an email -- the first page is an email      ·5·   · · ·Q· · ·So you can't -- I'm sorry.
  ·6·   ·that you wrote to Mr. Velarde on September 5th, 2010; is      ·6·   · · ·A· · ·And I told everyone that if I learned that there
  ·7·   ·that right?                                                   ·7·   ·was a kernel of truth to what he was saying and if that
  ·8·   · · ·A· · ·Yes.                                                ·8·   ·kernel of truth related to our firm that there would be
  ·9·   · · ·Q· · ·Now, as part of the second paragraph that begins    ·9·   ·very, very severe repercussions.· And --
  10·   ·with Bobba signed the attached declaration this morning,      10·   · · ·Q· · ·And --
  11·   ·do you see that paragraph?                                    11·   · · ·A· · ·And as part of this process I did a deep dive
  12·   · · ·A· · ·Yes.                                                12·   ·into all of the communications and correspondence and was
  13·   · · ·Q· · ·You wrote I have also reviewed all of the           13·   ·exceptionally relieved to conclude that our firm had acted
  14·   ·contemporaneous internal correspondence on this and our       14·   ·with the utmost integrity and professionalism.
  15·   ·own records confirm that we acted with the utmost             15·   · · ·Q· · ·And what correspondence did you review
  16·   ·integrity and professionalism.· Did I read that right?        16·   ·specifically?
  17·   · · ·A· · ·Yes.                                                17·   · · ·A· · ·Mr. Bobba's declaration, the engagement letter,
  18·   · · ·Q· · ·What record are you specifically referencing        18·   ·duties of a class rep., proof of purchase, confirmatory
  19·   ·here?                                                         19·   ·purchase, document flow, and a lengthy email that I wrote
  20·   · · ·A· · ·As I sit here 11 years later, I don't know for      20·   ·to Ryan.· And there were likely others, but that's what I
  21·   ·sure.· But I do recall that when I saw that posting and       21·   ·recall, excuse me, sitting here 11 years later at a time
  22·   ·saw the motion that I was incredibly angry and I              22·   ·when I was about to get married and about to start a
  23·   ·originally believed that it had been falsely attributed to    23·   ·massive trial.
  24·   ·him by someone associated with Magna.· And I then spoke to    24·   · · ·Q· · ·I think you mentioned two documents in there.
  25·   ·Mike, Ryan, Wynn, and everyone else who had a connection      25·   ·You said proof of purchase and confirmatory purchase.

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  ·1·   ·Right?· Does the NTG possess copies of two product            ·1·   · · ·Q· · ·Right.· And the first paragraph -- I'm sorry.
  ·2·   ·receipts that Mr. Bobba supplied to the firm?                 ·2·   ·The first paragraph says I'm writing to confirm that in
  ·3·   · · ·A· · ·Not that I'm aware of.· The only proof of           ·3·   ·connection with the global resolution of the lawsuit
  ·4·   ·purchase that I am aware of is the confirmatory purchase      ·4·   ·pending in the Superior Court, and then it references the
  ·5·   ·that he made at or about the time he signed the engagement    ·5·   ·Magna case, right?· So as part of the settlement --
  ·6·   ·papers.                                                       ·6·   · · ·A· · ·I'm sorry.· It's a very long paragraph.· It
  ·7·   · · ·Q· · ·And that's the only receipt that the NTG firm has   ·7·   ·references a number of things, but it starts with I'm
  ·8·   ·with reference to Mr. Bobba?                                  ·8·   ·writing to confirm that and ends with NTG agrees to
  ·9·   · · ·A· · ·I don't believe we have the receipts from his       ·9·   ·represent Magna pursuant to the terms of this agreement.
  10·   ·prior purchase.· But if we have them, they've been            10·   · · ·Q· · ·And as part of the resolution of the Magna case,
  11·   ·produced.                                                     11·   ·NTG agreed to pay Magna $4,000; is that right?
  12·   · · ·Q· · ·And the Magna case ended in settlement, right?      12·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  13·   · · ·A· · ·The Magna case referenced here ended in             13·   · · ·THE WITNESS:· I know that there were payments that
  14·   ·settlement.                                                   14·   ·went back and forth and one of the payments was from us to
  15·   · · ·MR. ARHANGELSKY:· Okay.· I've placed another document     15·   ·them and one was from them to us.
  16·   ·in front of the witness which I've marked as Exhibit 656.     16·   ·BY MR. ARHANGELSKY:
  17·   · (Plaintiff's Exhibit 656 was marked for identification.)     17·   · · ·Q· · ·Okay.· On page 2 under Fees which is under
  18·   ·BY MR. ARHANGELSKY:                                           18·   ·section 4, NTG paid 5,000 to Magna and Magna had a $1,000
  19·   · · ·Q· · ·Mr. Ferrell, please review this document and let    19·   ·retainer, so a net of 4,000 to Magna.· Do I understand
  20·   ·me know if you're familiar with it.                           20·   ·that correctly?
  21·   · · ·A· · ·Yes.· I am familiar with it.                        21·   · · ·A· · ·That appears to be accurate.
  22·   · · ·Q· · ·Is this the settlement agreement entered in the     22·   · · ·Q· · ·And so as part of this settlement Magna agreed to
  23·   ·Magna case?                                                   23·   ·retain the Newport Trial Group; is that right?
  24·   · · ·A· · ·No.· I believe this is an engagement letter         24·   · · ·A· · ·I don't think it's fair to say it was part of the
  25·   ·executed after the settlement of the Magna case.              25·   ·settlement.· Magna agreed to retain us, I believe, because


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                               EXHIBIT 9
                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·Steve and I developed a good relationship and he has since   ·1·   · · ·MR. ARHANGELSKY:· Yes.
  ·2·   ·that time requested to engage us on various matters.         ·2·   · · ·THE WITNESS:· Three separate times, I believe, between
  ·3·   · · ·Q· · ·What was Magna retaining NTG for as part of this   ·3·   ·2012 and 2016.
  ·4·   ·retainer agreement?                                          ·4·   ·BY MR. ARHANGELSKY:
  ·5·   · · ·A· · ·I believe it says here -- I'd have to find it,     ·5·   · · ·Q· · ·All right.· And did the Newport Trial Group ever
  ·6·   ·but I believe this was a plenary -- yeah.· Matters upon      ·6·   ·sue Magna again following this retainer agreement?
  ·7·   ·which Magna specifically seeks our assistance.               ·7·   · · ·A· · ·Not that I'm aware of.
  ·8·   · · ·Q· · ·Did Magna ever seek your legal assistance          ·8·   · · ·MR. ARHANGELSKY:· I think by my clock we have about
  ·9·   ·following this retainer?                                     ·9·   ·30 minutes remaining.· Let's go off the record for -- give
  10·   · · ·A· · ·Yes.                                               10·   ·me just five minutes to gather some notes and then wrap up
  11·   · · ·Q· · ·And when was that?                                 11·   ·the day.· Does that sound all right?
  12·   · · ·A· · ·The one time that I recall was when they were      12·   · · ·THE WITNESS:· Yes.
  13·   ·sued in a --                                                 13·   · · ·MR. ARHANGELSKY:· Okay.· Thank you.
  14·   · · ·MR. DARNELL:· I'm sorry.· I think he's just asking       14·   · · ·THE VIDEOGRAPHER:· This is the end of Media File
  15·   ·when.· I want to caution you because this is an engagement   15·   ·No. 7.· We're now going off the record.· The time is
  16·   ·letter.· He's asking you about -- a question relating to     16·   ·4:57 p.m.
  17·   ·your representation of Magna.· His question, however, is     17·   · · · · · · · · · · · ·(BRIEF RECESS.)
  18·   ·very specific, when.                                         18·   · · ·THE VIDEOGRAPHER:· This is the beginning of Media File
  19·   · · ·THE WITNESS:· Oh.                                        19·   ·No. 8.· We are now going on the record.· The time is
  20·   · · ·MR. DARNELL:· And I want to caution you because I        20·   ·5:05 p.m.
  21·   ·don't want you to inadvertently reveal a attorney/client     21·   ·BY MR. ARHANGELSKY:
  22·   ·privileged communication relating to what your               22·   · · ·Q· · ·Okay.· Mr. Ferrell, do you play any role in
  23·   ·representation was about.                                    23·   ·maintaining the corporate books and records for Newport
  24·   · · ·THE WITNESS:· Okay.· I'm sorry.· So your question was    24·   ·Trial Group?
  25·   ·when Magna sought our assistance after this?                 25·   · · ·MR. DARNELL:· Objection, exceeds the scope.

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  ·1·   · · ·THE WITNESS:· I'm not sure what it means to maintain     ·1·   ·ever occurred sitting here today?
  ·2·   ·the corporate books and records other than like make sure    ·2·   · · ·A· · ·Other than making sure that he has the
  ·3·   ·that our filings are up to date.· But if there's a           ·3·   ·information and documents that he needs and everything's
  ·4·   ·separate term of art that you mean, then let me know.        ·4·   ·properly accounted for and calculated, I don't know if --
  ·5·   ·BY MR. ARHANGELSKY:                                          ·5·   ·if that's an audit or not.
  ·6·   · · ·Q· · ·Well, I think I'm referring to the corporate       ·6·   · · ·Q· · ·Okay.· Can you describe the yearly level of NTG's
  ·7·   ·books with respect to the entity Newport Trial Group or      ·7·   ·gross revenues for the period of 2010 to the present?
  ·8·   ·Pacific Trial Attorneys in compliance with corporate law.    ·8·   · · ·MR. DARNELL:· Objection, compound, calls for a
  ·9·   · · ·MR. DARNELL:· Objection, vague.                          ·9·   ·narrative.
  10·   · · ·THE WITNESS:· Other than being responsible for making    10·   · · ·THE WITNESS:· I think I can.
  11·   ·sure that we do what we're supposed to do, I'm not sure      11·   ·BY MR. ARHANGELSKY:
  12·   ·what you're asking.                                          12·   · · ·Q· · ·Please do.
  13·   ·BY MR. ARHANGELSKY:                                          13·   · · ·A· · ·Well, I need you to break it down by year.
  14·   · · ·Q· · ·Does the NTG firm use a CPA firm to perform any    14·   · · ·Q· · ·Okay.· Well, can you describe the yearly gross
  15·   ·audits of them, the books, at any point in time?             15·   ·revenues for NTG in 2010?
  16·   · · ·MR. DARNELL:· Objection, exceeds the scope.              16·   · · ·A· · ·So your question contains an extra word, either
  17·   · · ·THE WITNESS:· Not that I know of.                        17·   ·our gross revenues in 2010 or our yearly revenues, but
  18·   ·BY MR. ARHANGELSKY:                                          18·   ·yearly gross revenues in 2010 could mean two different
  19·   · · ·Q· · ·Has Mr. Gharring ever audited NTG's books at any   19·   ·things.· Let me ask you this:· Are you asking me what our
  20·   ·point in the last 10 years?                                  20·   ·gross revenues were in 2010?
  21·   · · ·MR. DARNELL:· Objection, exceeds the scope.              21·   · · ·Q· · ·Let's start with that.· What were your gross
  22·   · · ·THE WITNESS:· So I'm not an accountant, but I think      22·   ·revenues in 2010?
  23·   ·that to prepare our taxes it involves something like that.   23·   · · ·A· · ·I believe it was about $1.5 million.
  24·   ·BY MR. ARHANGELSKY:                                          24·   · · ·Q· · ·What were your gross revenues in 2011?
  25·   · · ·Q· · ·Okay.· But you don't know whether or not that's    25·   · · ·A· · ·About two and-a-half million dollars.


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                              EXHIBIT 9
                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   · · ·Q· · ·And gross revenues in 2012?                         ·1·   · · ·MR. DARNELL:· Same objection to everything past 2015.
  ·2·   · · ·A· · ·Approximately $4 million.                           ·2·   ·But go ahead, Counsel.
  ·3·   · · ·Q· · ·What about 2013?                                    ·3·   ·BY MR. ARHANGELSKY:
  ·4·   · · ·A· · ·Approximately $7 million.                           ·4·   · · ·Q· · ·NTG's revenues increased substantially from 2013
  ·5·   · · ·Q· · ·What about -- I'm sorry.· Did I ask about 2014?     ·5·   ·to 2015.· Is that fair?
  ·6·   · · ·A· · ·No.· You just asked about 2013.                     ·6·   · · ·MR. DARNELL:· Objection, misstates testimony.
  ·7·   · · ·Q· · ·Okay.· Let me ask you about 2014.· What were the    ·7·   · · ·THE WITNESS:· Yeah.· I think it's fair to say that
  ·8·   ·gross revenues?                                               ·8·   ·that was a time when our revenues increased.
  ·9·   · · ·A· · ·Approximately $7 million.                           ·9·   ·BY MR. ARHANGELSKY:
  10·   · · ·Q· · ·And in 2015?                                        10·   · · ·Q· · ·Is there a reason for the revenue increase?
  11·   · · ·A· · ·Approximately $7 million.                           11·   · · ·A· · ·Yes.
  12·   · · ·Q· · ·And in 2016?                                        12·   · · ·Q· · ·And what was that reason?
  13·   · · ·MR. DARNELL:· Objection, irrelevant.                      13·   · · ·A· · ·We were handling a number of very dense, hourly
  14·   · · · · · ·But go ahead and answer.                            14·   ·cases that we staffed up for.
  15·   · · ·THE WITNESS:· I think it was just over $7 million.        15·   · · ·Q· · ·So the increase in revenue would have been
  16·   ·BY MR. ARHANGELSKY:                                           16·   ·attributed to hourly rates charged on the defense side?
  17·   · · ·Q· · ·And in 2018?                                        17·   · · ·A· · ·Sitting here that's what I would primarily
  18·   · · ·MR. DARNELL:· Same objection.                             18·   ·attribute that growth to.
  19·   · · ·THE WITNESS:· Approximately six and-a-half million        19·   · · ·Q· · ·Has the NTG firm ever claimed that it recovered
  20·   ·dollars.                                                      20·   ·over $300 million for its plaintiff clients?
  21·   ·BY MR. ARHANGELSKY:                                           21·   · · ·A· · ·We have claimed truthfully that the attorneys who
  22·   · · ·Q· · ·And then in 2019?                                   22·   ·founded the firm have collectively recovered over
  23·   · · ·A· · ·Approximately seven and-a-half million dollars.     23·   ·$300 million for our plaintiff clients.
  24·   · · ·Q· · ·And in 2020?                                        24·   · · ·MR. ARHANGELSKY:· All right.· This is an exhibit I
  25·   · · ·A· · ·Approximately nine and-a-half million dollars.      25·   ·placed in front of the witness which I marked as

                                                          Page 216                                                             Page 217
  ·1·   ·Exhibit 657.                                                  ·1·   ·BY MR. ARHANGELSKY:
  ·2·   · (Plaintiff's Exhibit 657 was marked for identification.)     ·2·   · · ·Q· · ·And how much of that 300 million would you say
  ·3·   ·BY MR. ARHANGELSKY:                                           ·3·   ·the firm collected?
  ·4·   · · ·Q· · ·Mr. Ferrell, do you recognize this exhibit?         ·4·   · · ·MR. DARNELL:· Objection.· Assumes facts.
  ·5·   · · ·A· · ·Yes.                                                ·5·   · · ·THE WITNESS:· The firm or our clients?
  ·6·   · · ·Q· · ·All right.· And again here in this -- and what is   ·6·   ·BY MR. ARHANGELSKY:
  ·7·   ·this exhibit?                                                 ·7·   · · ·Q· · ·Well, I -- let's start with the firm.· How much
  ·8·   · · ·A· · ·This appears to be our landing page of our          ·8·   ·did the firm collect out of that 300 million?
  ·9·   ·website.                                                      ·9·   · · ·MR. DARNELL:· Objection, assumes facts.
  10·   · · ·Q· · ·Okay.· And on page 2 in this website -- or I'm      10·   · · ·THE WITNESS:· Approximately $200 million of those
  11·   ·sorry -- this exhibit -- excuse me.                           11·   ·verdicts and settlements were verdicts and settlements
  12·   · · · · · ·Towards the bottom it says In the last several      12·   ·that I recovered prior to forming Pacific Trial Attorneys.
  13·   ·years the attorneys who founded Pacific Trial Attorneys       13·   ·So the answer to 200 million of that is that none of it
  14·   ·obtained verdicts and settlements worth over $300 million     14·   ·came to Pacific Trial Attorneys.
  15·   ·and secured many defense victories through motions and        15·   ·BY MR. ARHANGELSKY:
  16·   ·trial.· Did I read that correctly?                            16·   · · ·Q· · ·Out of that 300 million -- I'm sorry.
  17·   · · ·A· · ·Yes.                                                17·   · · ·A· · ·Um, another 80 million of that was from verdicts
  18·   · · ·Q· · ·So have the attorneys at Newport Trial Group        18·   ·that John O'Malley obtained while he was at another firm.
  19·   ·received over 300 million in settlements and verdicts over    19·   · · ·Q· · ·Okay.· And so of that -- what does that leave?
  20·   ·the last several years?                                       20·   ·20 million?
  21·   · · ·MR. DARNELL:· Objection, vague as to received.            21·   · · ·A· · ·From a static mathematical perspective that
  22·   · · ·THE WITNESS:· So just to be clear, don't conflate         22·   ·leaves 20 million, but I believe that it's important to
  23·   ·obtained with received.· But, yes, we have received           23·   ·note that we obtained over 300 million.
  24·   ·verdicts and settlements worth over $300 million.             24·   · · ·Q· · ·And of that amount of over 300 million, how much
  25·   ·///                                                           25·   ·money was paid directly to clients?


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                                 DECLARATION OF PETER A. ARHANGELSKY IN SUPPORT OF                                               EXHIBIT 9
                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   · · ·A· · ·Over 95 percent.                                    ·1·   ·2010?
  ·2·   · · ·Q· · ·And approximately what percentage of that           ·2·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·3·   ·300 million was associated with CLRA cases that the           ·3·   · · ·THE WITNESS:· I would just be guessing.
  ·4·   ·attorneys may have pursued?                                   ·4·   ·BY MR. ARHANGELSKY:
  ·5·   · · ·MR. DARNELL:· Objection, vague as to which attorneys      ·5·   · · ·Q· · ·What year did NTG first start pursuing wiretap
  ·6·   ·you're talking about and when.                                ·6·   ·cases?
  ·7·   · · ·THE WITNESS:· I can answer that for you very easily.      ·7·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  ·8·   ·The $300 million reference is a reference to -- it's a        ·8·   · · ·THE WITNESS:· I would have to look at the documents to
  ·9·   ·complete reference to business cases, where we had            ·9·   ·know for sure.
  10·   ·received verdicts and settlements in business cases, so       10·   ·BY MR. ARHANGELSKY:
  11·   ·that doesn't refer to any CLRA cases.                         11·   · · ·Q· · ·Do you have any approximation of when you may
  12·   ·BY MR. ARHANGELSKY:                                           12·   ·have started filing CIPA cases?
  13·   · · ·Q· · ·Okay.· I'll ask specifically about those then.      13·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  14·   ·How much money has the NTG firm made in gross receipts        14·   · · ·THE WITNESS:· I think I can give you an informed
  15·   ·from CLRA litigation since 2010?                              15·   ·estimate.· It was probably 2012.
  16·   · · ·A· · ·I would just be guessing.                           16·   ·BY MR. ARHANGELSKY:
  17·   · · ·MR. DARNELL:· Objection, exceeds the scope.               17·   · · ·Q· · ·Does the NTG firm still file CIPA cases today?
  18·   ·BY MR. ARHANGELSKY:                                           18·   · · ·MR. DARNELL:· Objection, exceeds the scope.
  19·   · · ·Q· · ·Do you have any idea how much money NTG has made    19·   · · ·THE WITNESS:· No.
  20·   ·in gross receipts from wiretap litigation since 2010?         20·   ·BY MR. ARHANGELSKY:
  21·   · · ·MR. DARNELL:· Objection, exceeds the scope.               21·   · · ·Q· · ·And when did it stop pursuing CIPA cases?
  22·   · · ·THE WITNESS:· I would just be guessing.                   22·   · · ·MR. DARNELL:· Same objection.
  23·   ·BY MR. ARHANGELSKY:                                           23·   · · ·THE WITNESS:· Several years ago.
  24·   · · ·Q· · ·Do you have any idea or can you approximate how     24·   ·BY MR. ARHANGELSKY:
  25·   ·many wiretap settlements the NTG firm has retained since      25·   · · ·Q· · ·Does the NTG firm own any real property?

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  ·1·   · · ·A· · ·As in real estate?                                  ·1·   · · ·Q· · ·On an average month what would NTG's payroll be
  ·2·   · · ·Q· · ·Yes.                                                ·2·   ·excluding the bonuses?
  ·3·   · · ·A· · ·No.                                                 ·3·   · · ·A· · ·A very rough estimate I'm going to say is
  ·4·   · · ·Q· · ·Does the NTG firm lease any real estate?            ·4·   ·$150,000 a month.
  ·5·   · · ·A· · ·Yes.                                                ·5·   · · ·Q· · ·Does NTG have any debt liabilities or other
  ·6·   · · ·Q· · ·What real estate does it lease?                     ·6·   ·financial obligations currently on its books that have yet
  ·7·   · · ·A· · ·Our office premises at 4100 Newport Drive.          ·7·   ·to be paid off?
  ·8·   · · ·Q· · ·And what is NTG's monthly expenses with respect     ·8·   · · ·A· · ·So because we're not a public company and we're
  ·9·   ·to that property?                                             ·9·   ·owned by just a single individual -- excuse me.· We don't,
  10·   · · ·A· · ·I believe it's approximately $15,000 a month.       10·   ·quote, maintain liabilities on our books, um, but we do
  11·   · · ·Q· · ·Are NTG employees paid on a biweekly basis?         11·   ·have liabilities on an ongoing basis that we pay off every
  12·   · · ·A· · ·Payroll's on the 15th and the 30th -- or the 15th   12·   ·month and two significant contingent liabilities.
  13·   ·and the last day of the month.                                13·   · · ·Q· · ·Okay.· And what are -- what's the average value
  14·   · · ·Q· · ·What is the amount of NTG's total financial         14·   ·of the ongoing liabilities that you just referenced?
  15·   ·obligations paid for employee compensation on a monthly       15·   · · ·A· · ·There's no such thing as an average value of
  16·   ·basis?                                                        16·   ·ongoing liabilities.
  17·   · · ·A· · ·Are you asking what our monthly payroll is?         17·   · · ·Q· · ·Well, what are some of those liabilities that you
  18·   · · ·Q· · ·Yes.                                                18·   ·just mentioned?
  19·   · · ·MR. DARNELL:· Objection, vague as to time.                19·   · · ·A· · ·Payroll, vendors, health insurance, rent,
  20·   · · ·THE WITNESS:· Right now it varies, um, between 100 and    20·   ·computer upkeep, replacement, staff lunches.
  21·   ·$300,000 a month.                                             21·   · · ·Q· · ·How much money -- I'm sorry.· How much money does
  22·   ·BY MR. ARHANGELSKY:                                           22·   ·NTG spend on vendors, let's say, over the course of the
  23·   · · ·Q· · ·And why would it vary between 1 and 300?            23·   ·last calendar year?
  24·   · · ·A· · ·If we pay or when we pay year-end bonuses at the    24·   · · ·A· · ·Broadly construing the term vendors I would
  25·   ·end of every year, it inflates our payroll that month.        25·   ·estimate that 30 percent of our revenue generated goes to


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·vendors.                                                      ·1·   · · ·A· · ·In 2020, I believe his total compensation was
  ·2·   · · ·Q· · ·Has that generally been the case over the course    ·2·   ·approximately 1.2 million.
  ·3·   ·of the last five years or has it changed?                     ·3·   · · ·Q· · ·Now, Mr. Reid has seen a significant increase in
  ·4·   · · ·A· · ·I don't know for sure, but based on my ongoing      ·4·   ·pay over the course of the last six years.· Is there a
  ·5·   ·review of our operations, that seems to be a pretty           ·5·   ·reason for that increase?
  ·6·   ·consistent percentage.                                        ·6·   · · ·A· · ·Yes.
  ·7·   · · ·Q· · ·On January 1st, 2015, how many attorneys worked     ·7·   · · ·Q· · ·And what is that reason?
  ·8·   ·for the NTG firm?                                             ·8·   · · ·A· · ·He has become managing partner of the firm and
  ·9·   · · ·A· · ·I don't know for sure, but I can estimate           ·9·   ·done by any objective account an outstanding job as
  10·   ·approximately 10 or 11.                                       10·   ·managing partner.
  11·   · · ·Q· · ·And how many attorneys currently work for NTG?      11·   · · ·Q· · ·Is his compensation tied to any specific cases or
  12·   · · ·A· · ·I believe five.                                     12·   ·any work that he's done on specific cases?
  13·   · · ·Q· · ·Has NTG had any attorneys listed as Of Counsel?     13·   · · ·A· · ·Not --
  14·   · · ·A· · ·Yes.                                                14·   · · ·MR. DARNELL:· Objection, vague.
  15·   · · ·Q· · ·Would you include those within your numbers of      15·   · · ·THE WITNESS:· Not as I construe that phrase.· It's
  16·   ·attorneys that I just asked about?                            16·   ·based on overall performance, his contribution, and the
  17·   · · ·A· · ·Right now one of our attorneys Richard Hikida's     17·   ·other factors that I identified in determining
  18·   ·title is Of Counsel.· Back in 2015, I'm not sure.             18·   ·compensation.
  19·   · · ·Q· · ·How much in total compensation did NTG pay to       19·   ·BY MR. ARHANGELSKY:
  20·   ·David Reid in 2015?                                           20·   · · ·Q· · ·And how much total compensation did NTG pay to
  21·   · · ·A· · ·In 2015, I believe Dave's total compensation was    21·   ·Victoria Knowles in 2015?
  22·   ·around $200,000.                                              22·   · · ·A· · ·2015, approximately $70,000.
  23·   · · ·Q· · ·Did that include bonuses?                           23·   · · ·Q· · ·And what was her total compensation in 2020?
  24·   · · ·A· · ·Yes.· That was total compensation.                  24·   · · ·A· · ·I believe it was approximately $300,000 or 350.
  25·   · · ·Q· · ·And what was his total compensation in 2020?        25·   · · ·Q· · ·How much in total compensation did NTG pay to

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  ·1·   ·Ryan Ferrell in 2015?                                         ·1·   · · ·A· · ·I believe it's $400,000.
  ·2·   · · ·A· · ·None or very little that I'm aware of.              ·2·   · · ·Q· · ·And that 400,000 represents the total value
  ·3·   · · ·Q· · ·What about 2014?                                    ·3·   ·across all of NTG's bank accounts?
  ·4·   · · ·A· · ·I believe approximately 50 or $60,000.              ·4·   · · ·A· · ·That $400,000 represents the funds in what I call
  ·5·   · · ·Q· · ·How much in total compensation did NTG pay to       ·5·   ·our reserve account.· And as of today our -- the account
  ·6·   ·Andrew Baslow in 2015?                                        ·6·   ·that I call our operating account was either zeroed out or
  ·7·   · · ·A· · ·Approximately $72,000.                              ·7·   ·close to being zeroed out for payroll.
  ·8·   · · ·Q· · ·And how much in total compensation did NTG pay to   ·8·   · · ·Q· · ·Have there been any substantial deductions or
  ·9·   ·Andrew Baslow in 2020?                                        ·9·   ·withdrawals from the reserve account over the course of
  10·   · · ·A· · ·Approximately $150,000.                             10·   ·the last three years?
  11·   · · ·Q· · ·Does the NTG firm own any vehicles at present?      11·   · · ·A· · ·Yes.
  12·   · · ·A· · ·I believe that Sariah Para has a company car, but   12·   · · ·Q· · ·And what were those withdrawals?
  13·   ·I don't believe it's owned.· I think it's leased.             13·   · · ·A· · ·Essentially to equalize cash flow.
  14·   · · ·Q· · ·Okay.· And I believe as we discussed on Tuesday     14·   · · ·Q· · ·How many times did you have substantial
  15·   ·NTG also owns a -- it owns a plane.· Is that right?           15·   ·withdrawals from the reserve account?
  16·   · · ·A· · ·Yes.                                                16·   · · ·A· · ·Over the past three years?
  17·   · · ·Q· · ·And that's consistent with your testimony on        17·   · · ·Q· · ·Over the course of the last three years, yes.
  18·   ·Tuesday, right?                                               18·   · · ·A· · ·There have been times when we made significant
  19·   · · ·A· · ·Yes.                                                19·   ·withdrawals from it and times when we made significant
  20·   · · ·Q· · ·Does NTG own any other assets that we haven't       20·   ·deposits back into it, but the -- the reserve account has
  21·   ·discussed?                                                    21·   ·varied between a balance of zero and $500,000 over that
  22·   · · ·A· · ·Office equipment and I believe we discussed the     22·   ·time.
  23·   ·firm's bank accounts on Tuesday.                              23·   · · ·MR. ARHANGELSKY:· Let's go off record for -- I just
  24·   · · ·Q· · ·What is the total balances as of today in NTG's     24·   ·need a minute or two.· Is that all right?
  25·   ·bank accounts?                                                25·   · · ·MR. DARNELL:· Sure.


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   · · ·THE VIDEOGRAPHER:· This is the end of Media File         ·1·   ·I've really heard many of those questions at all today.
  ·2·   ·No. 8.· We're now going off the record.· The time is         ·2·   ·But I invite you to please take advantage of whatever time
  ·3·   ·5:33 p.m.                                                    ·3·   ·you have left and the witness, I'm sure, would be happy to
  ·4·   · · · · · · · · · · · ·(BRIEF RECESS.)                        ·4·   ·try to answer whatever questions you have in that respect.
  ·5·   · · ·THE VIDEOGRAPHER:· This is the beginning of Media File   ·5·   · · ·THE WITNESS:· If there's questions on Topic 6 that I
  ·6·   ·No. 9.· We're now going on the record.· The time is          ·6·   ·did not give what you consider to be fulsome answers to,
  ·7·   ·5:37 p.m.                                                    ·7·   ·I'm willing to stay as late tonight as we need to to make
  ·8·   · · ·MR. ARHANGELSKY:· Okay.· I am at this point concluding   ·8·   ·sure you get my best testimony because I spent thousands
  ·9·   ·our examination.· I'm willing to pass the witness if there   ·9·   ·of hours preparing for this deposition.
  10·   ·are any questions.                                           10·   · · ·MR. ARHANGELSKY:· Well, I think the problem that we
  11·   · · · · · ·I will state on the record that we're concluding   11·   ·have, Mr. Darnell, is that the witness was unprepared to
  12·   ·our examination at this time with the reservation of         12·   ·testify when we asked him detailed questions about NTG's
  13·   ·rights to seek relief as appropriate concerning the          13·   ·primary source of case management, which happens to be the
  14·   ·witness's inability to testify in certain topics noticed,    14·   ·charts and weekly charts that were provided to him.· And I
  15·   ·most notably Topic 6 regarding case management systems and   15·   ·do have a significant amount of questions that need to be
  16·   ·procedures, along with other concerns that may address       16·   ·answered by somebody who is competent to answer questions.
  17·   ·during the meet and confer process which we will initiate    17·   ·And the witness has already testified that he lacked
  18·   ·promptly.· But subject to those caveats my examination is    18·   ·knowledge with respect to the information on the documents
  19·   ·complete for today.                                          19·   ·I asked him about.· And I'm not going to retread questions
  20·   · · ·MR. DARNELL:· And I don't have any questions, but,       20·   ·that have already been answered.· It seems pretty clear
  21·   ·Counsel, I would invite you -- you have, I think, five or    21·   ·this witness was not prepared adequately with respect to
  22·   ·six minutes left of the full allotted statutory time.· If    22·   ·those topics and with respect to the documents the witness
  23·   ·you have any other questions concerning case management      23·   ·provided and five minutes left at the end of the day at
  24·   ·systems, procedures, or document retention policies for      24·   ·this point is not going to cut it.
  25·   ·this witness, please ask them.· Because I don't know if      25·   · · · · · ·There's also confounding factors which are

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  ·1·   ·complicating factors which mutually include the witness's    ·1·   ·more time, I'm willing to stay as long as you need me to
  ·2·   ·refusal to answer questions succinctly and intentionally     ·2·   ·tonight to make sure that you feel like you've been able
  ·3·   ·obfuscate the record through narrative answers that were     ·3·   ·to conduct a fulsome examination.
  ·4·   ·nonresponsive for the most part.· We need to address this    ·4·   · · ·MR. ARHANGELSKY:· I appreciate the opportunity.
  ·5·   ·and five minutes at the end of the day is not going to do    ·5·   · · ·MR. DARNELL:· So are you done for today?
  ·6·   ·it at this point.                                            ·6·   · · ·MR. ARHANGELSKY:· No.· I was going to avail myself to
  ·7·   · · ·MR. DARNELL:· Counsel, I disagree with your              ·7·   ·the opportunity to ask additional questions.· Thank you
  ·8·   ·characterization.                                            ·8·   ·very much.· I'm happy --
  ·9·   · · · · · ·I do have one question for the witness.· I will    ·9·   · · ·MR. DARNELL:· Go for it.
  10·   ·lay a foundation which I do not think that you have done.    10·   · · ·MR. ARHANGELSKY:· -- that the witness is compliant.
  11·   · · · · · ·Mr. Ferrell, with respect to Topic No. 6 can you   11·   · · ·MR. DARNELL:· Go for it.
  12·   ·please read what that is.                                    12·   · · · · · ·For the record can you just let me know what
  13·   · · ·THE WITNESS:· Facts and evidence concerning NTG's case   13·   ·time -- how much time has transpired?· I'd like to know
  14·   ·management systems, procedures, and document retention       14·   ·how much above and beyond the statutory amount we may be
  15·   ·policies.                                                    15·   ·giving Mr. Arhangelsky in this deposition.· Can you please
  16·   · · ·MR. DARNELL:· I believe you just may have heard          16·   ·state how much time has transpired today on the record?
  17·   ·Mr. Arhangelsky state that the charts that he showed you     17·   · · ·THE VIDEOGRAPHER:· We're at six hours, 55 minutes at
  18·   ·earlier today are the primary method by which NTG managed    18·   ·this point.
  19·   ·its cases and procedures at the firm.· Do you agree with     19·   · · ·MR. DARNELL:· Thank you.
  20·   ·that statement?                                              20·   · · ·MR. ARHANGELSKY:· I placed a document back on screen
  21·   · · ·THE WITNESS:· No.· The charts that I reviewed today      21·   ·which we've marked -- I want to make sure I get the -- let
  22·   ·have nothing or the very, very smallest amount to do with    22·   ·me pull up the exhibit.· Give me one minute.
  23·   ·our case management procedures or our systems.               23·   · · · · · ·All right.· I've placed back in front of the
  24·   · · · · · ·And I would add, Counsel, to the extent that you   24·   ·witness what we've marked as Exhibit 630.
  25·   ·believe that my answers have been narrative and you need     25·   · · ·Q· · ·Mr. Ferrell, do you recognize this document from


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                                 PLAINTIFF OPPOSITION TO MOTION TO EXCLUDE PLAINTIFF
                                      NICS EXPERT DR. SEAN DEVLIN [ECF. NO. 1185]
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  ·1·   ·earlier in the day?                                           ·1·   ·this in 2012?
  ·2·   · · ·A· · ·I do.                                               ·2·   · · ·A· · ·Not that I recall.
  ·3·   · · ·Q· · ·Okay.· Who drafted this document?                   ·3·   · · ·Q· · ·What about in 2013?
  ·4·   · · ·A· · ·I believe Carla Wise did.                           ·4·   · · ·A· · ·Not that I recall.
  ·5·   · · ·Q· · ·Okay.· How did you know that Carla Wise drafted     ·5·   · · ·Q· · ·What about 2014?
  ·6·   ·this document?                                                ·6·   · · ·A· · ·I believe so.
  ·7·   · · ·A· · ·I don't know that for sure, but I recall in         ·7·   · · ·Q· · ·Now, you'll see at the top of this document
  ·8·   ·reviewing the document production in this case that this      ·8·   ·there's a legend that says MB on page 1.· Sorry.· I lost
  ·9·   ·document was appended to and emailed to me from Carla Wise    ·9·   ·my page 1.
  10·   ·that sent some updating charts.                               10·   · · · · · ·There's a legend at the top that says MB and
  11·   · · ·Q· · ·Okay.· And when did she send this to you?           11·   ·that's minimal bypass, right?· See that language?
  12·   · · ·A· · ·As I recall, this was sometime in 2015.             12·   · · ·A· · ·Well, I see that it says MB equals minimal
  13·   · · ·Q· · ·And does this document look similar to other case   13·   ·bypass.
  14·   ·charts that Ms. Wise or Ms. Jung would send to you on a       14·   · · ·Q· · ·What does minimal bypass mean for purposes of
  15·   ·weekly basis?                                                 15·   ·this chart?
  16·   · · ·MR. DARNELL:· Objection, assumes facts, lacks             16·   · · ·MR. DARNELL:· Objection, lacks foundation, vague.· It
  17·   ·foundation.                                                   17·   ·also exceeds the scope of the topics in the deposition
  18·   · · ·THE WITNESS:· It -- you're suggesting that I get          18·   ·notice.
  19·   ·charts like this on a weekly basis and I don't.               19·   · · ·MR. RIDDLES:· Objection, calls for speculation.
  20·   ·BY MR. ARHANGELSKY:                                           20·   · · ·THE WITNESS:· I don't know, but I know that you have
  21·   · · ·Q· · ·Well, how often would you receive charts like       21·   ·suggested that it has a meaning and I would invite you to
  22·   ·this?                                                         22·   ·present what you believe it means and that may refresh my
  23·   · · ·A· · ·The last time I recall receiving a chart like       23·   ·memory.
  24·   ·this was in 2015.                                             24·   ·BY MR. ARHANGELSKY:
  25·   · · ·Q· · ·Did you also receive a chart of CIPA cases like     25·   · · ·Q· · ·This is a chart that you said you were sent by

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  ·1·   ·your staff regarding wiretap cases; is that correct?          ·1·   ·BY MR. ARHANGELSKY:
  ·2·   · · ·A· · ·Yes.                                                ·2·   · · ·Q· · ·You -- in preparing for this deposition you
  ·3·   · · ·Q· · ·And this chart contains information that's          ·3·   ·reviewed the chart that was sent to you in 2015.· That's
  ·4·   ·updated by your staff regarding the wiretap cases that the    ·4·   ·your testimony.
  ·5·   ·firm was pursuing at the time, right?                         ·5·   · · ·A· · ·In preparing for this deposition I tried to put
  ·6·   · · ·MR. DARNELL:· Objection, lacks foundation, vague.         ·6·   ·eyes on every single document that we have produced in
  ·7·   · · ·THE WITNESS:· I don't know that it was updated or         ·7·   ·this case.
  ·8·   ·whether it was a single-incident event that it was sent to    ·8·   · · ·Q· · ·You reviewed this chart, was my question.· You
  ·9·   ·me, but I do recall receiving this in 2015.                   ·9·   ·reviewed this chart in preparation for deposition, right?
  10·   ·BY MR. ARHANGELSKY:                                           10·   · · ·A· · ·So inclusive of every single document that we've
  11·   · · ·Q· · ·And as the firm compiled information about its      11·   ·produced in this case is this document and I recall this
  12·   ·wiretap cases, your staff would update this chart             12·   ·document or something similar to it being attached to an
  13·   ·accordingly.· Is that fair?                                   13·   ·email to me in 2015.
  14·   · · ·MR. DARNELL:· Objection, lacks foundation, calls for      14·   · · ·Q· · ·And who did you speak with within the NTG firm
  15·   ·speculation.                                                  15·   ·regarding the information contained in this chart?
  16·   · · ·THE WITNESS:· I don't know whether that's the case or     16·   · · ·MR. DARNELL:· Objection, assumes facts.
  17·   ·not without looking at different iterations of this chart.    17·   · · ·THE WITNESS:· You mean in preparation for my
  18·   ·BY MR. ARHANGELSKY:                                           18·   ·deposition?
  19·   · · ·Q· · ·And there are different iterations of this chart;   19·   ·BY MR. ARHANGELSKY:
  20·   ·is that right?                                                20·   · · ·Q· · ·Yes.
  21·   · · ·MR. DARNELL:· Objection, lacks foundation, calls for      21·   · · ·MR. DARNELL:· Objection, assumes facts.
  22·   ·speculation.                                                  22·   · · ·THE WITNESS:· Aside from counsel I spoke to
  23·   · · ·THE WITNESS:· I don't know.· In preparing for this        23·   ·Sariah Para.
  24·   ·deposition I only recall seeing the one chart that was        24·   ·BY MR. ARHANGELSKY:
  25·   ·sent to me in 2015.                                           25·   · · ·Q· · ·Okay.· And you spoke with Ms. Sariah Para about


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  ·1·   ·how this document was maintained within NTG?                 ·1·   · · ·MR. DARNELL:· Objection, misstates testimony.
  ·2·   · · ·A· · ·No.· I spoke to Sariah Para to confirm and         ·2·   · · ·THE WITNESS:· That I had the most knowledge within NTG
  ·3·   ·determine whether I was, in fact, the person with the most   ·3·   ·regarding each of the 10 topics upon which we were
  ·4·   ·knowledge about various topics of documents or she was or    ·4·   ·instructed to prepare and that included --
  ·5·   ·some third party was and we jointly determined that I was.   ·5·   ·BY MR. ARHANGELSKY:
  ·6·   · · ·Q· · ·Okay.· And did you talk to Carla Wise about her    ·6·   · · ·Q· · ·But did you speak with them --
  ·7·   ·charts?                                                      ·7·   · · ·A· · ·I'm sorry.· That included Topic No. 6 which you
  ·8·   · · ·A· · ·So you're suggesting that this is Carla's chart    ·8·   ·are saying that this relates to but which in reality Topic
  ·9·   ·or are you telling me did I talk to Carla about her charts   ·9·   ·No. 6 and this have no connection to each other.
  10·   ·in preparation for my deposition?                            10·   · · ·Q· · ·But did you speak with them specifically to gain
  11·   · · ·Q· · ·No.· I believe you told me that this is her        11·   ·their knowledge regarding how this chart was compiled?
  12·   ·chart.· So I'm asking you, did you talk to Ms. Wise about    12·   · · ·A· · ·No.
  13·   ·her charts?                                                  13·   · · ·Q· · ·But going back to page 5 of this document which
  14·   · · ·MR. DARNELL:· I'm sorry.· Charts, plural?· Assumes       14·   ·was NTG 66667 and again let's look at the first line where
  15·   ·facts, vague and ambiguous as described or stated.           15·   ·it says Home Shopping Network on this and the retainer
  16·   · · ·THE WITNESS:· So I think what I told you was that        16·   ·status says AB confirmed to pursue, does that mean
  17·   ·Carla Wise sent this chart to me in 2015 and in connection   17·   ·Andrew Baslow confirmed to pursue this wiretapping case?
  18·   ·with preparing for my deposition, I asked Sariah to speak    18·   · · ·A· · ·What page are you looking at here?· But I'm --
  19·   ·with Mandy and Carla and determine whether or not they or    19·   · · ·Q· · ·I'm looking at page 5.
  20·   ·I was better situated to be the testimonial designee and     20·   · · ·A· · ·I don't see a entry for Home Shopping Network on
  21·   ·it was our collective determination that I had the most      21·   ·page 5.
  22·   ·knowledge.                                                   22·   · · ·Q· · ·Under Defendant Phone Number, underlined -- well,
  23·   ·BY MR. ARHANGELSKY:                                          23·   ·there's a number 1 and a leftmost column and it says Home
  24·   · · ·Q· · ·You had the most knowledge within NTG regarding    24·   ·Shopping Network.· Do you see that?
  25·   ·the creation of these -- this chart specifically?            25·   · · ·A· · ·No.· You're mistaken.· No. 1 says Insta-slim.

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  ·1·   · · ·Q· · ·Are we looking at different pages?· You're         ·1·   · · ·THE WITNESS:· I don't know specifically what AB refers
  ·2·   ·looking at page 4.· On page 5 --                             ·2·   ·to there, but I think I can reasonably infer that the
  ·3·   · · ·MR. FURMAN:· Well, just to clarify -- this is            ·3·   ·reference to AB there is to Andrew Baslow.
  ·4·   ·Josh Furman.· Just to make it easier and streamline, the     ·4·   · · ·MR. ARHANGELSKY:· All right.· We're not going to sit
  ·5·   ·numbering on the bottom of the document is different from    ·5·   ·here through objections on lack of foundation, otherwise
  ·6·   ·the page number at the top on the actual attachment.         ·6·   ·and we're not going to put the court reporter and everyone
  ·7·   ·That's probably the confusion.                               ·7·   ·else through this.
  ·8·   · · ·MR. DARNELL:· Thank you for that clarification.· I was   ·8·   · · · · · ·This witness was asked these same questions
  ·9·   ·confused, as well.                                           ·9·   ·earlier in the deposition and he apparently feigned
  10·   · · ·THE WITNESS:· Thank you.                                 10·   ·ignorance of the topics that we asked him about with
  11·   · · ·MR. DARNELL:· All right.· So which page number from      11·   ·respect to this document and otherwise.· Either that or he
  12·   ·which reference are we working off of?                       12·   ·wholly failed to comply with his obligation to prepare
  13·   · · ·THE WITNESS:· Now I --                                   13·   ·with respect to case management procedures and documents.
  14·   · · ·MR. ARHANGELSKY:· We're looking at page 5 in the total   14·   ·This document is clearly relevant to Topic 6 and we're
  15·   ·document, page 5 of 8.                                       15·   ·going to be taking this to the court.· We're not going to
  16·   · · ·THE WITNESS:· Now I'm looking at the entry that says     16·   ·be doing this on a shortened time at the end of the day.
  17·   ·Home Shopping Network.                                       17·   · · · · · ·So with this we're going to conclude the
  18·   ·BY MR. ARHANGELSKY:                                          18·   ·deposition for now and we're going meet and confer with a
  19·   · · ·Q· · ·Okay.· And on the right column it says Retainer    19·   ·motion, Mr. Darnell.
  20·   ·Status, AB confirmed to pursue.                              20·   · · ·MR. DARNELL:· Counsel, I respectfully disagree and
  21·   · · ·A· · ·I do.                                              21·   ·I'll note for the record that we've gone above and beyond
  22·   · · ·Q· · ·That means Andrew Baslow confirmed to pursue; is   22·   ·the statutory and court-ordered amount of time.· So that
  23·   ·that right?                                                  23·   ·being said, I think we're done here today.
  24·   · · ·MR. DARNELL:· Objection, lacks foundation, calls for     24·   · · ·MR. ARHANGELSKY:· Can the videographer please inform
  25·   ·speculation, asked and answered.                             25·   ·us on the record how much time we are in this deposition


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  ·1·   ·right now?                                                   ·1

  ·2·   · · ·THE VIDEOGRAPHER:· Seven hours and nine minutes.         ·2

  ·3·   · · ·MR. ARHANGELSKY:· Okay.· Nine minutes over.· Thank       ·3
                                                                      ·4· · · · · ·I, SCOTT J. FERRELL, do hereby declare under
  ·4·   ·you.
                                                                      ·5· ·penalty of perjury that I have read the foregoing
  ·5·   · · ·THE WITNESS:· Let me -- let me reiterate that I
                                                                      ·6· ·transcript; that I have made any corrections as appear
  ·6·   ·travelled a great deal for this deposition and prepared
                                                                      ·7· ·noted, in ink, initialed by me, or attached hereto; that
  ·7·   ·thousands of hours for it and if there are questions that    ·8· ·my testimony as contained herein, as corrected, is true
  ·8·   ·you don't believe have been answered to your satisfaction,   ·9· ·and correct.
  ·9·   ·I'm willing to stay as late as you are to make sure you      10· · · · · ·EXECUTED this· · · · ·day of· · · · · · · · · · ,
  10·   ·get my best testimony.                                       11· ·20· ·, at· · · · · · · · · · · · ·,· · · · · · · · · · ·.
  11·   · · ·MR. ARHANGELSKY:· Well, thank you.· But our objection    · · · · · · · · · ·(City)· · · · · · · · · · · ·(State)
  12·   ·is that you're not prepared for this, for these questions,   12
  13·   ·and you're also possibly not the proper witness, so we       13
  14·   ·can't do that today.                                         14

  15·   · · · · · ·And with that we are done with our examination     15
                                                                      16
  16·   ·for today subject to our reservation of rights.
                                                                      · · · · · · · · · · · · · ·SCOTT J. FERRELL
  17·   · · ·THE VIDEOGRAPHER:· This is the end of Media File No. 9
                                                                      17
  18·   ·and concludes today's videotaped deposition of
                                                                      18
  19·   ·Scott Ferrell.· We're now going off the record.· The time
                                                                      19
  20·   ·is 5:56 p.m.                                                 20
  21·   · · · · · · · · · ·(TIME NOTED:· 5:56 p.m.)                   21
  22                                                                  22
  23                                                                  23
  24                                                                  24
  25                                                                  25

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  ·1
  ·2
  ·3
  ·4· · · · · · · · ·I, the undersigned, a Certified Shorthand
  ·5· ·Reporter of the State of California, do hereby certify:
  ·6· · · · · · That the foregoing proceedings were taken before
  ·7· ·me at the time and place herein set forth; that any
  ·8· ·witnesses in the foregoing proceedings, prior to
  ·9· ·testifying, were placed under oath; that a verbatim record
  10· ·of the proceedings was made by me using machine shorthand
  11· ·which was thereafter transcribed under my direction;
  12· ·further, that the foregoing is an accurate transcription
  13· ·thereof.
  14· · · · · · ·I further certify that I am neither financially
  15· ·interested in the action nor a relative or employee of any
  16· ·attorney or any of the parties.
  17· · · · · · ·IN WITNESS WHEREOF, I have this date subscribed
  18· ·my name.
  19
  20· ·Dated:· 4/8/21
  21
  22
  23· ·<%16439,Signature%>
  · · ·RAQUEL L. BROWN
  24· ·CSR No. 10026, RPR
  25



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